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                             Friday, De~ 22, 2023 .


      Holly Butler
      Good morning, Mr. Wagner. My name is Holly
      Butler; I am an attorney with the law firm of Miles &
      Stockbridge. I have been engaged by Obama Growth
      Partners to conduct an independent investigation
      relating to your recent allegations regarding potential
      violations of the law.

      I am contacting you by text as I have been informed
      that this is your preferred method of communication to
      coordinate a meeting.

      Please advise as to whether you are willing to speak
      with me and when you would be available for a
      videoconference meeting during early January.
                                                                    10:52AM



C) Holly Butler
   Please understand that I am an attorney for the
      company. I do not represent anyone, including you, in
      his or her individual capacity.
                                                                    10:53 AM


      Holly Butler
      For confidentiality purposes, please do not respond by
      text as to the substance of your allegations.

      I request that you only provide confirmation as to
      your willingness to meet and your availability in early
      January.
                                                                    11 :00 AM




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             Ryan Dillon-Capps
             Yes, but please understand ....

             There appears to be a misunderstanding because it
             is far too soon into the process to be making formal
             allegations. I reported things that are suspicious and
             with the last update provided saying that I did not
             want to continue being the sole investigator.

             Last known state, logging and eDiscovery holds were
             in place so an investigator can see who is accessing
             the system managing the hold and if changes are
             made The holds should be preserving source data
             and be verifiable by a digital forensic investigator.

             My last email requested to be notified if Ohana does
             not want to pursue investigation .

             Hopefully that clarifies things
                                                                      1 :02 PM



0     Holly Butler
     Thank you for the background information. It will be
     helpful to discuss and understand the context of your
     concerns.

     If you are willing to discuss, please let me know when
     you are available in early January.

      Best wishes for the holiday season .
                                                                1:11 PM




                                          '   .__,
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             Ryan Dillon-Capps
             thank you for confirming that you understand that no
             allegations have been made. Do you have a copy of
             both emails from yesterday. They are the only two
             emails that I sent out on 27 December 2023. These
             with the previous two emails should provide context,
             I want to be helpful but I am not sure whatelse I can
             add to them because I am have removed myself from
             the investigation and requested an expert take over.
             I am a little confused because even the decision to
             pursue this was left to ownership, and they have not
             responded to provide me with their decision. Woudln't
             it be better for a 3rd party digital forensic expert to te ll
             us?

             My answer remains a yes
                                                                         1 :46 PM




      Holly Butler
      Would you please let me know your availability
      for a brief call tomorrow? We can do by phone or
      videoconference. Please select a time where you can
      have a private conversation. Thank you.
                                                                   9:35 AM




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            Ryan Dillon-Capps
            Tomorrow and Thursday are going to be the two most
            difficult days. We have people flying in today, wedding
            stuff tomorrow, and birthday festivities on Thursday.
            My partner and our families have been exceptionally
            understanding with me working 20+ hours a day
            7 days a week since september, but I have been
            promising them this entire time that I would wouldn't
            be working constantly for this week. They understand
            how important Ohana is to me, and so they let me get
            away with working all the time - most of the time, and
            all they ask is that I don't make them wait 2 months
            to celebrate their birthday, like we did in 2022. That I
            take off at least 7 consecutive days for the wedding
            in april, and the 3 planned trips this year are not
            cancelled or delayed like has occurred in previou s
            years.

            Is there something that I can get for you in the
            meantime? I have not recieved an update on the
            investigation, and it isn't like us to put off investigating
            something.

            When you didn't message me to coordinate a
            time last week, I hoped this was becau se we were
            bringing in a digital forensic expert to take over the
            investigation . We should be okay becau se th e data
            should be protected with a lega l hold and the expert
            should be able to digitally tag and categorize the data
            from source to ensure a clean chain. However, I am
            concerned that inaction coupled with our current
            financial restructuring could be problematic. I am not
            a lawyer, and not saying it is or is not a problem, but I
            am conce rn ed how it will look when we have been so
            active, proactive, and responsive in the past I.

            Please let me know, if there is an update.

            I am assuming late at night when everyone is sleeping
            and I am sneaking in work is not an option, but it
            sounds like you still want to meet with me -- can we
            do Monday?
                                                                 1 :33 PM




                                 11:   I

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      Holly Butler
      If Monday is the day which best suits your schedule,
      we can meet then. I am flexible on timing on 1/8.
      Please advise when a videoconference is feasible for
      you .
                                                                            1:38 PM


      Holly Butler
      In the interim, please provide me with copies of
      the December 21 , 2023 emails referenced above,
      as well as any documents in your possession
      which gave rise to your suspicions. My email is
      hbutler@milesstockbridge.com
                                                                            2:24 PM


                         -       Weanesaa)' Jan J 202


             Ryan Dillon-Capps
             I think the word suspicions is one that implies
             assignment. Not sure it is one I would use.

             I sent you an email.

             Please let me know if you still want to meet on
             Monday.



                                                                                  3:08 AM


      Holly Butler
      A videoconference meeting has been scheduled for
      10 am on Monday based on your availability. I look
      forward to speaking with you then.
                                                                            9:01 AM




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From:          Ryan Wagner <Ryan.Wagner@ohanagp.com>
Sent time:     01/03/2024 02:58:47 AM
To:            hbutler@mi lesstockbridge .com
Subject:       From The Desk of Ryan Wagner at Ohana Growth Partners. LLC
Attachments:   image.png Outlook-rdc5pj2e.png ohanagrowthpartnersfinallogo_ 7fa8dba2 -2909-40ee-839a-
               12ba06da3de6.png   2023Wheaton-HQCompliance.zip
                        ------------ -- ---
Greetings and Salutations Holly Butler,


It strikes me as unusual that on 22 December 2023 an employment lawyer reaches out to me to discuss
a series of anomalies that I reported via email, but then on 2 January 2023 is asking for copies of those
emails. No accusation or assignment to it because that is all it is - unusual. Unusual because my
firsthand experiences with similar situations involving an employee reporting an anomaly is typically
accompanied with the written record of the report. I have never had to directly engage a person who
made a report via email for those emails, and the lawyer is the one who provides me with a copy of the
relevant document when they are needed. Minimally, the lawyer will share with me the pertinent details
of the report, and this is how we know what we are looking for. Are you able to share with me, why
don't you already have a copy of these emails and their attachments?

As a measure of comparison, The first investigation that I was involved in was started by Glenn Norris
and the subject of the investigation was Chuck Cavalo's brother. Glenn told me the basis of the
investigation was effectively to check and make sure nothing had occurred that should not have. The
cause for this concern was because that Chuck's brother left the company and joined a different fitness
brand.

Here is a single example that I sent to Glenn Norris, Rich Hartman, Justin Drummond , and Ryan
Brooks on 21 December 2023.

2023Wheaton-HWComplia nee
Two emails
FW: changes to Compliance - New Build Tracker:3375
This email was sent by Geoff VanManstricht to me upon request and falsely says that I submitted this
compliance document on 1 June 2023.
    • I did not submit this document to Planet Fitness HQ. The person who submitted this document
         did so without my permission to attest and claim this was submitted by me.
    • As legal representation for Ohana, should we be concerned about formal compliance
         documentation being submitted without the approval or authorization from me and yet is doing
         so in a manner that looks as if I submitted the document?
RE: ACTION REQUIRED - Cyber Security and In Club Media Presale Information
In this email thread at 23 October 2023 at 9:32 AM, Andrew Dinh asked Geoff to verify that he received
this document. The way that I am reading this exchange is that Andrew Dinh was the person who
submitted the form, and to be clear - this is what the field looks like. It is saying "Submitted By Enter
your name and email below".




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                          w

         Submitted By *
          Ente· your name and email below·.




         Email Address *




         [J S;;n,:J me a copy of ni:- responses


Given the prior standard to which we investigate, I feel like this example alone exceeds the
requirement.

It makes me nervous when people are essentially signing my name to a formal document submitted to
the franchisor, and on its own these two emails would call for further explanation.

Has anyone told you about the irregular invoicing from Onsite Solutions? After being instructed from
Glenn Norris to get cost information directly from our accounting system, I immediatel y encountered the
first anomaly. For the vendor that we have used for years and does all of our IT/Enterta inment work for
the Development department the amount of money that we had paid them was woefully low. So low,
that I assumed that I was pulling the report wrong and asked our senior accountant Ciera Montague
how to pull the report. She did the exact same thing and got the exact same data, and after I reminded
her of who this vendor was - she also was confused. We responded to this by informing Onsite
Solutions of the discrepancy in our system and the manager of our account's payable team told me that
what she received was unusual. Eventually we received hundreds of thousands of dollars' worth of
invoices for a year-ish worth of work. To be honest, I am not sure that we got invoiced for everything
that might be missing because when I pulled the reports that first night it did not seem like we were only
missing this years' worth of invoices. However, my reason for findi ng this anomaly was limited to me
searching for accurate cost for what we have been spending and since that data was not in our
accounting system the entire thing was not something that I wanted to be involved in.

However, that then led to the second anomaly. After gathering lots and lots of data about what we and
other groups were spending for the work that Onsite Solutions did the consistent number for cost was
130 - 160k for a new club. This number was summarily rejected by Glenn Norris and then Glenn
informed me that he was using a number provided by Development and Onsite Solutions that was 70k.
Weeks and many analyses later, there was no longer a doubt or a potential doubt this number was
incredibly wrong because the last analysis was me going through and pulling the invoice and quotes for
everything purchased at our most recent clu b - and the cost was 145k. The analysis was summarily
accepted after two prior analysi s were rejected without a deeper conversion.

Somewhere in that time period, Onsite Solutions submitted a "analysis" to us that claimed to identify
ways we were overspending. I have tough time imagining anyone looking at this "analysis" and not
immed iately rejected it, and yet I was tasked to do two separate analyses on it. It is extremely difficult
to do an ana lysis on something that has essentially no basis in reality. A notable example, claiming
something is free and th at item that is not free is also a piece of eq uipment that is not comparable to the
thing it claims to replace, and the thing listed as what we use is also not the thing, we use.

Even before, the first anomalous email - the series of events leading up to it are unusual. Once again, I
am not making any claims or asserting assumptions. It is an excess of unusual that I can't begin to
explain, and I have tried so hard to rationa lize what series of event would need to occur in order for just



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the stuff in this email to make sense. To be something that does not warrant an investigation when
compared to the current standard. Can you?

I have one more quesiton to ask you. Who or what is Onsite Solutions? We have only known of Onsite
Solutions as owned by Andrew Dinh. We have worked with him and a small set of people that have
identified to us as employees of Onsite Solutions. However, the company President is a person named
Charles Beattie and I have worked with them for years and never heard this name before. It looks like
he was a Civil Engineer for a company called EA Partners, PLC for about 2 years and then worked at
the same time for a few years more at a company called E A Partners, PLC. Not a typo - it's just the
same job with a space in between the E and the A. Then in 2001, he becomes President of Onsite
Solutions - a company that "offer a full range of Internet services and technology products to include
disaster recover planning as well as technology infrastructure and implementation" Unusual ...

Onsite Solutions: Employee Directory I Zoomlnfo.com

ONSITE SOLUTIONS INC. in Lexinaton KY I Comoanv Info & Reviews /bizaoedia.com)
ONSITE SOLUTIONS INC. in Lexington, KY I Company Info &
Reviews
Discover Company Info on ONSITE SOLUTIONS INC. in Lexington . KY, such as Con tacts. Addresses,
Reviews, and Registered Agent.
\' , , t •I/ I~ l ' J I


Onsite Solutions: Employee Directory I Zoomlnfo.com
Search our free database to find email add resses and di rect dials for Onsite Solutions employees.



(42) Charles Beattie 1 Linkedln

The man we know as Andrew Dinh appears to be very private as well, and this is the only place I can
find a picture of him, or at least someone that looks close to him and has a similar name.

(42) Andy Dinh 1 Linkedln


Outside of the one place that we have legitimized Onsite Solutions which appears to have resulted in a
listing on the Planet Fitness website. I find it difficult to find him, Charles Beattle, or the business
Onsite Solutions when I exclude our own website and self-reporting mechanisms like business
registration .
Onsite Solutions Inc. I PF Independent Franchisee Council (offranchisee.ora\
                                          Onsite Solutions Inc. I PF Independent
                                          Franchisee Council
                                          ( II dll   I   •'   JIii




However, his website lists some big names as clients and completed projects. Honestly, I have no idea
why the company Facebook page, website, or online presence does not mirror what we see in similar


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companies like Holt Comm which is a direct competitor and has only been around for a year or so.

Portfolio Onsite Solutions Inc. osisu                 ort.com
                                                       Portfolio I Onsite Solutions Inc.
                                        ,,.
                                                      Onsite Solutions Inc. offices are located 1n Kentucky ancJ
                                                      Tennessee. View our recent projects and some of the clients
                                                      we have serviced.




There is none - zero - nothing being said here that asserts any claim or accusation . It seems unusual,
and everywhere you turn the list of unusual grows, and it seems reasonable that we bring in a digital
forensic expert to find out why or tells us there is nothing to be worried about.



This message may include text created with the help of natural language processing.



~ Roni-- 111111.· w 1111..'L'I "ith lllL'

  Ryan Wagner
  Vice President of IT
  Ohana Growth Partners, LLC

                             off1Ce 4 10-252-8058 x 109

  OH ~ NA
    Growth Partner~
                             212 W. Padonia Rd
                             T1monium, MD 2 1093
                             www.planetfitness .com



  "Culture eats strategy for breakfast"




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Ryan Dillon-Capps

From:                            Ryan Wagner
Sent:                            Thursday, January 4, 2024 12:24 PM
To:                              Rich Hartman; Glenn Norris; Justin Drummond
Cc:                              hbutler@milesstockbridge.com
Subject:                         FM LA Notice for Mental Health



Subject: FMLA Notice for Mental Health

Dear HR,

I am writing to inform you that I will be taking leave under the Family and Medical Leave Act (FMLA) for mental
health reasons.

This letter is a follow-up to my email on 21 December 2023, in which I informed Glenn Norris, Justin
Drummond , and Rich Hartman that I needed to take some time off. I asked for time off to recover, I asked for
help, and I asked for some reprieve because the hostile work environment, excessive hours, and the
investigation were negatively affecting me physically, emotionally, and mentally. This has not happened, and I
have been experiencing daily panic attacks that sometimes last hours, severe anxiety, and every part of my life
has been negatively affected.
I am re-requesting a thorough investigation into several unusual and concerning discoveries that appear to
contain accounting irregularities, libel, and fraud. I request that the investigation into the allegations of a hostile
work environment resume immediately. I also ask that appropriate actions be taken against those responsible
in accordance with company policies and applicable laws.

I find it deeply troubling that HR has denied any knowledge of my previous reports nor any knowledge of formal
reprimands against those responsible for creating a hostile work environment. This contradicts meetings with
the CEO, myself, and these individuals where they were reprimanded and instructed to stop, and contradicts
what I was told by the CFO when I asked if the CEO knew about the incidents that occurred after those
meetings. The CFO said that the CEO had formally reprimanded the CDO in 2023. According to the email that
the CFO inadvertently showed me during a shared screen video call, the head of HR immediately notified the
CDO and CMO that I had filed a formal complaint against them .

After reporting the missing invoices and payments to Onsite Solutions, we notified them, and they immediately
submitted hundreds of thousands of dollars worth of invoices. However, I would like to know if these invoices
can account for the discrepancy extending further back than the last several months. My requests for additional
team members have been denied every time despite providing detailed information about my team's workload
being too high and how I was already working excessive hours to prevent my team from experiencing the
entirety of the excess. After reporting the accounting irregularities and subsequent suspicious emails that
appeared to contain libel and fraud, my workload began to increase dramatically, the frequency of our
meetings increased, and the deadlines for these requests decreased to the point that I was being asked to
provide complete analyses by the next meeting, which was sometimes the next day.

When the investigation began, I pleaded for us to bring in a digital forensic expert to take over because it
overlapped the hostile work environment. I was forced to read the emails and conversations of those
responsible for the hostile work environment between themselves and others. Communications explained why
I had encountered so much hostility and disdain from people I never or rarely interacted with and why it was
considered acceptable for a person to start yelling at me randomly. It explained how my interaction with the
accounts payable manager, to which I was asking her questions about what she needed and wanted , resulted
in another member of the accounts payable team yelling at me to "just get her what she wants." Since being
yelled at without cause had become normalized, I responded, "That is the plan and why I am asking her
questions." It explains all of those things and more because those responsible for the hostile work environment



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             Ryan Dillon-Capps




             Please resume weekly meetings with me. The
             changes to the department have put us facing the
             wrong direction. We need to right the ship and get us
             heading where we want to go and not with vendors
             who disagree first and further delay resolution


             the text may be hard to read but it says code two ...
                                                                                  5:31 PM




      Glenn Norris
      Let's talk tomorrow some time. What tim e works for
      you tomorrow? Any time after 1 works for me.
                                                                         1 :59 PM



                                                                   Ryan Dillon-Capps             .J
                                                                   2pm est?
                                                                                  2:56 PM


      Glenn Norris
      Ok by me
           3:02 PM                                        During the i\lay Xth meetir~g. C,kn11 '\orr(s-- 1
                                                          mis led RDC into belie, ing th~\ WL'IT once I
                                                          again head o r IT.
      Glenn Norris                                                                   -                    1
                                                                                                          .

      Please send an invite
                          3:04 PM



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                                                                         Ryan Dillon-Capps
                                                                         sent, thank you
                                                                                       3:06 PM


      Justin Drummond
      Received. I'll have to jump at 2:30
                                            3:07 PM


                                                                         Ryan Dillon-Capps
                                                                         understood
                                                                                       3:15 PM


                                 rll    ~   1y     U           l.


             Ryan Dillon-C apps
             I understand you both likely have a lot to do today.
             would like to have a unrecorded phone call today
             with both of you. No one else, only the three of us
             having a private unrecorded and unmonitored phone
             call. I need 1 5 minutes to speak and do not need a
             response . Let me know when we can do thi s today
                                                                                   12:00 PM


      Glenn Norris
      Can you call us at 3 pm on our cell phone?
                                                            12:46 PM


                                                              Ryan Dillon-Capps
                                                              Yes. I will call you both at 3
                                                                                       1 :43 PM


      Glenn Norris
      I have been on with DC govt for 30 minutes. They are
      almost done.
                                                                              3:00 PM


                                                                         Ryan Dillon-Capps
                                                                         okay, 3:1O?
                                                                                       3:00 PM
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      Justin Drummond
      I am still available
                   3:01 PM


      Glenn Norris
      I am free now
             3:04 PM


      J l'..l stin Drummond
      Same
                  3:04 PM




                                     ~ I  i  , .
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Ryan Dillon-Capps
From:                     Ryan Dillon-Capps
Sent:                     Thursday. Jw1e 13, 2024 7: 12 AM
To:                       IT.Support: IT.Businesslntelligence: Glenn Norris: Rich Hartman: Justin Drummond
Subject:                  FMLA Time


Team, please prepare for tonight. Ann will con firm later today if you are available for 1s ' thing tomorrow morning
checks.

I did most of the prep and testing last night, but I am going to be out for a few hours today and not sure when I will
be back on. It depends on how well things go today.

@Glenn Norris @Rici, Hartman @Justin Drummond This is FMLA However, Rich, as you know from yesterday's
emails, I didn't end up taking the time expected, and since Friday, I have worked every hour except for the 14 hours
of sleep and roughly 1O hours of non-work related tasks, which I think is 139 hours . Not sure how you want to track
that.


This message may include text created wit h the hel p of natural language processing.


El Book t ime to m eet wi t l1 m e
  Ryan Dillon-Capps
  V ice President of IT
  Ohana Growth Partners, LLC
                              office 410-252 -8058 xl09
                              212 W. Padonia Rd
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      Growt h F>artners
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                              www .planetfitness.com


  "Culture eats strategy for breakfast"




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Ryan Dillon-Capps

From:                                Ryan Dillon-Capps
Sent:                                Thursday, June 13, 2024 2:48 PM
To:                                  Justin Drummo nd; Stacey Wittelsberger (ESC); C. Victor Brick; Lynne Brick B.S.N.
                                     M.A.; Te rry Woods (Planet Fitness); Earl Ihle
Subject:                             Re: CRITICAL! READ ME NOW!! Rich Hartman Crit ical Situation!
Attachments:                         2023-06-16 1430 RichSuspendedDarren - Claim ing lTAudit.pdf




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                                                                          artner~




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fl Book time to meet with me

  Ryan Dillon- Capps
  Vice President of IT
  Ohana Growth Partners, LLC
                           office 410-252-8058 xl09
                           212 w. Padonia Rd
  OH ~ NA
   G r o wt h P .>rtners
                           T1mon1um, MD 2 1093


                           www.planerfit ness.com


  "Culture eats strategy fo r breakfast"




From: Ryan Dillon-Capps <Ryan.DillonCapps@ohanagp.com>
Sent: Thursday, June 13, 2024 2:46 PM
To: Justin Drummond <Justin.Drummo nd@ohanagp.com>; Stacey Wittelsberger (ESC)
<srector@exeterstreetcapital.com>; C. Victor Brick <Victor@ohanagp.com>; Lynne Brick B.S.N. M.A.
<lynne@ohanagp.com>; Terry Woods {Planet Fitness) <Terry.Woods@ohanagp.com>; Earl Ihle
<Earl.lhle@ohanagp.com>
Subject: CRITICAL! READ ME NOW !! Rich Ha rtma n Cr itical Sit uati on !



I am writing to inform you of a critica l situation that requires your immediate attention and action.

Today, Rich Hartman suspended Darren and hand ed hi m a note t hat Rich created and signed . This action is highly
irregular and concerning. In response t o t his situ ation, I have instructed my tea m mem bers to go home
immediately for their safety and well-being. I have also texted a picture of th e note to Victor, Lynne , and Justin fo r
your reference. I am sending my wife to another location and am working on having security arrive at my home
immediately.

In addition to these st eps, Rich Hart man's account has been disabled, and all his sessions have been revoked to
prevent any further unaut horized act ions.

Immediate Actions Required

    1. Confirm Receipt and Immediate Attention : Please confirm that yo u have received this email and are
       taking immediate action.
    2. Review of Darren's Suspension: An urgent review of Darren's suspension and its circumstances is
       necessary.
    3. Security Measures: Ensure that all necessary security meas ures are in place to prevent any f urther
       unauthorized actions by Rich Hartman .
    4. Legal Counsel: If you do not current ly have legal representation fo r thi s matter, please confi rm this in your
       response and secure an attorney by the first available moment. If you do have legal representa tion, please
       provide t he contact info rmation of your attorn ey immediately.

Next Steps




                                                              2 of 10


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     '
We need to address th is situ ation with t he utmost urgency to prevent any further disruptions or potential liabilities.
Ryan's actions conti nue to demonstrate attempts to limit damage, w hile Rich's actions are maki ng th is m ore
difficult and continu e to j eopardize Ryan's health and Ohan a.

Please confirm that you are o n t his immediately and provide an updat e on the steps being taken to address this
situation.




This message may include text created with the help of natural language processing.


El Book time to m eet with me

  Ryan Dillon-Capps
  Vice President of I T
  Ohana Growth Partners, LLC

                             office 410-252-80 58 x l 09

  OH ~ NA
    Growth Pa rtner~
                             2 12 W. Paaonia Rd
                             T1moni um . MO 2 1093
                             www.planetfitness .com



  "Culture eats strategy for breakfast"




From: Ryan Dillon-Capps <Ryan.DillonCapps@ohanagp.com>
Sent: Thursday, June 13, 2024 2:05 PM
To: Rich Hartman <Rich.Hartman@ohanagp.com>
Cc: Karen Debus <karen.debus@ohanagp.co m>; Justin Dr ummond <Justi n.Drummond@ohanagp.com>; Sta cey
W itt elsberger (ESC) <srect or@exet erstreetcapital.com>; C. Victor Brick <Victor@ohanagp.com>; Lynne Brick B.S.N. M.A.
<lynne@ohanagp.com>; Terry Woods (Planet Fitness) <Terry.Woods@ohanagp.com>; Earl Ihle
<Earl.lhle@ohanagp.com>; Glen n Norris <glenn@ohanagp.com>
Subject: Urgent: Legal Ri sks Associat ed with Inaction and Third-Pa rty Vendor Activit ies




Dear Owners,

I ho pe thi s message fi nds you well. I am w riting to outli ne the significant legal risks associated w ith the current
handling of our interna l investigation into fra ud and host ile workplace claims. Addit io nally, I want to highlight the
pot ential liabilities arising from t he acti ons of our third-party vendors, and t o stress ou r duty to stop workplace
harassment.

Please note that the following points address only the items we have discussed so far. We have repeatedly
provided sufficient notificati on of these issues and have requested proper investi gation w ith an independent third
party, along w ith lawyers w ho ac t in good faith with t ranspa rency and honesty. We have also requested to know
w ho is represe nting you in several possible matters.

Potential Legal Risks from Inaction

    5.   Retaliation Claims
                                                                      3 of 10


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    '
Under both Federal and Marylan d law, it is un lawful to retaliate against an employee for reporting misconduct. Our
failure to adequately address Ryan's complaints could be interpreted as retaliation, particularly if adverse actions
follow his reports.

    •   Federal Law: Title VII of the Civil Ri ghts Act of 1964
    •   Maryland Law: MD Fair Emp loyment Practices Act
    •   Case Citation: Burlington N. & Santa Fe Ry. Co. v. White, 548 U.S. 53 (2006).

    6. Hostile Work Environment Claims

Ignoring the allegations of a hostile work environment, especially those involving discrimination or harassment,
can lead to significant legal consequences. The allegations of fa bricated documents and una utho rized use of
Ryan's name may support such a claim.

    •   Federal Law: Title VII of the Civil Rights Act of 1964
    •   Maryland Law: MD Fair Employment Practices Act
    •   Case Citation: Harris v. Forklift Systems, Inc., 51 O U.S. 17 (1993).

    7. Whistleblower Protections

Our obligations under the Sarbanes-Oxley Act (SOX) and Maryland's Whistle blower Law require th at we properly
investigate reports of fra udulent activities. Failure to do so may be construed as retaliation against Ryan fo r his
whistleblowing activities.

   •    Federal Law: Sarbanes-Oxley Act (SOX)
   •    Maryland Law: MD Whistleblowe r Law
   •    Case Citation: Lawson v. FMR LLC, 571 U.S. 429 (2014).

   8. FMLA Interference and Retaliation

Ryan has been on intermittent FM LA leave since January 4, 2024. Any adverse actions or fai lure to properly
investigate his complaints du ring this period cou ld constitute FMLA interference or retaliati on .

   •    Federal Law: Family and Medical Leave Act (FMLA)
   •    Case Citation: Hoge v. Honda of Am. Mfg., Inc. , 384 F.3d 238 (6th Cir. 2004).

Duty to Stop Harassment

Employers have a legal du ty to take reasonable steps to prevent and promptly correct any harassment in th e
workplace. The continued employment of Andrew Dinh, despite allegati ons of misconduct, creates liability fo r the
company. Failure to address these allegations adequately could be seen as neglecting this duty.

    1. Liability for Failing to Act

           o   Federal Law: Title VI I of the Civil Rights Act of 1964 mand ates employers to maintain a workplace
               free of harassment and discriminati on .
           o   Case Citation: Faragher v. City of Boca Raton, 524 U.S. 775 (1998) established that employers are
               liable for failing to exercise reasonable care to prevent and correct promptly any discriminatory or
               harassing behavior.
           o   Case Citation: Ellerth v. Burlington Industries, Inc. , 524 U.S. 742 (1998) affirmed that an employer
               can be held liable if it does not take proper steps to address harassment.


                                                        4 or 10


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Potentia l Liabilities from Third-Party Vendor Activities

The unauthorized use of Ryan's narne by a third-party vendor can create significant legal liabilities for our
company. Below are the relevant laws and case citations:

    1. Wire Fraud

Submitting false attestations via an online form by third-party vendors could implicate our company if part of a
scheme to defraud.

    •    Federal Law: 18 U .S.C. § 1343 (Wire Fraud)
    •    Case Citation: Pasquantino v. United States, 544 U.S. 349 (2005).

    2. Identity Theft

The unauthorized use of personal identifying information by third-party vendors cou ld lead to identity theft charges
against the company.

    •    Federal Law: 18 U.S.C. § 1028A (Identity Theft)
    •    Case Citation: United States v. Blixt, 548 F.3d 882 (9th Cir. 2008).

    3.   Unauthorized Access (Computer Fraud)

Any unauthorized access to our computer systems by third-party vendors to submit false information could be
considered computer fraud, for which the company may also be held liable.

    •    Federal Law: 18 U.S.C. § 1030 (Computer Fraud)
    •    Case Citation: United States v. Nosal, 676 F.3d 854 (9th Cir. 2012).

    4.   Negligent Hiring and Supervision

If a company fails to properly vet third-party vendors and those vendo rs engage in unlawful activities, the company
can be held liable for negligent hiring and supervision. This includes the unauthorized use of an employee's
personal id entifying information, which can create direct liability for the company due to its negligence in hiring
and oversight.

    •    Maryland Law: An employer can be held liable for negligent hiring if it fails to exercise reasonable care in
         selecting an independent contractor who is incompet ent or unfit for the work, and this negligence causes
         harm.
    •    Case Citation: Latty v. St. Joseph's Soc. of Sacred Heart, Inc., 198 Md. App. 254 (2011 ).

Immediate Actions Required

Given the serious nature of these issues, we require an update on the steps being taken to address them. It is now
past 2 p.m., and Rich indicated action would be taken after 3 p.m. It is critical that Rich's actions are stopped
immediately.

If you currently do not have legal representation for these matt ers, please confirm this in your response. You will
have until [specific date, e.g., Monday, June 19, 2024] to secure an attorney. If you do have legal representation,
please provide the contact information of your attorney by the same deadline.

Next Steps

                                                        ~ of 10



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We are preparing to take the next steps to ensure that these issues are addressed prope rly. We do not require a
member of ownersh ip to agre e with the facts as presented, but we do expect acknowledgment that we will be
speaking with an attorney about the items disclosed here and potentially other items that have not yet been
disclosed. We need assurance that you will come t o the table in good faith.

Conclusion

Rya n's actions continue to demonstrate attempts to limit damage, w hile Rich and Glenn's actions are making this
more difficult and continue to jeopardize Ryan 's health and Ohana. It is imperative that we take immediate and
comprehensive actions to address these issues. Inaction or insuffic ient responses may lead to sign ificant legal
and financial liabilities for our organization.

Thank you for your attention to this critical issue.


This message may include text created with the help of natural language processing.


El Book tim e to meet w ith m e

  Ryan Dillon-Capps
  Vice President of IT
  Ohana Growth Partners, LLC

                             off ice --I J0 - 252- 8058 >-1 09

  OH ~ NA
    Gro w th Pa r tn er s
                             212 W. Padon ia Rd
                             T1rnon1urn, MD 2 109 3
                             www .planetfitness.com


  " Culture eats strategy for breakfast"




From: Ryan Dillon-Capps <Ryan.DillonCapps@ohanagp.com>
Sent: Thursday, June 13, 2024 12:02 PM
To: Ryan Dillon-Capps <Ryan.DillonCapps@ohanagp.com>; Ri ch Hartman <Rich. Hartman@ohanagp.com>
Cc: Karen Debus <karen.debus@ohanagp.com>; Justin Drummond <Justin. Drummond@ohanagp.com>; Stacey
Wittelsberger (ESC) <srector@exeterstreetcapital.com>; C. Victor Brick <Victor@ohanagp.com>; Lynne Brick B.S.N. M.A.
<lynne@ohanagp.com>; Terry Woods (Planet Fitness) <Terry.Woods@ohanagp.com>; Earl Ihle
<Earl.lhle@ohanagp.com>; Glenn Norris <glenn @ohanagp.com>
Subject: Re: Immediate Response to Rich Hartman Addressing Illegalit y and Cease and Desist


@Rich Hartman Silly Forms I will try th is again with the form co rrected

I hope this message fi nds you well.

I am writing to for ma lly address and respond to th e recent directives and communications that have raised
significant legal and ethica l concerns.

Illegal Directives and Retaliatory Actions



                                                                      6 or 10


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•        •
    The email you sent today, June 13, 2024, demanding the addition of Global Administrators within a six-ho ur
    window under threat of insubordination charges, is not only inappropriate but also illegal. These actions constitute
    retaliation under the Family and Medical Leave Act (FMLA) and relevant Maryland state laws. Specifically:

         5.   Family and Medical Leave Act (FMLA) Violations:

                   o    Under 29 U.S.C. § 2615(a), it is unlawful for an employer to retaliate again st an employee for
                        exercising their rights under the FMLA. The directives and threats issued in your email are clear acts
                        of retaliation against me for taking FMLA leave.

         6.   Maryland Retaliation Laws:

                   o    According to Md. Code Ann. , Lab. & Empt.§ 3-801 et seq., retaliation against employees for
                        reporting workplace violations or exercising their rights is prohibited. Your actions have created a
                        hostile work environment and have directly undermined my professional respon sibilities.

    Cease and Desist Demand

    Effective immediately, I demand that you cease and desist from any further retaliatory actions and coercive
    threats. This includes, but is not limited to, the following:

         1. Retaliatory Directives: Any orders or demands that threaten disciplinary action or undermine my role and
            responsibilities.
         2. Coercive Threats: Any communications that use threats of insubordination or other punitive measures as
            a means of compliance.

    Failure to comply with this cease and des ist demand will leave me w ith no option but to pursue all available legal
    remedies to protect my rights and ensure a safe and fair working environment.

    Notification of Request for Confirmation                   T here never was any refusal

    Please be aware that I have re quested Hartman Executive Advisors, including Phil Leadore and Dan Levett, to
    confirm their qualifications and involvement in the PCI DSS v4 review. Ownership have been included in this
    communication thread to ensure full transparency and oversight.

    Request for Confirmation

    Please confirm in writing by 1:30 pm EST that you have received this cease and desist notice and that you will
    comply with its terms. Failure to provide this confirmation will be taken as a refu sal to comply, and I will proceed
    accordingly.

    Thank you for your immediate attention to this serious matter.




    This message may include text created with the help of natural language processing.


    El Book time to meet             w1t11 rne




      Ryan Dillon- Capps
      Vice President of IT
      Ohana Growth Partners, LLC

                                                                          7 or I o


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                          office 410-252-8058 x 109
                          212 VI. Paaon,a Rd
   Growth Partn e r s
                          r,mon1um, MD 21093
                          www .planetfitness.com



  " Culture eats strategy for breakfast"


                                                                                              - - - - -- - - - - -
From: Ryan Dillon-Capps <Ryan.DillonCapps@ohanagp.com>
Sent: Thursday, June 13, 202411:57 AM
To: Rich Hartman <Rich.Hartman@ohanagp.com>
Cc: Karen Debus <karen.debus@ohanagp.com>; Justin Drummond <Justin.Drummond@ohanagp.com>; Stacey
Wittelsberger (ESC) <srector@exeterstreetcapital.com>; C. Victor Brick <Victor@ohanagp.com>; Lynne Brick B.S.N. M.A.
<lynne@ohanagp.com>; Terry Woods (Planet Fitness) <Terry.Woods@ohanagp.com>; Earl Ihle
<Earl.lhle@ohanagp.com>; Glenn Norris <glenn@ohanagp.com>
Subject: Immediate Response to Rich Hartman Addressing Illegality and Cease and Desist



@Rich Hartman

I hope this message finds you well.

I am writing to formally add ress and respond to the recent directives and communications that have raised
sign ificant legal and ethical concerns.

Illegal Directives and Retaliatory Actions

The em ail you sent today, June 13, 2024, demanding th e addition of Global Administrators within a six-ho ur
window under threat of insubo rdination charges, is not only inappropriate but also illegal. These actions constitute
retaliation under th e Family and Medical Leave Act (FMLA) and relevant Maryland state laws. Specifically:

    3. Family and Medical Leave Act (FMLA) Violations:

             o    Under 29 U.S.C. § 2615(a), it is unlawfu l for an employer to retaliate against an employee for
                  exercising th eir rights under the FM LA. The directives and threat s issued in your ema il are clear acts
                  of retaliation against me fortaking FMLA leave.

   4.   Maryland Retaliation Laws:

             o    According to Md. Code Ann., Lab. & Empl. § 3-801 et seq ., retal iation against employees for
                  reporting workplace violations or exercising their rights is prohibited . Your actions have created a
                  hostile work environment and have directly undermined my professional responsibili ties.

Cease and Desist Demand

Effective immediate ly, I demand that yo u cease and desist from any further retaliatory actions and coercive
threats. This includes, but is not limited to, the follow ing:

   1.   Retaliatory Directives: Any orders or demands that threaten disciplinary action or undermine my role and
        responsibilities.


                                                           8 of 10


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                                 office 410-252-8058 x109

  OH ~ NA
    G t o w th P a rtners
                                 2 12 1/./ P2do111a Rd
                                 T1mon1um, MD 21093
                                 www .planetfitness.com



  "Culture eats strategy for breakfast"



From: Ryan Dillon-Capps <Ryan.DillonCapps@ohanagp.com>
Sent: Thursday, June 13, 2024 11:57 AM
To: Rich Hartman <Rich. Hartman @ohanagp.com>
Cc: Karen Debus <karen.debus@ohanagp.com>; Justin Drummond <Justin.Drummond@ohanagp.com>; Stacey
Wittelsberger (ESC) <srector@exeterstreetcapital.com>; C. Victor Brick <Victor@ohanagp.com>; Lyn ne Brick B.S.N. M.A.
<lynne@ohanagp.com>; Terry Woods (Planet Fitness) <Terry.Woods@ohanagp.com>; Earl Ihle
<Earl.Ihle        gp.com>; Glenn Norris <glenn@ohanagp.com>
Subject:            Response to Rich Hartman Addressing Illegality and Cease and Desist




I am writing to formally
significant legal and ethic

Illegal Directives and Retaliat

The email you sent today, June 13, 2                                                obal Administrators within a six-hou r
window under threat of insubordination                                            priate but also illegal. These actions constitute
retaliation under the Family and Medical L                                     levant Maryland state laws. Specifically:

    3.

                0                                                                   er to retaliate against an employee for
                      exercising their righ                                             th reats issued in your ema il are clear acts
                      of retaliation aga·

    4.


                                             e violations or exercising their rights is                  actions have created a
                                          ironment and have directly undermined my




Effectiv                      ly, I demand that you cease and desist from any further retaliatory                    oercive
threats.                    des, but is not limited to, the following:

    1. Retaliatory Directives: Any orders or demands that threaten disciplinary action or undermine my role and
       responsibilities.


                                                                  8 or 10


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              rcive Threats: Any communications that use threats of insubordinati                  unitive measures as
                 s of compliance.

                                                                                               ursue all available legal




Please be aware t                    ted Hartman Executive                      ng [specific names]. to confirm t heir
qualifications and inv                  PCI DSS v4 review.                   e b This emai l is a        munication
thread to ensure full tra
                                                                                 duplicate because the
                                                                                 "specific names"
Request for Confirmation
                                                                                 were not stated

Please confirm in writi                                        T that you have received this cease and
desist notice and that you wi                                      terms. Failure to provide this confirmation will
be taken as a refusal to comply, a

Thank you for your immediat




                        office 410-252-8058 x109
                        212 W. Padonia Rd
   Growth Pa r tners    T1monium, MD 21093
                        www .planetfitn ess.com



  "Culture eats strategy for breakfast"



From: Rich Hartman <Rich.Hartman@ohanagp.com>
Sent: Thursday, June 13, 2024 9:01 AM
To: Ryan Dillon-Capps <Ryan.Wagner@ohanagp.com>
Cc: Karen Debus <karen.debus@ohanagp.com>
Subject: Acknowledgement Required

Ryan,
You have received repeated and multiple demands from your supervisor, the company president, and the owner of
Ohana Growth Partners (OGP) since May 21, 2024 to add th em and other individuals as Global Administrators. You
have repeatedly refused and failed to obey these directives. Such condu ct constitutes insubordination which
violates Section 1 of your January 8, 2020 Employment and Non-Disclosure Agreement requiring that you
"faithfully and diligently perform ... duties as may be assigned by management from time to time." In addition, the


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     2. Coercive Threats : Any comm unications that use threats of insubordination or other punitive measures as
        a means of compliance.

Failure to comply with this cease and desist demand will leave me with no option but to pursue all available legal
remedies to protect my rights and ensure a safe and fair working environment.

Notification of Request for Confirmation

Please be aware that I have requested Hartman Executive Advisors, including (specific names], to confirm their
qualifications and involvement in the PCI DSS v4 review. Ownership have been included in this communication
thread to ensure f ull transparency and oversight.

Request for Confirmation


Please confirm in writing by 1:30 pm EST that you have received this cease and
desist notice and that you will comply with its terms. Failure to provide this confirmation will
be taken as a refusal to comply, and I will proceed accordingly.

Thank you for your immediate attention to this serious matter.




This message may include text created with the help of natural language processing.


El Book time to meet with me
  Ryan D ill on-Capps
  Vice President of IT
  Ohana Growth Partners, LLC

                             office 4 10 - 252 · 8058 x1 09

  OH ~ NA
    Grow t h P a rtn o rs
                             2 12 W. Padonia Rd
                             T1monium, MD 2 1093
                             www .planetfitness.com



  " Culture eats strategy for breakfast"




From: Rich Hartman <Rich.Hartman@ohanagp.com>
Sent: Thursday, June 13, 2024 9:01 AM
To: Ryan Dillon-Capps <Ryan.Wagner@ohanagp.com>
Cc: Karen Debus <karen.debus@ohanagp.com>
Subject: Acknowledgement Required

Ryan ,
You have received repeated and multiple demands from your supervisor, the company president, and the owner of
Ohana Growth Partners (OGP) since May 21 , 2024 to add them and other individuals as Global Administrators. You
have repeatedly refused and failed to obey these directives. Such conduct constitutes insubordination which
violates Section 1 of your January 8, 2020 Employment and Non-Disclosure Agreement requiring that you
"faithfully and diligently perform ... duties as may be assigned by management from time to time." In addition, the


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refusals violate Section 6.1 of the Ohana Associates Handbook ("Standards of Conduct") which prohibits the
"failure to follow lawful instructions of a supervisor."

There are countless reasons why a company should have several Global Administrators, whether being tied up in
business meetings, vacations, leaves of absence, or other activities that cause a single Global Administrator to be
unavailable. Your communication yesterday about your need for FMLA time off, to which you are entitled, makes
self-evident the reasons for the company's demand to have several Global Administrators.

Glenn has signed an agreement on behalf of OGP with Hartman Executive Advisors (HEA) and demands that you
add Phil Leadore from HEA as a Global Administrator by 3 pm today. We also instruct you to hold off on any major
updates or changes to the system until HEA has had a chance to evaluate Ohana's IT systems.

We have evaluated the multitude of reasons tor your refusal to obey management's directives. We are not looking
to debate these reasons any further, rather we require a simple acknowledgment that you will follow the directive
or not and then do so immediately by 3:00 pm today. Failure to acknowledge this directive and to add Phil Leadore
as a Global Administrator by 3:00 pm today will require the company to take appropriate action.

  Rich Hartman
  VP of People and Culture
  Ohana Growth Partners, LLC

                          office 410-252-8058 xll4

  OH~NA
   Gr ow th Par tn e rs
                          212 W. Padonia Rd
                          T1monium, MD 2 1093
                          www.planetfitness.com



  " Cult ure eats strategy for breakfast"




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                                , t'Uisaav J        1             /



G     Darren Koritzka




              2:20 PM

             Delivered


      Darren Koritzka
      I'm taking this as I'm being let go
                                           2:23 PM


                                   Ryan Dillon-Capps                                          l
                                                                                           ..,I
                                  document what they took who is there
                                                                                2:23 PM


                                                                 Ryan Dillon-Capps          , t
                                                                 i sent it to the owners
                                                                                2:23 PM


      Darren Koritzka
      Left my computer there and they told me to sign out of
      anything at home
                                                                         2:25 PM


      Darren Koritzka
      And not to do any support if anybody comes bugging
      me
                                                                         2:25 PM




                     '1 ~   '      )   '   I. \~p   ~   J    '
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             Rya n Dil lon-Capps
             Rich was served with a cease and desist letter not too
             long ago
                                                                         2:27 PM


                                             Ryan Dillon-Capps                     I
                                                                                       •
                                                                                           I'I

                                             I am sending C away for safety
                                                                         2:28 PM


                                                              Ryan Dil lon-Capps    ., J r
                                                              was ann there?
                                                                         2:28 PM


                                                              Ryan Dillon-Capps            I,.
                                                              is she okay
                                                                         2:28 PM


      Darren Koritzka
      Yes
              2:28 PM


      Darren Koritzka
      And I don't know if she was okay
                                   2:28 PM


                                       Ryan Dillon-Capps
                                       i told her to go home immediately
                                                                         2:31 PM


             Rya n Dillon-Capps
             i wonder if he believes something to be on t he
             downstairs servers
                                                                         2:32 PM




G     Darren Korit zka
      A cease and desist over what ?
                              2:32 PM


                                   ii, I I       '-.
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            Ryan Dillon-Capps                                                                     1,
                                                                                               _,.., I

            legal violations, let me get to the owners and others
            quickly
                                                                                    2:34 PM


      Darren Koritzka
      I'm putting in apps and resumes now, in case this goes
      south.
                                                                              4:47 PM


                                                                       Ryan Dillon-Capps          I t'
                                                                                               .,, 11

                                                                       are you awake?
                                                                                   11 :47 PM




                    l    C   ll     t,\ I.. ilAf h   •., v':.          ;. '
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                      -      Tllursda) Jur        3 '"'~ 4


             Ryan Dillon-Capps                                                       ~-11
             where are you. Rich was served with a cease and
             desist letter a little bit ago
                                                                          2:29 PM


      Mareann Pinera
      I'm in the office
               2:29 PM


                    Ryan Dillon-Capps
                    this is how he responded. Do you have your letter
                                                                          2:29 PM


      Mareann Pinera
      What letter
               2:30 PM


             Ryan Dillon-Capps
             interesting. Pack up your stuff and go home
             immediately
                                                                          2:30 PM


                                   Ryan Dillon-Capps
                                   if someone engages you let me know
                                                                          2:3 7 PM


               Ryan Dillon-Capps
               this is going to the owners and steps are being taken
                                                                          2:3 7 PM


      Mareann Pinera
      I'm walking out
               2:32 PM




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                                                                  Ryan Dillon-Capp s        'j:
                                                                   ~
                                                                                2:32 PM


      Mareann Pinera
      What's going on?
                  2:32 PM


                Ryan Dillon-Capps
                We served rich a cease and desist letter and he
                appears to be taking it poorly
                                                                                2:33 PM


      Mareann Pinera
      Oh ok. Thank you! I appreciate your concern. Driving
      home now.
                                                                          2:36 PM


                Ryan Dillon-Capps
                absolutely! let me know if anything seems even a
                little unusual
                                                                                2:48 PM


      Mareann Pinera
      Will do
                 3:34 PM




                     )l n   r ,     t , Cil 1 1'1•~ ~   k    >     .:it
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                             Ii ISdJy Jun .3        0 1

                                                              Ryan Dillon-Capps




                                                                        2:22 PM




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                         nu sd ..:iy   L"   )
                                                 1
                                                     J


                                                         Ryan Dillon-Capps




                                                                   2:22 PM




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            Ryan Dillon-Capps




              ... ............_..,..~.
              •~~ ..-
                  ~
                          11/o••'ll>~ftil•W. I

              ,.,...,...._... n .....,. •.-,_.
              , .. ...nt.,...._..s-;.-..•
              .....-.-.n-~-•
              -   - -·... \w - , . ...~...~

              l ~!!t~ I -, , . . . - . , .
              .,__.:.n,.-._.,,,_a,. ..,, .. ::,,.....
              a.,,,.._..,."'
                   ..............._.........
              ._..:,,,,_t...,..., ... ......
              .-
              "-



            This is not a joke.

            At 12:02PM today Rich Hartman was served with a
            Cease and Desist Letter. At 2:05 a thread where Rich
            and ownership were informed of several key risks
            some of which were the basis of the cease and desist
            letter. With in 30 minutes, Rich had typed up, signed,
            and present Darren with a letter claiming he was
            suspended for an IT Audit. Justin, Victor, and Lynne
            immediately received a copy via text and a follow up
            email. they are all on leave and screenshot shows
            my attempt to get them via group chat. At this tim e it
            appears that Rich has acted alone and I have sent ann
            home for safety. Rich's account has been disabled
            and seasiona revoked. RB and Michael crawly were
            notified and directed to speak to jd, victor, and lynne
            (and chuck) Help Desk and Shannon and Ronalda are
            also aware. I dont think I can disclose too much, but I
            need help to ensure there is oversight in decisons
                                                                                                 4:03 PM


             Ryan Dillon-Capps
             I am sending my wife away because I do not know
             what he might do
                                                                                                 4:04 PM




                                                              JI!·\[ ).    ~     d
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                                                                Ryan Dillon-Capps




                                                                            4:05 PM


      Karen Cepress
      Keep us updated.
                 4:12 PM


      Allyson Ratliff
      Is there anything we need to do?
                                        4:12 PM


                                                                Ryan Dillon-Capp s
                                                                I do not know
                                                                            4:13 PM


                                                                                        I
                                                                Ryan Dillon-Capps       JI
                                                                                        '
                                                                yet
                                                                            4:7 3 PM


      Karen Cepress
      What the heck is seasiona?
                             4:21 PM


                                                                Ryan Dillon-Capps
                                                                ?
                                                                                        ~.
                                                                            4:21 PM




                   G1.1v~r<, ,     h·. Gtl'-\p ,, ~-r 1<·,      ~     rr
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      Allyson Ratliff
      Sounds like a nasty cold sore!
                                       4:21 PM


      Karen Cepress
      Ryan, you're the one who used that word!
                                                      4:22 PM

                                                                                          lj .
                                                Ryan Dillon-Capps
                                                do you mean the app sessions?
                                                                              4:22 PM


              Ryan Dillon-Capps
              it is an app that people use when they want to be
              sneaky
                                                                               4:23 PM

                                                                                            1
                                                                    Ryan Dillon-Capps       l1'
                                                                                            1:
                                                                    its encrypted
                                                                               4:23 PM


      Karen Cepress
      Aahhh
              4:23 PM


      Allyson Ratliff
      @ - more IT stuff I don't understand! Shocking!
                                                                4:23 PM


              Ryan Dillon-Capps
              haha its fo r sneaky snakes who want to ssssssneak
              around
                                                                               4:36 PM


      Allyson Ratliff
      Interesting
              4:50 PM


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                                                                                           ( f ::



             Ryan Dil lon-Capps
             okay, victor and lynne are with vikki ... nothing else was
             said, but it doesnt sound good . they have given justin
             full power
                                                                             5:33 PM


                                           Ryan Dillon-Capps
                                           Justin is aware of most of it now
                                                                             5:33 PM




0     Karen Cepress
      Ryan, this is concerning.
                           5:33 PM


                                                                Ryan Dillon-Capps           _, ! I
                                                                it is ...
                                                                             5:33 PM


             Ryan Dillon-Capps                                                                !.
             i trust that it doesnt go to anyone else not victor,,
             lynnne, and justin
                                                                             5:34 PM

                                                                                               I

                                                        Ryan Dillon-Capps                      h
                                                                                             • •t

                                                        tbh, justin is processing
                                                                              5:34 PM


             Ryan Dillon-Capps
             If you have't ever seen justin think about his wife ... he
             loves her so so much. I do not even know her and can
             tell she is his bright sun to that allows him to find his
             happy space as a wa llflower

             I have so much respect for how much he stays out of
             that contort zone, but thi s must feel like a personal
             nightmare
                                                                              5:38 PM




                   ...J'l', ,   Jh   uili-\fr.:,01   .,.5,   r , "x   J
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                                                                         0




              Ryan Dillon-Capps                                               .., '
              If something is needed at some point, I think support
              is what will be needed
                                                                   5:39 PM


      Karen Cepress
      Understood! I'll do my best
                           5:40PM


      Allyson Ratliff
      Ditto
              5:42 PM




                                  ....... -~) " _, ..
                                                   )  ~     .                  EXHIBIT 100
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               Ryan Dillon-Capps
               I need someone to acknowledge they are on it and
               getting Rich to calm down or something
                                                                                3:29 PM


               Ryan Dillon-Capps
               I am worried for my safety and my wife, I am sending
               her to safety and silence is not assuring me that
               anyone is on this
                                                                                3:32 PM


               Ryan Dillon-Capps
               Michael and Ryan were notified to make decisons for
               BB and I directed them to seek guidance from you 3
               and chuck
                                                                                3:43 PM


               Ryan Dillon-Capps
               I have to assume I am alone because Beyer, Gerber,
               and Glenn are not people I can trust at this time.

               Please Confirm! Don't leave me as the most senior
               executive to make decisions for Ohana
                                                                                3:52 PM


      Justin Drummond
       Ryan, please know we appreciate your concern for the
       well-being of the company, but the company's request
       has been that you immediately instate the admin rights
       for Mr. Leadore and our owners will accept whatever
      'consequences tnat may follow.
                                                                          4:06 PM


      l\l r Leadore \\'as not im olvcd :ind         Ryan Dillon-Capps
      remnined un respons ive.
                                                    Mr Leadore is unresponsive
                                                                                4:07 PM




                                          I   ~ ~    .....,    .J<

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                                                              Ryan Dillon-Capps               'I
                                                                                               I
                                                              same with ne levett
                                                                              4:07 PM


                                                    Ryan Dillon-Capps
                                                    no one wants to tou ch this
                                                                              4:07 PM


             Ryan Dillon-Capps
            this is not the time for this, Darren is not even involved
            in the investigations. This is far beyond reasonable
                                                                              4:09 PM


             Ryan Dillon-Capps
             whatever you have been told or believe, I am acting
             like we have a man with nothing to lose who saw that
             email and is dangerous
                                                                               4:10 PM


                                   Ryan Dillon-Capps
                                   sending Darren away... no explaination
                                                                               4:10 PM


                                                                                          l   1
                                                                   Ryan Dillon-Capps          :1
                                                                   its irradic behavior
                                                                               4:10 PM


             Ryan Dillon-Capps
             I need to assume that his actions are indicating he
             believes he is at risk and that is danger
                                                                               4:12 PM


      Victor Brick
      Ryan. Lynne and I are dealing with Vicki's cancer
      treatment. Please stop including me in these texts
      immediately. Justin is the president of the company
      and has complete authority to handle this situation. I
      must insist that you stop texting me.
                                                                        4:13 PM

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                      Ryan Dillon-Capps                                                                           .l
                      understood and all my well wishes for all of you, I will
                      ask my mom to pray for all of you


                      mahalo
                                                                                                        4:14 PM


               Victor Brick
               A
                   4:14 PM

                                                                                                                  I'
                                                                Ryan Dillon-Capps
                                                                  I will pray without ceasing for Vicki brick
                                                                  and you and Caroline like I always do
                                                                  .1 21 PM • AT&T




                                                                From my mom

                                                                                                        7:19 PM


               Victor Brick


                   7 :59 PM




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             Ryan Dillon-Capps
             I believe that I may have found a way for you to have
             access to a Global Admin account. Can you review
             the PCI DSS 4 documentation before 5 pm on Monday
             and talk with me on Tuesday?
                                                                     5:35 PM


      Justin Drummond
      Hi Ryan.
      I should be able to review this before Tuesday.
                                                     6:19 PM


             Ryan Dillon-Capps
             Sounds Great! Let me know on Monday and we ca n
             coordinate the time for Tuesday
                                                                    6:19 PM


      Justin Drummond
      Did you already send the documentation to review?
                                                          6:21 PM




                                  I ' ~          J        X
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            Ryan Dillon-Capps

               Document '          Date of     , ,
               Title        "'• "' , Publication
                             -            . . . .
                                               -
                                                 "'"•'• •  ,

               Standard

                             4
               PC! OSS      " O M1Jr_     Enghsh v       d.,
                            ?02?



            I sent a link in teams to the docs page which has
            requirements document.

            here is the link
            https://www.pcisecuritystandards.org/document
            _library/

            and the first one is the primary doc
            https://docs-prv.pcisecuritystandards.org/PCl%20DSS
            /Standard/PCI-DSS-v4_0.pdf


                                                                                               6:24 PM


             Ryan Dillon-Capps                                                                               I:
             there are other docs that are helpful but not essential
                                                                                               6:24 PM


      Justin Drummond                              Wri1te11 Accord - There ,,·as no issue, there
      Understood                                   was 110 refusal
                  6:25 PM


                                                                                                             ]
             Ryan Dillon-Capps                                                                            ... I I
             have you ever heard me t alk about the 3 CEO letter
             story before? I was just thinking about that, and this
             is not a coded message but just a rand om thought
             keeps popping up in my head lat ely
                                                                                               6:27 PM


                                                                             Ryan Dillon-Capps
                                                                             have a good weekend ~.1
                                                                                               6:27 PM




                                   \..' , , _.. ii, \r   ,s . . , " 1 .._'    ""   ~   •

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      Justin Drummond
      No I have not. You too
                     6:28 PM


                           vlu11C1L1y, J un     , ~ OJ


      Justin Drummond
      Hi Ryan. I've seen a few emails go out today from you.
      I've been trying to connect on Teams about the iPad
      that arrived last week. Let me know when is best for
      you.

      I am out of town Wednesday through the rest of the
      week.
                                                                1:17 PM


                                                                                  1
                                  Ryan Dillon-Capps                               1'
                                  i have back to back meetings until 4
                                                                      1 :24 PM


                                              Ryan Dillon-Capps
                                              i can also do now for like20
                                                                      1 :25 PM


      Justin Drummond
      I stepped out to grab lunch. I'll be back in 10 min
                                                          1:26 PM


             Ryan Dillon-Capps
             okay, minimally we can sync on what is neeee and I
             can msg later tonight when we are ready to do next
             steps
                                                                      1 :27 PM


      Justin Drummond
      Ok.teams Call when I'm back at my desk?
                                               1:29 PM




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                                                              Ryan Dillon-Capps




                                                                        2:21 PM


    .,   Justin Drummond
         Ryan, I cannot answer right now. I'm out of town . Is
         there something you can text?
                                                                  3:12 PM


                Ryan Dillon-Capps
                We need to talk now.. what I kn ow puts thi s a safety
                izHe
                                                                        3:12 PM


                                                              Ryan Di llon-Capps
                                                              Rich has gone off
                                                                        3:13 PM


                                                              Ryan Dillon-Capps
                                                              emminent ri sk
                                                                        3:13 PM


                                  Ryan Dillon-Capps
                                  I sent m y people home for their safety
                                                                        3:13 PM


                                                              Ryan Dil lon-Capps
                                                              read your email
                                                                        3:13 PM




                                       '      )
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           Ryan Dillon-Capps
           i am about to get a resteainig order. . I am sending my
           wife away
                                                                              3:14 PM


           Ryan Dillon-Capps
           he has a cease and desist and then sees the legal
           context and less than 30 min later is suspending
           darren for an it audit
                                                                              3:15 PM


            Ryan Dillon-Capps
           that company glenn contacted appears to not want
           any part of this
                                                                              3:15 PM


                        Ryan Dillon-Capps
                        no idea what glenn said buy mine are in writing
                                                                              3:15 PM


            Ryan Dillon-Capps
            if I dont get contact like very soon .. I am doing
            whatever my attorney said no question
                                                                              3:18 PM


                                                               Ryan Dillon-Capp s
                                                               i will not risk safety
                                                                              3:18 PM


                                                                   Ryan Dillon-Capps
                                                                   says
                                                                              3:18 PM


            Ryan Dillon-Capps
            to be blunt.. very very bad ... no one will ever give us
            money again company go bye bye... that is the level of
            risk. i am not an auditor, we need help now
                                                                              3: 19 PM


                  .Jt   ner ,   J   by G1IApps SMS     <1      H   .,,_   1
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             Ryan Dillon-Capps
            tell me you are at least talking to victor, lyne, and terry
                                                                              3:28 PM


                                                                 Ryan Dillon-Capps
                                                                 lynne
                                                                              3:28 PM


                                                                Ryan Dillon-Capps
                                                                call? talk? please?
                                                                              4:15 PM



     Justin Drummond
     Ryan, I understand that you are concerned about the
     company but as I stated in the text chain with the
     Bricks, the company has, again, requested something
     from you to be done. The company will handle what's
     to follow after you instate the representative.

     Also, please know there should be no fear of danger
     for anyone.
                                                                      4:19 PM


     Justin Drummond
      I am not in good cellular service location. I cannot
      answer th e phone He is on another Call
                                                                         4:20 PM


             Ryan Dillon-Capps
             the people who you are asking .... for starters they
             appear to have no interest in being involved
                                                                               4:20 PM


                                         Ryan Dillon-Capps
                                         anyone who whos even a tiny bit run s
                                                                               4:21 PM




                   (   P   ·,,   , rJ,   G1IAprs Sivl~ f- l "     \
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      Justin Drummond
      No one is running. The company is working with
      professionals to handle this situation. We will update
      you shortly
                                                             4:25 PM


             Ryan Dillon-Capps
             I have said over and over again. that I want help, I
             emailed them at the start of this and begged them to
             help us
                                                                    4:25 PM


                                                        Ryan Dillon-Capp s
                                                        they wont respond
                                                                   4:25 PM


             Ryan Dillon-Capps
                                                                              .l
            after the email they said I will get an update from
            glennn . silence
                                                                   4:25 PM


                                            Ryan Dillon-Capps
                                            i will forward you the email
                                                                   4:26 PM


                                                        Ryan Dillon-Capps
                                                        two emails sent
                                                                   4:29 PM


            Ryan Dillon-Capps
            anyone who is even semi independant, they will not
            want to be involved
                                                                   4 :29 PM


                                                        Ryan Dillon-Capps      I,
                                                        I wish they wou Id
                                                                   4:3 0 PM




                                  ' '     ~     < ' ~
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                                  Ryan Dillon-Capps
                                  i want them to be backup right ow
                                                                   4:30 PM


            Ryan Dillon-Capps
            you think they are going to side with glenn and rich ..
            they will not
                                                                   4:30 PM


                                                        Ryan Dillon-Capps
                                                        where is holly?
                                                                   4:30 PM


                                             Ryan Dillon-Capps
                                             you ever seen no lawyers?
                                                                   4:37 PM


            Ryan Dillon-Capps
            Every red flag possible and no one responds to a
            cease and desist without a lawyer
                                                                   4:34 PM


            Ryan Dillon-Capps
            let alone take action against a neutral party but who is
            the only person on site who can understand tech
                                                                   4:35 PM


            Ryan Dillon-Capps
            If the head of IT, President and CEO are not involved
            in an IT audit.. .. and rich just suspended an employee
            without cause
                                                                   4:39 PM


               Ryan Dillon-Capps
               Call ciera and ask her why she said 1 year t o leeann
                                                                   4:40 PM




                    1,    ,   u,l.,r,
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             Ryan Dillon-Capps
             I would have gone to Glenn if I were her and I would
             have also said 1 year if he told me to with cause
                                                                     4:40 PM


             Ryan Dillon-Capps
             2 days later, Glenn isn't auditing onsite .. he is auditing
             me
                                                                     4:41 PM


                                                           Ryan Dillon-Capps
                                                           maybe sooner
                                                                     4:41 PM


                                             Ryan Dillon-Capps
                                            he notified matt 2 days later
                                                                     4:41 PM


                                         Ryan Dillon-Capps
                                         invoices had not even come in
                                                                     4:41 PM


             Ryan Dillon-Capps
             I ca n give you access to sage ... pull reports I havent
             since lastyear
                                                                     4:42 PM


             Ryan Dillon-Capps
             but this week I looked at the intranet and i have never
             seen so many tiny 30$ invoices for them
                                                                     4:43 PM


             Ryan Dillon-Capps
             we have backups from sept and nov, but a chunk are
             missing
                                                                     4:44 PM




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            Ryan Dillon-Capps
            then they used unfinished work to justify the large
            prepaid amounts rolling over to avoid flag in audits
                                                                       4:50 PM


                                                  Ryan Dillon-Capps
                                                  club opens and the re peat
                                                                       4:50 PM


                Ryan Dillon-Capps
                                                                                       J
                so of they had invoices the math would be too high
                                                                       4 :51 PM


                                                        Ryan Dillon-Capp s
                                                        auditors might notice
                                                                       4:51 PM


                                                Ryan Dillon-Capps
                                                but no one looks at too low
                                                                       4 :51 PM


                                           Ryan Dillon-Capps
                                           i am not a foren sic accountant
                                                                       4:51 PM


            Ryan Dillon-Capps
            I do not know what bill, glenn, and i guess rich are
            exactly doing
                                                                       4:57 PM


                                                             Ryan Dillon-Capps
                                                             i know people
                                                                       4:52 PM


            Ryan Dillon-Capps
            I have been around enough companies going through
            the other side to know what it looks like
                                                                       4:52 PM
                    'i   r      I I ii \( n•~   .       .,
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                                                Ryan Dillon-Capps
                                                when josh beyer joined
                                                                 4:45 PM


                                             Ryan Dillon-Capps
                                             the ediscory followed him
                                                                 4:45PM


             Ryan Dillon-Capps
             during vetting he was giving pfhq documents to glenn
                                                                 4:45 PM


                            Ryan Dillon-Capps
                            phhq email to his yahoo email t o glenn
                                                                 4:45 PM


            Ryan Dillon-Capps
            i believe they could have been used to target ada and
            knownwhen and where to buy
                                                                 4:46 PM


                                            Ryan Dillon-Capps
                                            i did not see victor on t hen
                                                                 4:46 PM


            Ryan Dillon-Capps
            and where glenn goofed during on boarding and used
            the wrong email. victors emails are consistent and
            correct
                                                                 4:47 PM


            Ryan Dillon-Capps
            my guess is that bill figured something out and then
            however that conversation went bill then had all
            invoices redirected to him
                                                                 4:49 PM




                     r
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             Ryan Dillon-Capps
            no one innocent 2 days in starta to audit the
            whitleblower
                                                                      4:53 PM


                                                         Ryan Dillon-Capp s
                                                         that is insane
                                                                      4:53 PM


            Ryan Dillon-Capps
            no one avoids accounting for years of incorrect
            numbers that at quick glance cierra knew were
            impossibke
                                                                      4:55 PM


            Ryan Dillon-Capps
            and even if I am 100% wrong ... no one does this if
            they are have nothing to hide
                                                                      4:56 PM


                                                     Ryan Dillon-Capps
                                                     it is illegal to not do it
                                                                      4:56 PM


            Ryan Dillon-Capps
            who commits a crime to not check numbers even
            once
                                                                      4:56 PM


            Ryan Dillon-Capps
            who accepts a 75k number when every other group
            reported double
                                                                      4:57 PM


                 Ryan Dillon-Capps
                 you saw him when i did the final invoice by invoice
                                                                      4:57 PM




                                 1,-, '.   --.1
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                                                      Ryan Dillon-Capp s
                                                      not even a glance at it
                                                                     4 :57 PM


                                      Ryan Dillon-Capps
                                                                                .i
                                      then .. do it again for another club
                                                                     4:58 PM


            Ryan Dillon-Capps
            you are the CFO who submitted a number half rhe
            actual and you find out.. ..
                                                                     4:58 PM


                                                                                 •I
                                                   Ryan Dillon-Capps
                                                                                  l
                                                   do you respond that way
                                                                     4:58 PM


                                   Ryan Dillon-Capps
                                   he wasnt even looking at the screen
                                                                     4:59 PM


                                 Ryan Dillon-Capps
                                 remember, he was fiddling with papers
                                                                     4:59 PM


            Ryan Dillon-Capps
            how did I go from josh beyer trying to make him self
            feel better by threatening me to day I aint C level
            YET and weeks before oct 16 the day i found but
            technically Cierra reported it.. glenn approved a year
            long commitment to impact the budget with a phon e
            call
                                                                     5:07 PM


            Ryan Dillon-Capps
                                                                                • J

            all i said was it cost this much and he said okay let
            matt know
                                                                     5:0 7 PM


                    l   ,    j  1  _, !IA >~ r : r_   ,
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                  Ryan Dillon-Capps
                 Then 2 days after reporting ... auding my invoices?
                                                                                   5:01 PM


                                                               Rya n Dillon-Capps
                                                               that is a massive j ump
                                                                                   5:02 PM


             Rya n Dillon-Capps
             he told me infront of you ... no investigation not
             needed
                                                                                   5:02 PM


                                                                       Ryan Dillon-Capps
                                                                   that itself is a crime
                                                                                   5:03 PM


                                                                        Rya n Dillon-Capps
                                                                        an d why not
                                                                                   5:03 PM


                             Ryan Dillon-Capps
                             the very act to recieve invoices is validation
                                                                                   5:03 PM


             Ryan Dillon-Capps
            standard proceedure would say. now its a audit for all
            years
                                                                                   5:03 PM


                                       Rya n Dillon-Capps
                                       Kris Kroona has a forensic accountant
                                                                                   5:04 PM


                                                                       Ryan Dillon-Capps
                                                                       we can get our own
                                                                                   5:04 PM


                  Gt',1,;I    '      U I l..il,'\i flS ::,I\ I.... '     \.   I
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             Ryan Dillon-Capps
             disaster hits ohana if we have officials arrive before
             we can establish good faith
                                                                          5:04 PM


                                                    Ryan Dillon-Capps
                                                    we cant undo the pa st
                                                                          5:05 PM


             Ryan Dillon-Capps
             we can take take action to find out what did Rich freak
             out about
                                                                          5:05 PM


      Justin Drummond
      Ryan you have laid out your allegations and claims. You
      do not need to continue to text me all of this. As stated
      before we are working with professionals and will be in
      touch.
                                                               5:06 PM


                                                Ryan Dillon-Capps
                                                i need to meet them now
                                                                          5:06 PM


                                                          Ryan Dillon-Capps
                                                          this is the start
                                                                          5:06 PM


                                                          Ryan Dillon-Capps
                                                          not all of jt
                                                                          5:06 PM


                                 Ryan Dillon-Capps
                                 and this is the first i am hearing thi s
                                                                          5:07 PM




                  u   n         31        _
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                           Ryan Dillon-Capps
                           phil and dan would have responded by now
                                                                       5:07 PM


                                         Ryan Dillon-Capps
                                        who told you about thei r status
                                                                       5:07 PM


                                                           Ryan Dillon-Capps
                                                           ask them
                                                                       5:07 PM


             Ryan Dillon-Capps
            if they say sure .. have them email me back so we can
            get started
                                                                       5:08 PM


                                                           Ryan Dil lon-Capps     .   I
                                                           if they wont report
                                                                       5:08 PM


                                                           Ryan Dillon-Capps
                                                           we need it now
                                                                       5:08 PM


             Ryan Dillon-Capps
            we can atart with full view access to the accounting
            system
                                                                       5:09 PM


             Ryan Dillon-Capps
            I have very few option s remai ning that dont spiral to
            oblivion
                                                                       5:09 PM


                                                    Rya n Dillon-Capps
                                                    I will not be the fal l guy
                                                                       5:09 PM

                 G   1'"       1
                                 y ( lit- )f,s '-- I ' >   ·,
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            Ryan Dillon-Capps
            i will not be left holding liability for the actions of
            others
                                                                   5:10 PM


                                          Ryan Dillon-Capps
                                          I am the one who wants help
                                                                   5:10 PM


                                    Ryan Dillon-Capps
                                    Geoff doesnt want to be involved
                                                                   5:11 PM


                                           Ryan Dillon-Capps
                                           dan and phil, looks like nope
                                                                   5:11 PM


                                                 Ryan Dillon-Capps
                                                 holly butler is a pass toi
                                                                   5:11 PM


                                        Ryan Dillon-Capps
                                        back to josh beyers ediscovery
                                                                   5:12 PM


             Ryan Dillon-Capps
            looooot s of attention went into the exact thin g
            covered
                                                                   5:12 PM


                                            Ryan Dillon-Capps
                                            never seen that here before
                                                                   5:13 PM


                         Ryan Dillon-Capps
                         every other ediscovery is just given it t o em
                                                                   5:13 PM



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            Ryan Dillon-Capps
            and in the thread about ediscovery is Ryan Brooks
            saying that 2 day server outage ...
                                                                 5:14 PM


             Ryan Dillon-Capps
            2 days .. it was like 2018/2019 when he came on ... fo
            you recall a 2 day outage?
                                                                 5:14 PM


                                     Ryan Dillon-Capps
                                     have we ever had a 2 day outage
                                                                 5:14 PM


                         Ryan Dillon-Capps
                         every where I looked were more questions
                                                                 5:15 PM


             Ryan Dillon-Capps
            and you saw the screenshot of our security posture
            change
                                                                 5:16 PM


                         Ryan Dillon-Capps
                         exactly matching when I left and returned
                                                                 5:16 PM


                          Ryan Dillon-Capps
                          auditng was puuuurged from the system
                                                                 5:16 PM


                                    Ryan Di llon-Capps
                                    microsoft can recover most if still
                                                                 5:17 PM




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             Ryan Dillon-Capps
             the mechanism to prevent not just accidental backup
             but level 2 to stop it was undone
                                                                         5:17 PM


             Ryan Dillon-Capps
                                                                                            I·
             i turned on level3 now it is for good until it expires
             naturally and it cant be reduced
                                                                         5:18 PM


      Justin Drummond                         Drummond is try ing to acccs, l1k::- 111 I l'n m~
      Ryan                                    for Rich Hartman rl1e te:--t 111,:,~,l,!1:?~ ;ire
                                              popping up and blocking ,, h ;1t ii L' 1, anh to
      Please stop with all these texts.
                                              cli ck on.
                                   5:18 PM


             Ryan Dillon-Capps
             You are already on the hook, all of ownership has been
             since they knew about it in dee
                                                                         5:18 PM


                                   Ryan Dillon-Capps
                                   glenn hiring osi made is much worse
                                                                         5:19 PM


                                                  Ryan Dillon-Capps
                                                  racks falling off the wall?
                                                                         5:19 PM


                                                           Ryan Dillon-Capps
                                                           raises questions
                                                                         5:19 PM


                                         Ryan Dillon-Capps
                                         not taking action incurs liabilty
                                                                         5:20 PM




                     1er     t ,    IA       .'
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             Ryan Dillon-Capps
             hence the ONLY way ohana gets out of this alive is
             with me
                                                                         5:20 PM


                                                 Ryan Dillon-Capps
                                                 if i am removed all hope is lost
                                                                         5:20 PM


             Ryan Dillon-Capps
             no one willl believe anything against the actions done
             intne wrong direction and non actions supporting the
             wrong conclusions
                                                                         5:21 PM


             Ryan Dillon-Capps
            I do not use hyperbole very often ... even that
            sentence .... i qualified. I used to say my dog was the
            best dog in the whole wide room
                                                                         5:22 PM


            Ryan Dillon-Capps
            Ohana is on the brink of one bad decision and the
            company does not survive
                                                                         5:22 PM


            Ryan Dillon-Capps
                                                                                     I·
            back to rich ... his actions are not reasonable they raise
            questions
                                                                         5:23 PM


                                    Ryan Dillon-Capps
                                    they justify an investigation into him
                                                                         5:23 PM




                    'l   r                 --.

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            Ryan Dillon-Capps
            hence, step 1 - we get an attorney that is following my
            lead to show an immediate course correction. You
            being the one at the helm
                                                                  5:24 PM


                         Ryan Dillon-Capps
                         Victor and Lynne stay their course with vikki
                                                                  5:24 PM


                                Ryan Dillon-Capps
                                                                             . J
                                they say what they just said non stop
                                                                  5:25 PM


            Ryan Dillon-Capps
            2 - rich is immediately suspended pending
            investigation
                                                                  5:26 PM


            Ryan Dillon-Capps
            and we work really hard together to show and
            abundance of good will
                                                                  5:26 PM


                Ryan Dillon-Capps
                and if we get that knock on the door, we cooperate
                                                                  5:26 PM


                Ryan Dillon-Capps
                we allow those respons ible to be held accountable
                                                                  5:27 PM


            Ryan Dillon-Capps
            and we do everything to show alaris and exert we are
            a sound investment and we are committed to this
            never happenig again
                                                                  5:28 PM




                                    •
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                                                         Ryan Dillon-Capps
                                                         it is 5:28 here
                                                                     5:28 PM


            Ryan Dillon-Capps
            you got lots to think about


            final though .. did i say a single thing about me other
            then not being the fall guy?
                                                                     5:28 PM


            Ryan Dillon-Capps
            most people would have filed their lawsuit and taken
            the money and not cared about Ohana
                                                                     5:29 PM


            Ryan Dillon-Capps
            particularly after what you all have done and allowed
            to be done .. .. no not just to me ... lots of people
                                                                     5:30 PM


            Ryan Dillon-Capps
            sara wolz has a fractured relationship with her dad
            from ohana
                                                                     5:30 PM


                                                         Ryan Dillon-Capps
                                                         her dad
                                                                     5:30 PM


            Ryan Dillon-Capps
            not the key issue right now... key issue is saving
            Ohana
                                                                     5:31 PM


                                         Ryan Dillon-Capps                      J
                                         i need to meet with my people
                                                                     5:31 PM


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                                                          Ryan Dillon-Capps
                                                          still not everyth ing ..
                                                                          5:31 PM


             Ryan Dillon-Capps
            reminder, you ca n NOT tel l exert they know this and
            t hey have to fi le with SEC
                                                                          5:48PM


                                                   Ryan Dillon-Capps
                                                   we tel l t hem just not 7st
                                                                          5:48PM


                                                    Ryan Dillon-Capps                I    t
                                                    we need to investigate
                                                                          5:48 PM


                                                           Ryan Dillon-Capps
                                                           ve rify....
                                                                          5:49 PM


             Ryan Dillon-Capps
            does the ent ire t hing m ake sense now... why t hat s
            what i said
                                                                          5:49 PM


             Ryan Dillon-Capps
             Please tel l me that you have spoken to Rich and
             suspended him
                                                                          8:51 PM


                      Ryan Dillon-Capps
                      We are f iling for a prot ective order against rich
                                                                          9:09 PM




                 (,         • t   Gill\,    r ,             :...
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            Ryan Dillon-Capps
            I am being told it looks better for Ohana if Ohana files
            a Peace Order
                                                                   9:1 3 PM


                             Ryan Dillon-Capps
                             we are moving forward if nothing is said
                                                                   9:13 PM


            Ryan Dillon-Capps
            the next steps are injunctions and the we are forced
            to file claims and notify
                                                                   9:14 PM


            Ryan Dillon-Capps
            I cant allow harm to my people or me. trying to do
            least action possible
                                                                   9:15 PM


            Ryan Dillon-Capps
            they want me to name the company saying he was
            acting as your agent
                                                                   9:38 PM


            Ryan Dillon-Capps
            i need something becuse i give trust and not getting a
            confirmation
                                                                   9:39 PM


              Drummond said multiple times that someone \,·ould
              update RDC. the next action was suspension.




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From :                    Glenn Norris <glenn@ohanagp.com>
Sent time:               03/21/2024 08:51 :19 AM
To:                       Ohana Growth Office; Chuck Cavolo; Michelle Kautzman <Michelle.Kautzman@brickbodies.com>
Cc:                       Stacey Wittelsberger (BB) <srector@bengurbryan.com>
Subject:                  Glenn on Vacation today & tomorrow
Attachments:              ohanagplogo 168x50_ 28f3ede9 -cdd4-4688 -b694 -9ba23c3e09ac.png


Hi everyone , I will not be working today or tomorrow. Please text me if there is an urgent need.

Have a great weekend . Go Houston!
                                        On March 20 at 3:32 Pl\ !: RDC spoke with Glenn orri s tor 2."'m and I6s.
Glenn
                                        Norris told RDC that he \\Oulcl get a second lega l opI11 Iu 11 ·1ht> llt'.\l
                                        morning, he is raking an unexpected day off.

  Glenn Norris
  Chief Fi nancial Officer
  Ohana Growth Partners, LLC

                                 office 410-252-8058 xl 08

 OH ~ NA
      Grow1h P ,· 1 11 1:r &
                                 eel 410-365 -2 591
                                 2 12 W Padonia Rd
                                 T1monium, MD 21093
                                 www.planetfitness.com

  "Culture eats strategy for breakfast"




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From:        Ryan Wagner <Ryan.Wagner@ohanagp.com>
Sent time:   03/20/2024 07:38:38 PM
To:          Rich Hartman                     Then RDC repl ies later that day -- anc, the call.
Cc:          Glenn Norris; Justin Drummond
Subject:     Re: FMLA
             Outlook-hv5hq5md.png Outlook-Ohana Grow.png Outlook-b2yu3trv.png Outlook-t44puwl0.png
Attachments: Outlook-rv0wxfvw.png  Outlook-Ohana Grow.png Outlook-dyqiz2ow.png    Outlook-Ohana Grow.png
             Outlook-Ohana Grow.png ohanagrowthpartnersfinallogo_7fa8dba2-2909-40ee-839a-12ba06da3de6.png

------------------------------.                                                         - ·------

@Rich Hartman

Understanding of FMLA Leave
My understanding, based on the Family and Medical Leave Act (FMLA}, is that it entitles eligible
employees to up to 12 weeks of unpaid, job-protected leave per year for specific family and medical
reasons, ensuring the continuation of group health insurance coverage under the same terms and
conditions as if the employee had not taken leave (29 CFR §825.100). This provision underscores the
act's intent to support employees through significant health-related life events without the fear of job
loss.

FMLA Recertification Frequency
In your reply, you indicated that Ohana wants to comply with FMLA regulation 29 CFR §825.308,
which states:
    •    Employers may request recertification no more often than every 30 days, unless the medical
        certification indicates that the employee will require leave for a period of more than 30 days. For
        leave due to a condition that lasts longer than 30 days, employers must wait until that period
        expires before asking for recertification.
    •    For conditions that are certified to last longer than six months, such as chronic conditions, the
        regulations allow for recertification every six months in connection with an employee's absence.
        This is understood from the provision that recertification can be requested every six months for
        conditions exceeding a six-month duration.
To avoid confusion, please provide standalone communication to confirm your intentions to comply
with this regulation and change my recertification frequency from 30 days to 6 months because the
current paperwork provided to me by Ohana says 30 days.

This regulation was created to prevent employers from unduly burdening or harassing employees
taking FMLA leave. While on FMLA leave there should not be a reduction of my role, limit my
existing flexibility, impose new policies, or introduce new challenges that make it more difficult to
complete my work because these are also seen as unduly burdening and harassing.

ADA Accommodations
In the FMLA response, you also correctly clarified that FMLA is not defined as an interactive process.
That phrase is used with the ADA to ensure reasonable accommodations for those with a qualifying
condition. You were previously notified of my disability on multiple occasions, including the workplace
harassment meeting with Karen, and it is also included in my FMLA documentation that was provided to
you by my healthcare provider. You have also asked follow-up questions, received answers from my
healthcare provider in a response letter, and indicated that my accommodation had been accepted.
 Through multiple forms of communication , I have reaffirmed my need for accommodation and , to my
knowledge, the acts of notifying you and requesting accommodation meet my obligations and have
initiated the ADA interactive process in accordance with 29 CFR § 1630.2(0)(3)).

Proposed Solution
I have spoken with Glenn about the intentions of FMLA and expressed concerns that these emails
continue to use misleading, broad language that misrepresents me and the dedication and commitment


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to excellence that has resulted in unparalleled performance and success for the IT department. Nothing
said in these emails aligns with the information I am receiving from Glenn, and I followed up with him
today, where I explicitly asked him if there were any tasks or issues that I need to know about because I
am aware of none. Glenn has none to provide me with and has stated that the four of us need to have
a call next week to discuss this process and how we can better align it with the law's intentions. He
indicated that he would make these arrangements when he gets back from holiday early next week on
Monday/Tuesday.

This message may include text created with the help of natural language processing.


.:J. Book 11me to meet wit11 me

  Ryan Wagner
  Vice Pre sident of IT
  Ohana Growth Partners, LLC

                             office 410-2 52-8058 x 109

  OH ~ NA
    Grow1 h P.H tn e rs
                             2 12 W. Padonia Rd
                             T1monium, MD 21093
                             www.planetfitness .com



  " Cu ltu re eats strategy for breakfast"



From: Rich Hartman <Rich.Hartman@ohanagp.com>
Sent: Wednesday, March 20, 2024 12:00 PM
To: Ryan Wagner <Ryan.Wagner@ohanagp.com>
Cc: Glenn Norris <glenn@ohanagp.com>; Justin Drummond <Justin.Drummond@ohanagp.com>
Subject: Re: FMLA
                                After this email -- is the call with Glenn
Ryan,

I have repeatedly provided very clear guidance about your use of FMLA and Ohana's expectations in
that regard, but because you are continuing to question those instructions and claim you need further
clarity, I will try again below to summarize this information. Please know that Glenn and I have been in
contact and I am aware of your correspondence with him about your assignments and leave.

By email on February 8, 2024 (attached), you received confirmation that so long as you complied with
proper notice requirements, we were prepared to designate any leave you took to attend your twice
weekly therapy appointments, as well as any other therapy appointments you required, as covered by
FMLA. We were also prepared to designate your time off in the event of a flare up as covered by the
FMLA, which your provider estimated could occur 1-3 times per week for 1-2 days per episode. The
updated healthcare provider certification you recently submitted dated March 12, 2024 does not change
this designation or the amount of leave your provider believes you will need. Unless your need for
leave changes, we will not need any further updates from your healthcare provider for at least six
months.

Because you and your provider had indicated that you needed FMLA leave, you had been repeatedly
unavailable during regular business hours, you had skipped meetings and telephone calls that you were
otherwise expected to attend, you maintained an out of office email stating that you were on leave, and
had deliverables that were not provided as expected, even after several responsibilities were removed
from your plate in an effort to lighten your load, it was our understanding that you were taking time off
from work due to FM LA. We asked you several times to specifically identify all of the time off you had
taken since the start of the year for FMLA.


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Unfortunately, despite our repeated requests and explanations - including at least via emails on January
25, 2024; February 8, 2024; and February 29, 2024 - you never supplied us with that information.

While you belatedly submitted a timesheet of sorts to Glenn on February 28, 2024 , nearly two weeks
after our deadline, it did not provide any clarity regarding the time off you had taken for FMLA dating
back to the start of the year.

As a result, only your two, one-hour appointments per week with your healthcare provider, amounting to
22 hours of leave (2 hours per week since January 1, 2024 through today) will be designated as FMLA.
The rest of your time off and unavailability is now considered unexcused.

Other than the 2 hours per week previously described, we lack sufficient records to know exactly what
other time off you have taken. In your emails, it appears that you are claiming both that you have taken
additional leave and that you have worked a regular, full-time schedule (though perhaps not always
during regular business hours). Please note that if you worked a full schedule, and did not actually
take any leave, then you would not be in need of or entitled to FMLA. That is not our understanding of
what has occurred, but because you have not tracked and reported your actual working and leave time
as required, it remains entirely unclear to us how much additional time off you actually used. We are
certain, however, that your productivity, availability, and responsiveness since the beginning of the year
was not as would have been expected for someone working a regular, full-time schedule but for 2 hours
of FMLA per week.

While we have repeatedly explained to you what notice you must provide when taking intermittent
FMLA, you still are not notifying Glenn, Karen, or I as instructed of any need to take time off during
regular business hours of 7 am EST to 6 pm EST. Until and unless you provide us with proper notice of
your need for leave - meaning as soon as practicable once you become aware of the need to take time
off during regular business hours - any future time off will not be counted as FMLA and may be
considered unexcused.

We have and will continue to accommodate you by allowing you to work from home. We also have
repeatedly stated that we are willing to allow you to work a flexible schedule, within reason and so long
as you are communicative about when you are working. For the reasons previously explained ,
because of your role and job duties, it is not acceptable or reasonable for you to be unavailable for
extended periods of time during regular business hours, without any notice, and then to just work at
other times of the day or night.

You have the right to request information about the amount of FMLA leave you have used every thirty
(30) days, so long as you have actually used any FMLA during that 30-day period. We will gladly
provide this information to you upon your request, once per thirty days as required.

Glenn will continue to work with you on our expectations regarding your job performance. We remain
concerned about your productivity and responsiveness. While I remain available to answer any specific
questions, I do not believe it will be productive to continue to rehash the above issues and expectations.




  Rich Hartman
  VP of Pe ople and Culture
  Ohana C rowth Partner s, LLC

                           office 4 10 - 252 -S058 xl 14

  OH ~ NA
   Gro wrh   P◄   1ner._
                           212 W. Padonia Rd
                           T1mon1um, MD 21093



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                         www.planetfitness.com


  "Culture eats str ategy for breakfast "



From: Ryan Wagner <Ryan.Wagner@ohanagp.com>
Sent: Tuesday, March 12, 2024 11:03 PM
                                                        .------- -- - - -- - - - -- - - ----,
                                                T his aligns with the I st attempt 1<1 ll'rminarc 11nckr pretext
To: Rich Hartman <Rich.Hartman@ohanagp.com>
Cc: Glenn Norris <glenn@ohanagp.com>; Justin Drummond <Justin.Drummond@ohanagp.com>
Subject: Fw: FMLA

@R ich Ha1tman

I hope this message finds you well. I am writing to seek your prompt attention and response to several
outstanding inquiries regarding the Family and Medical Leave Act (FMLA) provisions and related
documentation previously communicated to your office. Despite my efforts to follow up through prior
emails, it appears there remains a lack of clarity on several critical points, which I outline below for your
convenience and action.

Clarification on FMLA Correspondence:
have yet to receive confirmation of your receipt and review of my previous correspondences regarding
FMLA queries. Enclosed, please find the aforementioned emails for your reference. Should these
communications have not reached you, I kindly request you to review them at your earliest
convenience. Moreover, if a response has been provided , I would greatly appreciate it if you could re-
send that communication, ensuring all parties are adequately informed and aligned .

Submission of Healthcare Provider's Certification:
Attached herewith is the FMLA certification form completed by Megan Robinson, LCSW-C, dated 12
March 2024. This documentation is submitted in an effort to address and alleviate the concerns
previously mentioned and to facilitate a transparent and efficient resolution process. Furthermore, an
updated letter has been obtained from my healthcare provider, aimed at supporting my ongoing needs
and compliance with FMLA requirements.

Distinction Between FMLA Leave and Other Forms of Leave:
I seek your guidance in distinguishing between FMLA leave and other leave categories to ensure my
understanding and adherence to the policies are accurate. A comprehensive explanation on this matter
would aid in clarifying my position and facilitating a harmonious resolution to the ongoing discussions.

Clarification on Used FMLA Leave:
There appears to be confusion regarding the allocation and categorization of my leave as per the FMLA
guidelines you provided . Discrepancies in the information communicated have led to uncertainties. I
respectfully request a detailed explanation and breakdown of how my leave has been classified,
specifically delineating FMLA and non-FMLA leave, to rectify any misunderstandings and ensure
compliance with the Act.

                                                                           le of why I am asking for clarification.


                                                                                    o o ay, ecause you ave no
om plied with our repeated directives about providing notice regarding your time off, none of your absences or
navailability since the start of the year have been designated as FMLA or excused, with the very limited exception of you
ne hour appointments on Monday and Wednesday, at least for the last few weeks
After you sent me this message, I attached the email where I provided a written update to Glenn that
had this information at once upon his request. I had not included you on that email because of your
prior email. I am including Glenn and Justin with the hopes that together we can streamline this new



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FMLA process.

Your prompt and detailed response to these points will not only aid in clarifying the necessary
procedural aspects but also significantly contribute to alleviating the stress and anxiety associated with
this process. Understanding the importance of adherence to FMLA guidelines, I am eager to cooperate
fully and provide any additional information required to facilitate a swift and satisfactory resolution.

Thank you for your attention to these matters. I look forward to your timely response.


·1hi:, mcssag..: may induck text created with the help or natural language: prnc~.-,srng .


.::1 Book time to meet with me
   Ryan W agner
   Vice Pre sident of IT
   Ohana Growth Partners, LLC

                                    office 410-252-8058 xl09

   OH ~ MA
     Growt h P u t nen.
                                    212 W. Padonia Rd
                                    T1monium, MD 21093
                                    www .planetfitness.com



   "Culture eats strategy for breakfast"



From: Ryan Wagner <Ryan.Wagner@ohanagp.com>
Sent: Friday, March 1, 2024 8:00 AM
To: Rich Hartman <Rich.Hartman@ohanagp.com>
Subject: Re: FMLA

@Rich Hartman I have consistently engaged regarding my leave and how I can accommodate Ohana
while maintaining excellence for the brand, company, department, and myself. So many of us in senior
leadership and executive level positions are regularly being identified by the Brand, Industry, and our
Peers for our contributions toward setting a new standard for WHIM, and I am no different, having
been singled out multiple times within all 3 of those arenas for things accomplished because of an
analytical, detail-oriented, and data-driven approach to everything.
In your email , you said , "Please understand that a failure to adhere to these expectations moving
forward may result in disciplinary action." Some of our more recent emails have also contained
confusing statements that portray me in a negative context and do not align with previous
communications.
My first guess is that there are times when I will promptly share information with Glenn, Justin, or you ,
but it doesn't get shared with everyone else, creating a delta in what we know. However, why has the
volume of inaccurate, incomplete, and outdated information in emails increased so much? It also
doesn't account for the unresponsiveness to some of my emails requesting clarification , which might
exacerbate the problem as it appears to be leading to a misleading perception in emails like this that
people are waiting on me. I am attaching some emails that have other relevant attachments as
reminders and providing what was asked for in that email. Notably:
    • Updated schedule and appointment information
    • Timesheets showing when and what I was working on last week.
    • I provided updated information on completing all unfinished tasks from the 2 January 2024
         email that was copied into the 12 February post-meeting email. To be clear, the 2 January
         2024 email was promptly responded to , and those tasks were either already completed and
         confirmed before 2 January 2024 or were promptly completed. This includes the 2024 budget,



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         which, in the 12 February meeting, Glenn stated he wanted to UPDATE the budget on a few
         lines involving IT projects. Since then, Glenn has decided that he is solely managing them and
         wants to avoid any involvement from IT. He similarly has said the same thing about Comcast
         Credits and Cielo Balance. As of today, yesterday, we are discussing it on Tuesday because he
         has some new questions to discuss with me and Ryan Brooks. I hope this clarifies this topic
         because I have made multiple attempts to obtain clarification, and based on those
         conversations with Glenn, there is nothing he needs or wants from me or IT on any of those
         items. Glenn is providing me with new tasks, and we are working on those as provided.
    • Top 20 Priorities that I am working on .
However, some of this information was discussed in email threads that you were a part of, including
the one attached on the topic of that email and the email thread that I replied to with requests for
clarification. Please provide me with an answer to that email and its questions because I believe that
relates to any misunderstanding that I currently have.

The start date of my therapy appointments with my current provider should be on the FMLA paperwork.
If you don't see that field filled in, then please share with me the document that you have on file, and I
will gladly send you the correct document.

About FMLA paperwork,
I know from the paperwork that it says you want my therapist to provide an updated version every 30
days, but neither of us was certain when the 30 days rolled around. My assumption from the
document's language is that it is 30 days from the date the document is accepted. What date have you
recorded as the date you officially accepted the FMLA paperwork? I will let them know so they can
provide you with scheduled updates.

Back to your email ,
I consistently go out of my way to meet the needs of Ohana to the point that my most common
feedback from Glenn and JD is how it is okay if I work less and do less because the amount I give is
"too much." If you or someone doesn't have something they need, it is because I did not know about it
or something beyond my control prevents me from doing so. For example, we have outstanding
purchases, and I have made multiple requests for the petty cash card to be refilled as it has been for
years.
Glenn has decided that there will be a new process, and I will review it with Glenn on Tuesday, hoping
we can implement it quickly. Still, I always deliver what he wants first, and if I feel strongly enough
about something, then after I do, it is when I will try to persuade him to change his mind.

 If you need something from me, I have not asked you for clarification, not replied to provide updated
options/info, and it is within my power of authority to give it to you - Please attach those emails in your
response to this one, and I will follow up on it as quickly as possible.
Perfect examples:
 In this email, you directed me to take action to change my team's status. In an email yesterday, Glenn
asked me to change my email out of the office message.
I did them promptly before even beginning to work on a reply. All I needed from Glenn was for him to
clarify a request he had made previously, but he has yet to respond to the question I asked him. This
was your first time making that request, and I did precisely as I interpreted it. Let me know if you or
Glenn need something aligned with the resulting action. I am analytical, detail-oriented, and data-
driven, which also means that I, like many other Ohanians, prefer direct, detailed information and
instructions that are factual , literal, and accurate.
I don't have a better solution to offer. Still, these types of conversations where I am going through the
email at what feels like a line-by-line speed to provide correct information, emails, and other data to
address the incorrect information are triggering for me, and I don't feel comfortable being put into a
position where I must advocate for myself like this. Are you against a chance in this process that brings
these false claims to me first as a question about their factual accuracy? This would allow me to
provide you with the same correct information but without it feeling like it is an accusation , and
hopefully not including language about disciplinary action or another similar language that doesn't
make sense considering the facts.


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I have no problem sharing any of this information or completing the requested task when I understand
and can do so.

About this email and the statement for Darren's prior FMLA with other "employees," While
acknowledging that someone has read some of my unanswered emails, this doesn't align with our
internal terminology and colloquialisms, of which you have been one of the strongest voices for the use
of our language. In this example, Team Members instead of employees leads me to believe that some
or all of this email may not have been written by you, which provides another possibility that best
explains all of the disconnects discussed and even those not mentioned.
As a reminder, we had many conversations about Darren's FMLA leave as you guided the entire
process; you looped in Barry right after you told me that Darren was on FMLA leave. Barry then
provided me with examples and additional information on our FMLA process , including how we track
intermittent FMLA. The first time anyone discussed a problem with Darren's FMLA paperwork was
immediately before the formal sit-down that preceded his PIP. Karen and I spoke to you in your office,
and it was Karen Debus who said she did not see Darren's FMLA in Paycom after you asked me if I
could recall off the top of my head when the FMLA start date was. You said that the start of his FMLA
was right around when Andrey was leaving the company, and you attributed the missing paperwork to
something assigned to him, which must have never been added to Paycom before he left. This was
potentially problematic for Ohana because we needed better HR records to know where Darren's
eligibility or status was, and Darren had experienced not one but several major qualifying events along
with other events that were equally unfortunate but non-qualifying. You advised me on what would be
necessary to document if we decided later to terminate him based on his performance while under PIP.
We all expressed that we were conflicted about what to do next because we wanted to do what was
suitable for him and Ohana. The current plan was to allow him to make it through this tough time while
also preparing for a situation we thought might be unavoidable.
In hindsight, the PIP was incorrect because we kicked him while he was down.
This only made things worse, and his mental health was negatively impacted, which did not align with
our intention to provide a positive, yet corrective, adjustment to the documented issues put forth in the
PIP nor the Ohana "Family" spirit.
The breakthrough came during our coaching sessions, where he shared something personal with me.
As we discussed it and the technical issue, I suggested that he think of Ohana as a safe place away
from all the heavy problems he faced outside of work. The trend of things getting worse was broken,
 and he started to become more and more consistent in attendance, timeliness, completion of tasks,
 quality of work in those tasks, etc. Discussing taking punitive action against or terminating him now
 does not align with that, nor does it speak to us upholding our values and ideals. I will always choose
 someone who has the right attitude and demonstrates a willingness and openness to improve over
 someone who creates a toxic atmosphere because they think they are a superstar, which I have
 always felt was aligned with what Ohana desires too.

I want to underscore that my intention throughout our communications has been to ensure clarity,
adherence to our shared goals, and compliance with our policies and legal obligations, especially
concerning the FMLA and workplace expectations. My efforts to share information, seek clarifications,
and address any discrepancies are driven by a commitment to maintain the high standards we set for
our team and myself. This dialogue is intended to foster a better understanding and to collaboratively
navigate any challenges we might face, ensuring we continue to support each other and the
overarching mission of Ohana .

I value open and constructive communication and believe that by working together, we can resolve any
misunderstandings and strengthen our team dynamics. My approach, as detailed in this
correspondence, aims to demonstrate my proactive and cooperative stance in aligning with both our
company's expectations and legal frameworks . It's my hope that this clarity will pave the way for a
productive dialogue that enhances our working relationship and affirms our mutual commitment to the
principles and values that define our company.

Let's continue to engage in conversations that build understanding and trust, focusing on solutions that
reflect our collective commitment to excellence and legal compliance. I remain dedicated to


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contributing positively to our team and welcome any further discussions that will help us move forward
together.



This me ssagl.! may indudc text 1..:reatc d w ith th<: hdp of n:Jtural lang uage processing.


~ Book time to meet with me


   Rya n Wagner
   Vice Pre sident of IT
   Ohan a Growth Partners, LLC

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                                    Timon,um, MD 21093
                                    www.planetfitness.com



   "Culture eats strateg y for breakfast "



From: Rich Hartman <Rich.Hartman@ohanagp.com>
Sent: Thursday, February 29, 2024 1:20 PM
To: Ryan Wagner <Ryan.Wagner@ohanagp.com>
Subject: FMLA

Hi Ryan,
Thank you for continuing to engage in this discussion regarding your need for leave and
accommodation. Although you promised to provide detailed information about your
FMLA usage by February 13, 2024, it is more t han two weeks after that deadline and we
still have not received any information from you about your FMLA usage since the start
of the year. In addition, to the extent you have taken any time off in the last few weeks,
you are still not providing proper notification regarding your time off. As we have
repeatedly explained, in order for your time off to be excused and designated as FMLA,
you must notify the Company by contacting your supervisor and Hum an Resources to
advise th at you are unavailable due to FMLA and indicate when you expect t o return.
This is consistent with both our practice in terms of other employees who have used
intermittent FMLA and the FMLA regulations. With respect to Darren Koritzka, he was
never on approved FMLA and in fact, you were advised to terminate his employment
due to, among other issues, attendance problems . It is our understanding that you
have not actually followed through on that directive, but his situation is not comparable
to yours and is unrelated to FMLA.

We remain committed to trying to support you and your needs, within the confines of
our policies and the law. We need to know, and are entitl ed to know, when you are
working and available during regular business hours and when you are not working and



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on FMLA. As previously mentioned, we are willing to consider some flexibility in your
working hours as a further accommodation, but it must be planned and/or approved.
 There remains significant confusion amongst our colleagues about your status, due in
part to your ongoing Teams status being marked as "Unavailable" due to leave, and
because you have led others in the organization to believe that you are on leave. As of
today, because you have not complied with our repeated directives about providing
notice regarding your time off, none of your absences or unavailability since the start of
the year have been designated as FMLA or excused, with the very limited exception of
your one hour appointments on Monday and Wednesday, at least for the last few
weeks (you still have not confirmed for how long you have been attending those
appointments).

We expect that you will be responsive and working during regular business hours unless
we have received the required notification that you are on leave. We further expect
that you will immediately modify your Teams status to "Available" during regular
business hours, unless you have provided the required notice and are unavailable due
to FMLA. We will continue to work with you regarding your productivity and the
assignments that are incomplete, including most notably the budgets for your
department, which are overdue and which must be received promptly. Please
understand that a failure to adhere to these expectations moving forward may result in
disciplinary action.

If you have any questions, please feel free to contact me.

 Rich Hartman
 VP of People and Culture
 Ohana Growth Partners, LLC

                        office 410 - 252 - 8058 x 114

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From:         Ryan Wagner <Ryan.Wagner@ohanagp.com>
Sent time:    03/18/2024 09:02:25 AM
To:           Karen Debus; Glenn Norris; Justin Drummond       This is RDC response 10 1h1..' Rct,tliation
Cc:           Rich Hartman                                     Email (below )
Subject:      Re: Conclusion of Investigation
Attachments: ohanagrowthpartnersfinallogo_7fa8dba2-2909-40ee-839a-12ba06da3de6. png       Outlook-0lu5kpsi.png
             ohanagrowthpartnersfinallogo_ 7fa8dba2-2909-40ee-839a-12ba06da3de6.png




@Karen Debus
On December 18, 2023, Justin Drummond directed Rich Hartman to suspend the investigation until
further notice. As of now, I have yet to be informed of any change in this directive. It's concerning that
the investigation proceeded without adherence to Justin's instructions and without consulting the sole
named witness I provided before HR prematurely ended our meeting on November 16, 2023.

@Glen n Norris @Justin Drummond
At the November 16 meeting, I brought a detailed document intended for discussion and review. Rich
Hartman initiated the meeting by cautioning against making false allegations against C-level
executives. This was after my formal complaint on November 8, where Rich Hartman claimed HR was
unaware of any complaints I made to Glenn Norris, or any actions taken against Josh Gerber, Josh
Beyer, Bill Flax, or Jared Flax. I've consistently offered a witness and detailed information regarding an
August 3, 2021 , incident reported by Shannon Anderson against Josh Beyer, involving verbal abuse
and intimidation.


During the meeting, attempts to share the document were thwarted by frequent interruptions with
questions and inflammatory comments, such as:
    Karen Debus accused me of unpreparedness, only to briefly allow document discussion.
    Rich Hartman dismissing evidence contrary to his negative view of Cielo, citing low response rates-
an assertion later disproven.
    Rich Hartman insisted on HR's lack of prior incident knowledge, portraying the situation as a
misunderstanding on my part.

When I started detailing the August 3, 2021 , incident, HR abruptly ended the meeting, refusing the
document and opting for a form-based report instead.
Subsequently, I received an email requesting a unique form for everyone involved in any incident, a
request unprecedented in my experience. Moreover, a November 8 meeting with Glenn Norris revealed
an email from Rich Hartman that falsely claimed I reported four individuals for bullying and verbal
abuse.

Just to let you know, neither Glenn Norris nor Justin Drummond was named in my complaint.

The individuals mentioned were Josh Gerber, Josh Beyer, Bill Flax, and Jared Flax. Despite clear
distinctions, Rich Hartman and Karen Debus ambiguously referred to the "personnel you cited," while
maintaining a narrative of misunderstanding on my part.

This also aligns with everything I have ever said to either of you together or individually.
    •    Glenn, you know what I told you and reported to you and what actions were taken because of
        those reports. We also know HR did know about those incidents, and I am cautioning against
        the strategy where a narrative is put forth where inaction is better than the actions that were
        taken.
    •    Justin, it would be contrary to every conversation we have had to believe that the email you
        received on November 8th, 2023, was truthful about me naming you. We have had
        conversations prior, and since then, they reflect my genuine opinions of you, and they have
        always been consistent with you and with everyone I have ever spoken to about you. Ask
        others what I have said about you to them, and it will be consistent with what you have heard


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          me say to you.

Furthermore, I suspect Steve Goodwin may have had similar experiences with HR, as indicated by
fragments of his deleted emails that were part of his mailbox when I received them. I have not spoken
to Steve nor pursued this outside of this email. I do not believe anything other than what we already
have is needed to clarify this and all other topics. Please note that Karen Debus is on this email chain
when responding.

I am aware of many other things that have damaged my reputation, earnings, position, and career.
humbly request that you consider my actions and words against those words said to you by others that
contradict what you have seen and heard directly from me. Please consider how data-driven I am and
think about the last four years and how I have validated every claim I asserted while disproving all
claims against me or my assertions. All of them. My intentions and character are demonstrated in both
my actions and inactions, and I hope that you can see me for who I am because I knew going into this
that it would take time and consistency on my part to be seen through all of it. I continue to advocate
for others.

Justin - You suspended the hostile workplace investigation despite being falsely told that I reported you,
too, and it was in your personal best interest to get rid of that investigation permanently and quickly.
 However, you did what was right for Ohana , which speaks volumes about your character's high quality.


This message may include text created with the help of natural language processing.


:'.l Book lime to meet with me
  Ryan Wagner
  Vice Pre sident of IT
  Ohana Growth Partners, LLC

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                             w ww.planetfitness.com



  "Culture eats strategy for breakfast"



From: Karen Debus <karen.debus@ohanagp.com>
Sent: Friday, March 15, 2024 4:40 PM
To: Ryan Wagner <Ryan.Wagner@ohanagp.com>; IT External Test (DO NOT USE) <ryan @m xt 3.com>
Cc: Rich Hartman <Rich.Hartman@ohanagp.com>
Subject: Conclusion of Investigation
                                                             ,---------------                         --------,
                                                              When the pretext didn't w o rk ou t (J da:-, clau:,e for
                                                             FMLA ) thi s is how Rich Hartman rctal intcd. K aren
March 15, 2024                                               Debus was complicit.

VIA Email: rya n@mxt3.com and ryan.wagner@ohanagp.com
Ryan Wagner
Vice President of Information Technology
1334 Maple Avenue
Essex, MD 21221

Dear Ryan,

Subject: Results of Investigation


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I am writing to provide you with the results of the investigation conducted by Ohana Growth Pa11ners,
LLC into the concerns you raised regarding harassment, bullying, and a hostile work environment. It is
our commitment to provide a workplace free from harassment, bullying or a hostile work environment.
We take all such claims seriously and we investigate such claims.

On November 16, 2023, Rich Hartman and I had a meeting with you regarding your complaints of
harassment, bullying, and hostile work environment so that we could obtain specific information that
would enable us to conduct a full investigation regarding them. You provided very generalized
information during that meeting. To assist you in providing information demonstrating the specific
events or incidents that occurred, on November 21, 2023, we emailed you a Harassment Complaint
Form (the "Form"). The Form enables you to identify the incidents and pertinent information regarding
each of them. We requested that you return the completed Form by the end of that week, November 24 ,
2023. You did not send back the completed Form. We responded to your subsequent emails in which
you asked how to complete the Form. We have repeatedly requested that you complete the Form, with
subsequent requests sent on November 28, 2023, December 12, 2023, and December 16, 2023.
However, you have not sent us a fully completed or partially completed Form.

Although you did not provide specific details of your claims, we conducted an investigation that included
interviews with the personnel you cited, a review of email documentation, and a process review.

Our investigation established that there were heated discussions in which individuals made
unprofessional communications, evidently caused by frustrations. We are addressing those concerns
with the individuals responsible and will be providing training on appropriate workplace behavior.
However, after careful consideration and evaluation of the information that we were able to gather, we
have concluded that the information provided did not establish that you were subjected to harassment,
bullying, or a hostile work environment under the policies of Ohana Growth Partners.

We appreciate your willingness to bring your concerns to our attention as we understand that these
situations can be challenging. Our commitment to maintaining a respectful and inclusive workplace
remains steadfast and we encourage open communication without fear of retaliation or retribution. If
you have any additional information, please do not hesitate to contact me directly at 410-252-8058
x117 or Rich Hartman at X114.

Sincerely,

Karen


  Karen Debus

 Sr. HR Ge nera list
 Oha na Growth Partners, LLC

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                         212 w. Padonia Rd
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                         www. planetfitness.corn


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                 Glenn Norris </O=EXCHANGELABS/OU=EXCHANGE ADMINISTRATIVE GROUP
Organizer:       (FYD IBOHF23SPDLT)/CN=RECIPI ENTS/CN=D24 72C4806144DFD9705FD1F89B8960B-GLENN NORRI>
                 on behalf of Glenn Norris <>
Location:        Microsoft Teams Meeting
Start time:      3/26/2024 7:00:00 PM ((UTC-05:00) Eastern Time (US & Canada))
End time:        3/26/2024 7:30:00 PM ((UTC-05:00) Eastern Time (US & Canada))
All day event:   False
Reminder:        Not set
Category:        Not set
Recurrence:      Occurs Every Tuesday effective 3/26/2024 to 4/23/2024
From:            Glenn Norris
Sent time:       03/26/2024 10:2112 AM
To:              G~nnNo~s; C. ~ctocBrick
                 Stacey Wittelsberger (BB) <srector@bengurbryan.com>; Stacey Wittelsberger <srector@patriot-
Cc:
                 capital.com>
Subject:         Meeting with VB & Glenn
Attachments:     Untitled




Microsoft Teams Need help?
Join the meeting now
Meeti ng ID. 213 152 072 343
Passcode: a6Fx7X

Dial-in by phone
+ 1 469 -214 8508,,644781407 It United States, Dallas
Find a local number
Phone con ference ID: 644 781 407#
For organizers: Meeting options Reset dial-in PIN




                    Then on the 26111 and 27th he is meeting with other owners. .A..1 :;; ~2
                    Pt\,1 for Im 26s RDC and Norris speak, and >Jonis asks about th-:
                    felonies previously mentioned.




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                 Glenn Norris </O=EXCHANGELABS/OU=EXCHANGE ADMINISTRATIVE GROUP
Organizer:       (FYDIBOHF23SPDLT)/CN=RECIPI ENTS/CN=D24 72C4806144DFD9705FD 1F89889608-GLENN NORRI>
                 on behalf of Glenn Norris <>
Location:        Microsoft Teams Meeting
Start time:      3/27/2024 2:30:00 PM ((UTC-05:00) Eastern Time (US & Canada))
End time:        3/27/2024 3:00:00 PM ((UTC-05:00) Eastern Time (US & Canada))
All day event:   False
Reminder:        Not set
Category:        Not set
Recurrence:      Not set
From:            Glenn Norris
Sent time:       03/26/2024 04:52:39 PM
To:              Glenn Norris; Stacey Wittelsberger (BB) <srector@bengurbryan.com>; C. Victor Brick
Cc:              Stacey Wittelsberger <srector@patriot-capital.com>
Subject:         Update call




Microsoft Teams meeting
Join on your computer, mobile app or room device
Click here to jo in the meeting
Meeting ID: 216 583 105 020
Passcode: Ec2Kpf
Download Teams I Join on the web
Or call in (audio only)
... 1 469-214 -8508.. 1516998911 United States, Dallas
Phone Co nference ID: 151 699 89#
Find a local number I Reset PIN
Learn More I Meeting options




        iVl arch 28 at -1-:-D PM 26m and -1-7s call between RDC and I oms
        where Norris misleads RDC about his alignment. He is trying to
        ensure RDC doesn't work so that the RDC doesn't notice the system
        changes.




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                 Glenn Norris </O=EXCHANGELABS/OU=EXCHANGE ADM INISTRAT IVE GROUP
Organizer:       (FYDIBOHF23SPDLT)/CN=RECIPI ENTS/CN=D24 72C4806144DFD9705FD1 F89889608 -GLENN NORRI >
                 on behalf of Glenn Norris <>
Location:        Microsoft Teams Meeting
Start time:      4/8/2024 4:30:00 PM ((UTC-05:00) Eastern Time (US & Canada))
End time:        4/8/2024 5:00:00 PM ((UTC-05:00) Eastern Time (US & Canada))
All day event:   False
Reminder:        Not set
Category:        Not set
Recurrence:      Not set
From:            Glenn Norris
Sent time:       04/05/2024 06:46:42 AM
To:              Glenn Norris; Rebecca Kell <rebecca@kelllegal.com>; Sara Grotheer <sara.grotheer@pfhq.com >
Subject:         Teams Call regarding Legal docs for OGP's Transaction




Microsoft Teams Need help?
Join the meeting now
Meeting ID: 216 406 030 553
Passcode: FB5Dz5

Dial-in by phone
+ 1 469-274-8508,,662077242# United States, Dallas
Find a loca l number
Phone conference ID: 662 077 242#
For organizers: Meeting options Reset dial - in PIN




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                 Glenn Norris </O=EXCHANGELABS/OU=EXCHANGE ADMINISTRATIVE GROUP
Organizer:       (FYDIBOHF23SPDLT)/CN=RECIPIENTS/CN=D24 72C4806144DFD9705FD1 F89B8960B -GLENN NORRI>
                 on behalf of Glenn Norris <>
Location:        Teams Call
Start time:      4/8/2024 5:00 :00 PM ((UTC-05:00) Eastern Time (US & Canada))
End time:        4/8/2024 5:30 :00 PM ((UTC-05:00) Eastern Time (US & Canada))
All day event:   False
Reminder:        Not set
Category:        Not set
Recurrence:      Not set
From:            Glenn Norris
Sent time:       04/04/2024 12:13:52 PM
To:              Glenn Norris; Stacey Wittelsberger (BB) <srector@bengurbryan.com>; Breyana Diggs
Cc:              Stacey Wittelsberger <srector@patriot-capital.com>
Subject:         Kick off Meeting to Review and Assign Legal Checklist items-UPDATED to 1PM




Microsoft Teams Need help?
Join the meeting now
Meeting ID: 215 596 984 727
Passcode: 2XaqoW

Dial-in by phone
+ 1 469-214-8508,,684035559# United States, Dallas
Find a local number
Phone conference ID: 684 035 559#
For organ izers: Meeting opt ions Reset dial-in PIN




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  Case 1:24-cv-03744-BAH                Document 16           Filed 01/03/25          Page 83 of 160

               Glenn Norris </O=EXCHANGELABS/OU=EXCHANGE ADMINISTRATIVE GROUP
Organizer:     (FYDIBOHF23SPDLT)/CN=RECIPIENTS/CN=D24 72C4806144DFD9705FD1F89B8960B -GLENN NORRI>
               on behalf of Glenn Norris <>
Location:      teams call
Start time:    4/18/2024 2:00:00 PM ((UTC-05:00) Eastern Time (US & Canada))
End time:      4/18/2024 2:15:00 PM ((UTC-05:00) Eastern Time (US & Canada))
All day event: False
Reminder:      Not set
Category:      Not set
Recurrence:    Not set
From:          Glenn Norris
Sent time:     04/17/2024 09: 18:12 AM
To:            Glenn Norris; Stacey Rector <srector@exeterstreetcapital.com>
Cc:            Stacey Wittelsberger <srector@patriot-capital.com>
Subject:       meeting on ownership schedule for OGP
Attachments:   RE: Ownership Schedules for OGP- Prove out what the Cert of Interest Ledger(from T & L) & the Brick
               Ownership Schedule has(from PF Corp)




Microsoft Teams Need help?
Join the meeting now
Meeting ID: 260 321 079 679
Passcode: aqp5Vh

Dial-in by phone
+1 469 -214-8508,.24675726# United States, Dallas
Find a local number
Phone conference ID: 246 757 26#
For organizers: Meeting options Reset dial in PIN




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                 Glenn Norris </O=EXCHANGELABS/OU=EXCHANGE ADMINISTRATIVE GROUP
Organizer:       (FYDIBOHF23SPDLT)/CN=RECIPIENTS/CN=D2472C4806144DFD9705FD1 F89B8960B-GLENN NORRI >
                 on behalf of Glenn Norris <>
Location:        Microsoft Teams Meeting
Start time:      4/19/2024 3:00:00 PM ((UTC-05:00) Eastern Time (US & Canada))
End time:        4/19/2024 3:30:00 PM ((UTC-05:00) Eastern Time (US & Canada))
All day event:   False
Reminder:        Not set
Category:        Not set
Recurrence:      Not set
From:            Glenn Norris
Sent time:       04/18/2024 04: 11 :07 PM
To:              Glenn Norris: Stasia Thomas <athomas@tandllaw.com>
Subject :        review the ownership ledger together


Stasia can you meet tomorrow for 30 minutes?


Microsoft Teams Need help?

Join the meeting now
Meeting ID: 262 813 160 906
Passcode: JopQxW

Dial-in by phone
+ 7 469-274 8508 722409642# United States, Dallas
Find a local number
Phone conference ID: 722 409 642#
Fo r organizers: Meeting options Reset dial -in PIN




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                 Glenn Norris </O=EXCHANGELABS/OU=EXCHANGE ADMINISTRATIVE GROUP
Organizer:       (FYDIBOHF23SPDLT)/CN=RECIPIENTS/CN=D2472C4806144DFD9705FD1 F89B8960B -GLENN NORRI>
                 on behalf of Glenn Norris <>
Location:        Teams Call
Start time:      5/6/2024 5:00:00 PM ((UTC-05:00) Eastern Time (US & Canada))
End time:        5/6/2024 5:30:00 PM ((UTC-05:00) Eastern Time (US & Canada))
All day event:   False
Reminder:        Not set
Category:        Nol set
Recurrence:      Not set
From:            Glenn Norris
Sent time:       05/06/2024 08:07:06 AM
To:              Glenn Norris; Jared Flax; Kimberly Kupka <kk@vintage-law.com>
Cc:              Kimberly Kupka <kk@vintagelaw.com>; Josh Beyer
Subject:         Call with Kim & Jared on Lease extract of "Change of Control" language




Microsoft Teams Need help?
Join the meeting now
Meeti ng ID: 258 423 768 787
Passcod e: 3ezG HS

Dial-in by phone
+ 1 469 -214-8508,,425578183# United States, Dallas
Find a local number
Phone conference ID: 425 578 183#
For organizers: Meeting options Reset dial- in PIN




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                 Glenn Norris </O=EXCHANGELABS/OU=EXCHANGE ADM INISTRATIVE GROUP
Organizer:       (FYDIBOHF23SPDLT)/CN=RECIPIENTS/CN=D2472C4806144DFD9705FD1F89B8960B-GLENN NORRI >
                 on behalf of Glenn Norris <>
Location:        Microsoft Teams Meeting
Start time:      5/9/2024 4:30:00 PM ((UTC-05:00) Eastern Time (US & Canada))
End time:        5/9/2024 5:00:00 PM ((UTC-05:00) Eastern Time (US & Canada ))
All day event:   False
Reminder:        Not set
Category:        Not set
Recurrence:      Not set
From:            Glenn Norris
Sent time:       05/08/2024 04:47 :56 PM
To:              Glenn Norris; Justin Drummond; Rich Hartman
Subject:         Meeting to fill in the ESG Questionairre
Attachments:     ESG Questionnaire (New Investment) (1).docx     Ohana ESG Questionnaire


See attached


Microsoft Teams Need help?

Join the meeting now
Meeting ID: 235 517 180 700
Passcode: u4tFNs

Dial-in by phone
+1 469-214 -8508.,385987000# United States, Dallas
Find a local number
Phone conference ID: 385 987 000#
For organ izers: Meeting options Reset dial -in PIN




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              Glenn Norris </O=EXCHANGELABS/OU=EXCHANGE ADMINISTRAT IVE GROUP
Organizer:    (FYDIBOHF23SPDLT)/CN=RECIPIENTS/CN=D2472C4806144DF09705FD1F89B8960B-GLENN NORRI>
              on behalf of Glenn Norris <>
Location:     Teams Call
Start time:    5/10/2024 4 :00:00 PM ((UTC-05:00) Eastern Time (US & Canada))
End time:      5/10/2024 4:30:00 PM ((UTC-05:00) Eastern Time (US & Canada))
All day event: False
Reminder:      Not set
Category:      Not set
Recurrence:    Not set
From:          Glenn Norris
Sent time:    05/09/2024 04:39:15 PM
To:            Glenn Norris: Matt Norris; Stacey Wittelsberger (88) <srector@bengurbryan.com>: Breyana Diggs
Cc:            Stacey Wittelsberger <srector@patriot-capital.com>
Subject:      Teams invite for DD Call today at Noon




Microsoft Teams Need help7
Join the meeting now
Meeting ID: 279 874 699 439
Passcode: f P2irx

Dial-in by phone
+ 1 469 21 4 -8508,.471729892# United States, Dallas
Find a local number
Phone conference ID: 47 1 729 892#
For organizers: Meeti nq options Reset dial-in PIN




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                 Glenn Norris </O=EXCHANGELABS/OU=EXCHANGE ADMINISTRATIVE GROUP
Organizer:       (FYDIBOHF23SPDLT)ICN=RECIPIENTSICN=D2472C48061 44DFD9705FD1F89B8960B-GLENN NORRI>
                 on behalf of Glenn Norris <>
Location:        Teams Call
Start time:      5/1 6/2024 1:30:00 PM ((UTC-05:00) Eastern Time (US & Canada))
End time:        5/16/2024 2:00:00 PM ((UTC-05:00) Eastern Time (US & Canada))
All day event:   False
Reminder:        Not set
Category:        Not set
Recurrence:      Not set
From:            Glenn Norris
Sent time:       05/15/2024 01 59:16 PM
To:              Glenn Norris: Stasia Thomas <athomas@tandllaw.com>
Cc:              Stacey Rector <srector@exeterstreetcapital.com>
Subject:         Ownership Ledger and Ownership Chart updated through the new LLC's




Microsoft Teams Need help?

Join the meeting now
Meeting ID: 269 107 304 146
Passcode: oNniWr

Dial-in by phone
+1 469-21 4-8508 .. 539838090# United States, Dallas
Find a local number
Phone con ference ID: 539 838 090#
For organizers: Meet ing opt ions Reset dial- in PIN




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Organizer:       Glenn Norris <glenn@ohanagp.com> on behalf of Glenn Norris <glenn@ohanagp.com>
Location:        Teams Call
Start time:      5/16/2024 2:00:00 PM ((UTC-05:00) Eastern Time (US & Canada))
End time:        5/16/2024 2 30:00 PM ((UTC-05:00) Eastern Time (US & Canada))
All day event:   False
Reminder:        Not set
Category:        Not set
Recu rrence:     Not set
From:            Glenn Norris <glenn@ohanagp.com>
Sent time:       05/16/2024 09:06:35 AM
To:              Justin Drummond; Ryan Brooks
Subject :        Due Diligence Prep call for 2PM meeting




Microsoft Teams Need help?


Join the meeting now
Meeting ID: 272 560 509 724
Passcode: pb8Kea




Dial in by phone
+ ·1 469 214 8508,. 694538448# United States, Dallas
Find a local number
Phone conference ID: 694 538 448#


For organ izers: Meeting options Reset dia l-in PIN




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               Glenn Norris </O=EXCHANGELABS/OU=EXCHANGE ADMINISTRATIVE GROUP
Organizer:     (FYDIBOHF23SPDLT)/CN=RECIPIENTS/CN=D2472C4806144DFD9705FD1 F89B8960B-GLENN NORRI>
               on behalf of Glenn Norris <>
Location:
Start time:    5/16/2024 8:30 00 PM ((UTC-05:00) Eastern Time (US & Canada))
End time:      5/16/2024 9:00:00 PM ((UTC-05:00) Eastern Time (US & Canada))
All day event: False
Reminder:      Not set
Category:      Not set
Recurrence:    Not set
From:          Glenn Norris
Sent time:     05/16/2024 11 :57:00 AM
To:            Glenn Norris
Subject:       Do Comp Template for Stacey
                                                                                   - - - - -- - - -




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                 Glenn Norris </O=EXCHANGELABS/OU=EXCHANGE ADM INISTRATIVE GROUP
Organizer:       (FYD IBOHF23SPDLT)/CN= RECIPI ENTS/CN=D24 72C4806144DFD9705FD1 F89889608-GLENN NORRI>
                 on behalf of Glenn Norris <>
Location:        Teams Call
Start time:      5/21/2024 6:00:00 PM ((UTC-05:00) Eastern Time (US & Canada))
End time:        5/21/2024 6:30:00 PM ((UTC-05:00) Eastern Time (US & Canada))
All day event:   False
Reminder:        Not set
Category:        Not set
Recurrence:      Not set
From:            Glenn Norris
Sent time:       05/21 /2024 09:07 37 AM
To:              Glenn Norris; Curtis Krawetz <ckrawetz@alarisequity.com>; Justin Drummond
Subject:   Call with Alaris-Curtis
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - -- -- - - --                            -   --




Microsoft Teams Need help?

Join the meeting now
Meeting ID: 284 349 069 005
Passcode: ix9EeC


Dial in by phone
+ 7 469-214-8508,. 974606876# United St ates, Dallas
Find a local number
Phone conference ID: 974 606 876#
For organ izers: Meeting options Reset dial -in PIN




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•   •
                         Glenn Norris </O=EXCHANGELABS/OU=EXCHANGE ADMINISTRATIVE GROUP
        Organizer:       (FYDIBOHF23SPDLT)/CN=RECIPI ENTS/CN=D2472C4806144DFD9705FD1 F89B8960B-GLENN NORRI>
                         on behalf of Glenn Norris <>
        Location:
        Start time:      5/22/2024 2:30:00 PM ((UTC-05:00) Eastern Time (US & Canada))
        End time:        5/22/2024 3:00:00 PM ((UTC-05:00) Eastern Time (US & Canada))
        All day event:   False
        Reminder:        Not set
        Category:        Not set
        Recurrence:      Not set
        From:            Glenn Norris
        Sent time:       05/22/2024 08:08:50 AM         !Charlie Chi lcoat
        To:              Glenn Norris
        Subject:         Brooks Chilcoat




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From:                         Butler, Holly Drumheller <hbutler@MilesStockbridge.com>
Sent time:                    06/05/2024 02:29:05 PM
To:                           Ryan Wagner
Subject:                      RE: Confirmation of Representation Status
Attachments:                  image006.png image007.png image001 .png
                                                                                             • · - - - - - --


      CAUTION: This email originated from outside the organization. Do not click links or open
      attachments unless you recognize the sender and know the content is safe.

Mr. Wagner, as I expressly stated below, if you have questions- whether about legal representation or
otherwise, I recommend you direct them to the company. I will not be responding further.


                Holly Drumheller Butler (She/Her/Hers) Pnnupal
                Miles & Stockbridge
                direct: +1 (410) 385-3829



From: Ryan Wagner <Ryan.Wagner@ohanagp.com>
Sent: Wednesday, June 5, 2024 2:24 PM
To: Butler, Holly Drumheller <hbutler@MilesStockbridge.com>
Subject: [EXTERNAL) Re: Confirmation of Representation Status



[EXTERNAL]

@Butler. Holly Drumheller

Good afternoon,
Thank you for your prompt reply. I understand and respect your position regarding client confidences.
However, I need to clarify whether you are still representing Ohana Growth Partners in this specific
matter. This information is crucial for ensuring that our communications and inquiries are properly
directed and addressed.
Could you please confirm if you are currently acting as the legal counsel for Ohana Growth Partners
regarding the ongoing investigation? If not, please advise to whom we should direct our future
correspondence.
Thank you for your cooperation and attention to this matter. I look forward to your prompt response.


This message may include text created with the help of natural language processing.


::j Book time to meet with me


  Ryan Wagner
  Vice President of IT
  Chana Growth Partners, LLC

                              office 410-252-8058 xl09
                              212 W. Padonia Rd
  OH~NA
      Growth P artner~        T1mon1um, MD 21093
                              www .planetfitness.com




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  "Culture eats strategy for breakfast"




From: Butler, Holly Drumhel ler <hbutler@ MilesStockbridge.com>
Sent: Wednesday, June 5, 2024 2:19 PM
To: Ryan Wagner <Ryan.Wagner@ohanagp.com >
Subject: RE: Confirmation of Representation Status



    CAUTION: This email originated from outside the organization. Do not click links or open
    attachments unless you recognize the sender and know the content is safe.

Good afternoon, Mr. Wagner. As you know, I conducted an independent investigation on behalf of
Ohana Growth Partners in connection with the concerns you identified. Out of respect for client
confidences, I do not divulge the names of my clients or the extent of my representation of them. If you
have questions, I recommend you direct them to the company.

Regards,
Holly

               Holly Drumheller Butler (She/ Her/ Hers)   Pnnc,pal
               M iles & Stockbridge
               direct: +1 (410) 385-3829



From: Ryan Wagner <Ryan.Wagner@ohanagp.com>
Sent: Wednesday, June 5, 2024 8:00 AM
To: Butler, Holly Drumheller <hbutler@MilesStockbridge.com>
Subject: [EXTERNAL] Re: Confirmation of Representation Status
Importance: High



[EXTERNAL]

@Butler, Holly Drumheller

I received your out of office message that sa id you would be returning on Monday June 3, 2024.

I am still awaiting a response to confirm your current standing and where to direct future
correspondence and inquiries.

Thank you for your attention to this matter. I appreciate your prompt response.


This message may include text created with the help of natural language processing.


~ Book time to meet with me




  Ryan Wagner
  Vice President of IT


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Ryan Dillon-Capps

From:                       Ryan Wagner
Sent:                       Thursday, June 6, 2024 5:14 PM
To:                         Justin Drummond; Rich Hartman; Karen Debus; Matt Norris; Stacey Wittelsberger
                            (ESC); C. Victor Brick; Lynne Brick B.S.N. M.A.; Terry Woods (Planet Fitness); Earl Ihle;
                            Glenn Norris
Subject:                    Request for Information Regarding Legal Representation

Importance:                 High



Aloha


I hope this message finds you well. I am writing to formally request information regarding the legal representation
retained by Ohana Growth Partners LLC concerning accounting irregularities, the unauthorized use of my name to
attest compliance documents, fabricated or altered emails/documents, or any matters related to my
employment.

Specifically, I would like to know the name and contact information of the attorneys or law firms representing the
company on any of these matters. This information is pertinent as I am seeking to engage in direct negotiations to
resolve these issues amicably and efficiently.

I believe that open communication can help us reach a mutually agreeable solution and prevent the need for more
formal proceedings. Therefore, I would appreciate your prompt response to this request.

Thank you for your cooperation.


This message may include text created with the help of natural language processing.


fJi Book time to meet with me
  Ryan Wagner
  Vice Pres ident of IT
  Ohan a Growth Partne rs, LLC
                              office 410- 252-8 0 58 x 109
                              2 12 W. Padonia Rd
  OH~NA
    Gro wth P a r t n ers
                              T1moni um, MD 2 1093


                               www .planetfit n ess.com


  "Culture eats strategy for breakfast"




                                                                        I of I


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   Ohana Growth Partners, LLC

                               office 410-252-6056 x 109

  OH ~ NA
    Growth Pa r tn e r !io
                               212 w. Padonia Rd
                               T1monium, MD 21093
                               www .planetfitness.com



   "Culture eats strategy for breakfast"




From: Ryan Wagner <Ryan.Wagner@ohanagp.com >
Sent: Saturday, June 1, 2024 6:16 PM
To: Butler, Holly Drumheller <hbutler@MilesStockbri dge.com >
Subject: Confirmation of Representation Status

@Butler, Holly Drumheller

I hope this message finds you well.

I am writing to inquire about your status regarding the representation of Ohana Growth Partners. We
previously had communication regarding the investigation, and I would like to confirm whether you are
still acting as the legal counsel for Ohana Growth Partners in this matter.

Could you please confirm your current standing and whether we should direct future correspondence
and inquiries to a different representative?

Thank you for your attention to this matter. I appreciate your prompt response.


This message may include text created wit h the help of natural la nguage processing.


::j, Book time to meet with me



   Ryan Wagner


  Vice President of IT
  Ohana Growth Partners, LLC


                              office 410 -25 2- 8056 x109
                              212 w . Padonia Rd
  OH ~ NA
    Grow th Pa rtner~
                              Timonium, MD 21093


                              www.planetfitness.com



  "Culture eats strategy for breakfast"




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              Glenn Norris </O=EXCHANGELABS/OU=EXCHANGE ADMINISTRATIVE GROUP
Organizer:    (FYDIBOHF23SPDLT)/CN=RECIPIENTS/CN=D24 72C4806144DFD9705FD1 F89B89608 -GLENN NORRI>
              on behalf of Glenn Norris <>
Location:     look for invite
Start time:   6/5/2024 2:00:00 PM ((UTC-05:00) Eastern Time (US & Canada))
End time:     6/5/2024 2:30:00 PM ((UTC-05:00) Eastern Time (US & Canada))
All day event: False
Reminder:      Not set
Category:      Not set
Recurrence:    Not set
From:         Glenn Norris
Sent time:    06/04/2024 06:23:06 PM
To:           Glenn Norris
Subject:      Call with Alaris-Curtis and Lincoln




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From:           Ryan Wagner <Ryan.Wagner@ohanagp.com> RDC Response to Hartman'::. Retaliation Email Below
Sent time:     06/05/2024 03:49:15 PM
To:            Rich Hartman
                Justin Drummond; Stacey Wittelsberger (ESC); C. Victor Brick; Lynne Brick B.S.N. M.A.; Terry Woods
Cc:
                (Planet Fitness); Eart Ihle; Glenn Norris; Karen Debus
Subject:        Re: Fraud Investigation
             ohanagrowthpartnersfinallogo_ 7fa8dba2 -2909-40ee-839a-12ba06da3de6.png          image.png    image.png
             image.png image.png image.png image.png Outlook-e3w0bgbd.png
Attachments:
             ohanagrowthpartnersfinallogo _7fa8dba2 -2909-40ee-839a-12ba06da3de6.png          Re: Conclusion of
             Investigation


@Rich Hartman

I hope this message finds you well. I am writing to express my concerns about the recent
investigation, as well as the investigation into the hostile workplace report filed in November
2023. I have attached my response to the conclusion of the investigation email sent in March
2024 for your reference.

To address the recent investigation, I would like to clarify the following points.

Hostile workplace Investigation:
      •    You stated that you had no knowledge of any prior events being reported, nor of any
          formal or informal reprimand or response.
      •    I provided you with the name of Shannon Anderson, who witnessed an event and
          reported it directly to Glenn



Your email indicates that the investigation covered two out of the three reported issues:
   1. Accounting Irregularities
   2. Frabricated/Altered emails and documents


The third issue was the unauthorized use of my name to attest compliance documents. This issue has
been the primary focus of my discussions with Glenn and Justin for months and was the topic Glenn
was arranging to discuss with a new attorney.



Unauthorized Use of My Name to Attest Compliance
Documents:
   •      Attached is a screenshot of the compliance document submitted for Wheaton.
   •      Another screenshot shows Andrew Dinh asking Geoff to confirm receipt.
   •      At no point did I authorize Andrew Dinh to use my name.




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Accounting Irregularities:
• After reporting the irregularities, Andrew Dinh was asked about missing invoices. Many
invoices were subsequently processed and paid. However, I am not aware of any steps taken
to ensure that these irregularities were confined to this period, nor any efforts to verify that
every job by Onsite Solutions has an associated invoice.
• Can you confirm whether we have accounted for every job with at least one corresponding
invoice relative to its cost? Accounting validated the accuracy of this report by processing and
paying the invoices provided by Andrew Dinh.




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Fabricated/Altered Emails and Documents:

• The original report highlighted two email threads concerning San Bruno.
• Has anyone contacted San Bruno to obtain a copy of the contract indicated as signed in
September 2020 in the first thread?
• Has there been any validation of the email chain sent on September 21 , 5:31 PM , which
followed the provision of the contract by Andrew 30 minutes earlier? This thread suggests they
already had a signed contract in September 2020, providing it to Kristen . If validated , this
email thread supports the hostile workplace claim.
• The request for a third-party investigator aimed to ensure the validation process was
conducted independently.


FIRST THREAD




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                                        398 El Camino Real                 San Bruno CityNet Services
         SA N BR UNO                   San Bruno. CA 94066            Application for Commercial Accou nts
         CityNet Services


 Cl TV Service             □ Internet Access         □ Dedicated Internet Bandwidth              D Telephone

 Account Activation Fee {Piea:;e call lot pricing and Service Levi~ls) Sorvice Dale Requested: (Mon. • Fri.J _ : _, _


                                        Payment Optlons: (Chock O ne)
  □ Credit Card . Auto Pay ( Deducted on ·tSth of each month)          D Credit Card by Pl1one
                                                                       Expi ratton Date
  0:Checking Account Auto Pay (Anach voided check• Deducted on 15th of each month)
  Cl Pay On-Line at www.SBCityNet.com                                  □ Check or Cash


                                                      Please Print

  Business Name      0
                         r G1cw1h P<1nners. LLC

  Contact Name      8 11
                     ' r,ax
                   - -  - - - - - - - - - - - - - - - - - - - - - - - - - - -- -- - -1
  Business Phone ( .: 10) 2
                          _:>_
                            - 2_-_B_
                                   0::i_-a_ _ _ _ _ _ _ _ __           Contact Phone (

                              c,11 :tax@pfgrw1h.com
  Con l acl E ma ii Add ress - - - - - - - - - - - - - - - - - - - - - - - - -- - - - - · -

  IT Contact _ 1\_n_d_rt:_
                       - ••_v_D_1n_h_ _ _ _ _ _ _ _ _ _ _ __           IT Phone ( a59) _ a_o_
                                                                                            6-_s_s2_0_ __ _

  Service Address        1150 Et Camino Real Uni: #209                                                San Bruno. CA

                    212 IN PiJdon,a Rd
  Bill To Address - - -- - -- - - - - -- -- - - - - - - - - - - - - -- - - - -

  City. State. Zip _ T1mon,um.
                     _ _ _ _MD  21093
                               __ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __



  FEIN _ _ _ _ _ _ _ _ _ _ __ _ _ _ _ _ _ _ _ or Business Licen se _ _ _ __
  Equipment lent or rented to subscriber must be returned upon d1sconneci io avoid equipment lees. R,;;mmance
  due by the 15th of e.ich month. Non-payment will resuli 1n disoonnection of all services.
             ,,,,,,1;_ .. ,..,,                                                    (/1)     ().J      _-ii_' {,•
  Signature ..,,,,...,,. _,.,a.,                                  Today's Date _ _ _ / _ _



                                                    Office Use Only

  Account#                            Accou nt Notes _ _ __

  Scheduled Install Date          _ _ _ ____ Signed Quote                 Y    NI A       Serviceability   Y


                 Phone (650) 616-3100              www.SBC ityNet.com                 Fax (650) 871-5526




SECOND THREAD




                                               Intro-Summary page I 02 of 161                                           EXHIBIT 100
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And here is the attachment




                             Intro-Summary page I03 of 161                    EXHlBlT 100
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IJ!\. SAN BRUNO                         398 El Ca mino Real
                                       San Bruno. CA 94066
                                                                          San Bruno CityNet Services
                                                                      Application for Comm ercial Accounts
~ Cit yNet Ser vices

  Cl TV Service          a Internet Access           Q Dedicated Internet Bandwidth                Q Telephone        I
  Account Aclivalion Foe (Please call f01 pncing and Service Levels) Servico Date Requesled: (Mon - Fro ) _   .'_ I _ ,


                                        Pa yment Option s: (Chock O no)
  □ Credit Card - /\uio Pa~• ( Deducted on 1St11 of each month)          □ Credit Card by Phone
   _ _ _ __ __ __ _ _ _ _ __ _ _ _ __                                    E.'<p1rauon Oaie _ _ _ _ _ __ __
  O Checking Accoum Auto Pay (Anach voided d1eck - Deducted on 15th of each month)
  O Pay On-Line at w,w,.SBC11yNet.com                                    a Check or Cash

                                                      Please Print

  Business Name _ __ _ _ _ _ _ _ _ _ _ __ __ _ _ _ _ _ _ _ _ __ __

  Contact Name _ _ _ __ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __ _ _ _ __

  Business Phone (                                                       Contact Phone (


  Contact Email Address - - - - - - - - - --                     -   -    - --      - - - - - - - -- - · -

  IT Contact                                                             IT Phone (

  Service Address _ _ __ _ __ _ __ _ _ _ _ _ _ _ _ _ __ _ _ _ San Bruno. CA

  Bill To Address _ _ _ _ _ _ _ __ _ _ _ _ _ _ _ _ _ _ _ __ _ _ __ _ _ __


  City. State. Zip - - - - - - - - - - - - - - - - - - - - - - - - - - - -- - -


  FEIN _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ or Business License _ _ __ _ __
  Equipment lent or rented to su bscriber must be returned upon disconnect to avoid equipment fees. Remmance
  due by the 15th of each month. Non-payment will result in disoonnect1on of all services.
  Signature _ _ _ _ _ _ __ _ _ _ _ _ _ _ _ Today's Date _ _                                    /
                                                                                                                      I
                                                    Office Uso Only

  ACCOUl)l t;                        Account Notes

  Scheduled Install Date                               Signed Quote       Y   NIA       Serv1ceabili1y   Y    \J:;1


                Phone (650) 616-3100              www.SBCityNet.com                   Fax (650) 871-5526




In light of these points, it is challenging to understand
how the investigations could conclude as they did , given
the substantial evidence suggesting otherwise.

I look forward to your response and a clarification of

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these matters.

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  Ry an Wagner
  Vice President of IT
  Ohana Growth Partners, LLC

                             office 410·252-8058 xl09

  OH ~ HA
    Grow1h Partn ers
                             212 w. Padonia Rd
                             T1mon1um, MD 21093
                             www .planetfitness.com



  " Culture eats strategy for breakfast"



From: Rich Hartman <Rich.Hartman@ohanagp.com>
Sent: Wednesday, June 5, 2024 2:29 PM             This is immediately after I loll> Butler sent a reply to
To: Ryan Wagner <Ryan.Wagner@ohanagp.com>         RDC. ,--\fter speaki ng,, ith I lanm.111.
Cc: Justin Drummond <Justin.Drummond@ohanagp.com> This is the response to ask111g to -.p~ak \\ ith OCJP
Subject: Fraud Investigation                                             attorney.

Ryan,
In December 21, 2023, you orally raised concerns to Justin Drummond relating to potential fraud ,
including possible fabrication or altering of documents; potential collusion with an outsid e vendor; and
possible insider trading within OGP. Subsequently, on January 3, 2024, you raised two additional
concerns to our legal counsel who was investigating: (1) irregular/inaccurate invoicing by vendor Onsite
Solutions, Inc.; and (2) the validity of Onsite as an entity, including the veracity of its leadership. Based
on a preponderance of the evidence standa rd (more likely than not) and the information reviewed,
including interviews and documents that you provided, the investigation concluded that the facts
uncovered in this investigation do not demonstrate that OGP, its management, or employees engaged
in any illegal conduct.

  Rich Hartman
  VP of People and Culture
  Ohana Growth Partners, LLC

                             office 410-252-8058 xl 14

  OH ~ HA
    Grow th Partners
                             2 12 W Padonia Rd
                             Timonium, MD 21093
                             www.planetfitness.com



  "Culture eats strategy for breakfast"




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                 Glenn Norris </O=EXCHANGELABS/OU=EXCHANGE ADMINISTRATIVE GROUP
Organizer:       (FYDIBOHF23SPDLT)/CN=RECIPIENTS/CN=D2472C4806144DFD9705FD1F89B8960B-GLENN NORRI>
                 on behalf of Glenn Norris <>
Locati on:       email
Start time:      6r7/2024 4:00:00 AM ((UTC-05:00) Eastern Time (US & Canada))
End time:        6/8/2024 4:00 00 AM ((UTC-05:00) Eastern Time (US & Canada))
All day event:   True
Reminder :       Not set
Categ ory:       Not set
Recurrence:      Occurs Every Friday effective 6/7/2024 to 7/5/2024
From:            Glenn Norris
Sent time:       06/07/2024 07:26:35 AM
To:              Glenn Norris
Subject :        email Brian Odonell on the Re-Fi update
--------------------------------···                                                    -   .




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                 Glenn Norris </O=EXCHANGELABS/OU=EXCHANGE ADMINISTRATIVE GROUP
Organizer:       (FYDIBOHF23SPDLT)/CN=RECIPIENTS/CN=D2472C4806144DFD9705FD1 F89B8960B -GLENN NORRI>
                 on behalf of Glenn Norris <>
Location:        Microsoft Teams Meeting
Start time:      6/11/2024 2:30:00 PM ((UTC-05:00) Eastern Time (US & Canada))
End time:        6/11 /2024 2:50:00 PM ((UTC-05:00) Eastern Time (US & Canada))
All day event:   False
Reminder:        Not set
Category:        Not set                    Alaris and Stc\'en Frcnkil -- This is the mcc1111g bd'o1 c
Recurrence:      Not set                    Glenn and Justin last spoke to RDC.
From:            Glenn Norris
Sent time:       06/1 0/2024 04:11:19 PM
                 Glenn Norris; Curtis Krawetz <ckrawetz@alarisequity.com>; Mike Ervin <mervin@alarisequity.com>; Rich
To:
                 Hartman; Steven D. Frenkil <sfrenkil@milesstockbridge.com>; Justin Drummond
Subject:         Alaris Teams Call




Microsoft Teams Need help?
Join the meeting now
Meeting ID: 286 690 623 862
Passcode: daDWvf

Dial in by phone
_... 7 469-21 4 -8508,.4052 19947# United States, Dallas
Find a local number
Phone conference ID: 405 219 947#
For organizers: Meeti ng options Reset dial-in PIN




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                 Glenn Norris </O=EXCHANGELABS/OU=EXCHANGE ADMINISTRATIVE GROUP
Organizer:       (FYD IBOHF23SPDLT)/CN=RECIPIENTS/CN=D24 72C4806144DFD9705FD 1F8988960B-GLENN NORRI>
                 on behalf of Glenn Norris <>
Location:
Start time:      6/11/2024 3:30:00 PM ((UTC-05:00) Eastern Time (US & Canada))
End time:        6/11/2024 4:00:00 PM ((UTC-05:00) Eastern Time (US & Canada))
All day event:   False
Reminder:        Not set
Category:        Not set
Recurrence:      Not set
From:            Glenn Norris
Sent time:       06/11 /2024 09:28:01 AM
To:              Glenn Norris
Subject:         Call with Andrew Dinh




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  Case 1:24-cv-03744-BAH                       Document 16               Filed 01/03/25   Page 109 of 160


From:        Ryan Wagner <Ryan.Wagner@ohanagp.com>
Sent time:   06/12/2024 05:10:25 PM
To:          Rich Hartman; Glenn Norris; C. Victor Brick; Justin Drummond
Cc:          Stacey Wittelsberger (ESC); Lynne Brick B.S.N. M.A.; Terry Woods (Planet Fitness); Earl Ihle
Subject:     Re: Time off for FMLA
             Outlook-jauuudss.png ohanagrowthpartnersfinallogo_ 7fa8dba2-2909-40ee-839a-12ba06da3de6.png
Attachments: Outlook-wqp0gkak.png     Outlook-bsftvmxz.png Outlook-1 zxk15zx.png Outlook-e5qekdp3.png
             ohanagrowthpartnersfinallogo_7fa8dba2-2909-40ee-839a-1 2ba06da3de6.png


@Rich Hartman @Glenn Norris @C. Victor Brick @Justin Drummond
I hope this message finds you well. I am writing to formally request information regarding the legal
representation retained by Ohana Growth Partners LLC concerning any and all matters that may
involve or pertain to me. This includes, but is not limited to, the following issues:

     •    Accounting irregularities
     •    Unauthorized use of my name to attest compliance documents
     •    Fabricated or altered emails/documents
     •    Any other matters related to my employment
     •    Any matters where I might be named or involved
Specifically, I would like to know the name and contact information of the attorneys or law firms
representing the company in these matters. This information is pertinent as I am seeking to engage in
direct negotiations to resolve these issues amicably and efficiently.

I believe that open communication can help us reach a mutually agreeable solution and prevent the
need for more formal proceedings. Therefore, I would appreciate your prompt response to this request.

Thank you for your cooperation.


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  Rya n W agner
  Vice President of I T
  Oha na Growth Partners, LLC

                             office 410-252-8058 x 109
  OH ~ NA
    Gro wth Partners
                             212 W. Padonia Rd
                             T1mon1um, MD 2 1093
                             www.planetfitness.com



  "Cu ltu re eats strateg y for break fa st"



From: Ryan Wagner <Ryan.W agner @ohanagp.com>
Sent: Wednesday, June 12, 2024 5:01 PM
To: Rich Hartman <Rich.Hartman @ohanagp.com>
Cc: Glenn Norris <glenn@ohanagp.com>; Justin Drummond <Justin.Drummond@ohanagp.com>; St acey
Wittelsberger (ESC) <srector@exet erst reet capital.com>; C. Vict or Brick <Vi ctor@ ohan agp.com>; Lynne Brick
B.S.N. M .A. <lynne@ohanagp.com>; Terry Woods (Plan et Fitness) <Terry.W oods@ohanagp.com >; Earl Ihle
<Earl.lhle@ohanagp.com>
Subject: Re: Time off for FMLA


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@R ich Hartman I appreciate your response, but I need to clarify some critical points regarding the
handling of my FMLA leave information.

FMLA Notice Requirements
According to the Family and Medical Leave Act (FMLA), employees must provide notice of the need for
FMLA leave as soon as practicable. Typically, this means within the same day or the next business day
of learning of the need for leave, when the need is unforeseeable.

    •  Legal Citation: 29 C. F.R. § 825.302(a) states, "When the need for leave is not foreseeable, an
       employee must provide notice to the employer as soon as practicable under the facts and
       circumstances of the particular case. It generally should be practicable for the employee to
       provide notice of the need for leave either the same day or the next business day."
Confidentiality and Policy Enforcement
I am concerned that my FMLA information was shared with individuals outside the necessary scope.
The company is obligated to maintain the confidentiality of FMLA-related information, similar to the
handling of medical records. Sharing this information with external parties can violate FMLA
confidentiality provisions.

    •       Legal Citation: 29 C.F.R. § 825.500(g) specifies that FMLA records must be maintained as
            confidential medical records and disclosed only to those with a need-to-know.
Additionally, I believe that the policies applied to my FMLA leave have been more rigid compa red to
other types of leave. This includes advanced notice requirements and the handling of intermittent leave.

    •       Legal Citation: 29 C.F.R. § 825.220(c) prohibits employers from discriminating against
            employees for taking FMLA leave and mandates that th e terms of FMLA leave should not be
            more stringent than other types of leave .
    •       Handbook Reference :
               o Sick Leave : "Full-time associates are eligible to receive up to 40 hours of paid sick leave
                   each year. Sick time must be taken during the year it is received" (PF Handbook 12-
                   2022, pg. 38).
               o Personal Leave : "Personal days must be scheduled at least two weeks in advance
                   whenever possible" (PF Handbook 12-2022, pg. 38).
Challenge to the Disclosure Justification
I would like to understand why it was necessary for the specific individuals, including those external to
our organization, to know about the details of my FMLA leave. Given that FMLA information is
considered confidential, it should only be shared with those who have a legitimate need to know to
manage the leave appropriately.

Request for Written Policy
To address the claim that there is no special policy for FM LA notification, I request a copy of the written
FMLA policy as it applies to all employees. This will help clarify if any special conditions were applied to
my case and ensure consistency with federal and state laws.

 Practical Notification Timing
For clarification, providing notice "as soon as practicable" typically means within the same or next
business day under the FMLA when the need for leave is not foreseeable. This standard applies unless
there are extenuating circumstances that prevent timely notification.

 Summary
        •   Confidentiality: Shari ng FMLA information with unauthorized individuals breaches FMLA
            confidentiality requirements.
        •   Policy Consistency: FMLA leave policies should not be more stringent than other leave
            policies.
        •   Challenge to Disclosure Justification : An explanation is needed as to why the specific


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          reci pients were deemed necessary to know about my FMLA leave.
     •    Request for Written Policy : A formal request for the written FMLA policy to ensure compliance
          and consistency.
Thank you for addressing these concerns. I look forward to your response and to receiving the
requested policy documentation.


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  Ryan Wagner
  Vice President of IT
  Chana Growth Partners, LLC

                              office 410-252-8058 x 109

  OH ~ NA
    Grow t h Partner s
                              2 i 2 W. Paoon1a Rd
                              T1rnon1um, MD 21093
                              www.planetfitness. com



  "Culture eats strategy for breakfast"



From: Rich Hartman <Rich.Hartman@ohanagp.com>
Sent: Wednesday, June 12, 2024 4:23 PM
To: Ryan Wagner <Ryan.Wagner@ohanagp.com>
Cc: Glenn Norris <glenn@ohanagp.com>; Justin Drummond <Justin.Drummond@ohanagp.com>; Stacey
Wittelsberger (ESC) <srector@exeterstreetcapital.com>; C. Victor Brick <Victor@ohanagp.com>; Lynne Brick
B.S.N. M.A.<lynne@ohanagp.com>; Terry Woods (Planet Fitness) <Terry.Woods@ohanagp.com>; Earl Ihle
<Earl.lhle@ohanagp.com>
Subject: Re: Time off for FMLA

See response below.


  Rich Hartman
  VP of People and Culture
  Ohana Growth Partners, LLC

                              office 410-252-8058 xl l4

  OH ~ NA
    Growth Partners
                              212 w. Padonia Rd
                              T1rnon1um, MD 2 1093
                              www.planetfitness.com



  " Culture eats strategy for breakfast"



From: Ryan Wagner <Ryan.Wagner@ohanagp.com>
Sent: Wednesday, June 12, 2024 4:07 PM
To: Rich Hartman <Rich.Hartman@ohanagp.com>
Cc: Glenn Norris <glenn@ohanagp.com>; Justin Drummond <Justin.Drummond@ohanagp.com>; Stacey



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Wittelsberger (ESC) <srector@exeterstreetcapital.com>; C. Victor Brick <Victor@ohanagp.com>; Lynne Brick
B.S.N. M.A.<lynne@ohanagp.com>; Terry Woods (Planet Fitness) <Terry.Woods@ohanagp.com>; Earl Ihle
<Earl.lhle@ohanagp.com>
Subject: Re: Time off for FMLA


@Rich Hartman I appreciate your response, but I need to clarify some critical points regarding the
handling of my FMLA leave information.

     1.    Confidentiality Breach: The email you sent to IT.Support and IT.Businesslntelligence, which
          included individuals from Cielo and other external parties, contained information about my
          FMLA leave. This disclosure is a violation of FMLA confidentiality requirements. According to 29
          C.F.R. § 825.500(g) , employers must maintain the confidentiality of FMLA records and treat
          them as medical records, which should be maintained separately from regular personnel files
          and disclosed only on a need-to-know basis. DISAGREE, NO BREACH

     2.    Non-Discrimination and Equal Treatment: Creating a special policy for my FMLA leave that is
          more restrictive than the standard leave policy for other employees is discriminatory. Under 29
          C.F.R. § 825.220(c), employers are prohibited from discriminating against employees for taking
          FMLA leave and must ensure that FMLA leave terms and conditions are not more stringent than
          those for other types of leave. The Maryland Healthy Working Families Act (Md. Code, Labor
          and Employment § 3-1306) also stipulates that employers cannot implement more restrictive
          policies for sick and safe leave than for other types of leave, ensuring equal treatment.
          DISAGREE. NO SPECIAL POLICY

     3.    Notification and Compliance: I provided notification the exact minute I became aware of the
          need to take leave, which aligns with the requirement under 29 C.F.R. § 825.302(d) that
          employees must provide notice of the need for FMLA leave as soon as practicable. Any
          accusation of untimely notification is, therefore, baseless. AGREE FOR INI r IAL
          NOTIFICATION, AND FMLA WAS GRANTED. YOU STILL HAVE THE RE.SPONSIBILITY TO
          NOTIFY THE COMPANY WHEN TAKING INTERMITTENT LEAVE AFTER THE INITIAL
          NOTIFICATION.

Requested Actions:
   1. Rectify Confidentiality Breach: Ensure that any future communication regarding my FMLA
      leave is strictly confined to those who need to know, such as HR personnel and direct
      supervisors, to comply with federal and state confidentiality requirements.

     2.   Apply Standard Policies: Apply the same FMLA policies to me as are applied to other
          employees, without additional restrictions or requirements, in accordance with federal and state
          non-discrimination laws.

     3.    Clarification of Policy: Provide the written policy explaining how FMLA leave is tracked and
          used against existing hours, ensuring it aligns with standard company policies and legal
          req uirements.

 I trust that we can resolve this matter promptly and in compliance with all relevant lega l standards.



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 ,:1 Rook 1I111~ 1t1 meet "ith me

   Rya n W agner
   V ice President of IT
   Ghana Growth Part ners, LLC


                                                Intro-Summary page I I 2 of 161                        EXHIBIT   100
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                         office 4 10- 2 52-8058 xl09

 OH ~ MA
   Growth Par t n e r~
                         2 12 W . Padonia Rd
                         T1mon 1um, MD 2109 3
                         www .planetfitness.com



  " Culture eats strategy for breakfast"



From: Rich Hartman <Rich.Hartman@ohanagp.com>
Sent: Wednesday, June 12, 2024 4:01 PM
To: Ryan Wagner <Ryan.Wagner@ohanagp.com>
Cc: Glenn Norris <glenn@ohanagp.com>; Justin Drummond <Justin.Dru mmond@ohanagp.com>; Stacey
Wittelsberger (ESC) <srector@exete rstreetcapita l.com>; C. Victor Brick <Victor@ohanagp.com>; Lynne Brick
B.S.N. M .A.<lynn e@ohanagp.com>; Terry Woods (Planet Fitness) <Terry.Woods@ohanagp.com>; Earl Ihle
<Earl.lhle@ohanagp.com>
Subject: Re: Time off for FMLA


Ryan,
I am not sure who is on those lists .... l was just responding to the email you sent. There was no
confidential information included in my response. We are not treating your FMLA request different.


  Rich Hartman
  VP of People a nd Culture
  Oha na Growth Partners, LLC

                         office 4 10-2 52- 8058 x 114

  OH ~ NA
   G r owth Partne r ~
                         212 w. Padon ia Rd
                         T1mon1um, MD 21093
                         www. planetficness. com



  " Culture eats strat egy for breakfast"



From: Ryan Wagner <Ryan.Wagner@ohanagp.com>
Sent: Wednesday, June 12, 2024 2:33 PM
To: Rich Hartman <Rich.Hartman@ohanagp.com>
Cc: Glenn Norris <glenn@ohanagp.com>; Justin Drummond <Justin .Drummond@ohanagp.com>; Stacey
Wittelsberger (ESC) <srector@exeterstreetcapital.com>; C. Vict or Brick <Vict or@ohanagp.com>; Lynne Brick
B.S.N. M.A.<lynne@ohanagp.com>; Terry Woods (Planet Fitness) <Terry.Woods@ohanagp.com>; Earl Ihle
<Earl.lhle@ohanagp.com>
Subject: Re: Time off for FMLA


@Rich Hartman Those email lists contain both internal and external recipients. While it is necessary for
them to know that I am taking FMLA leave, they do not need to be informed about how FMLA is being
applied to me differently than to others, nor do they need to see that my policy is more rigid compared
to policies for other types of leave.

Additionally, I provided notification the exact minute I became aware that I needed to take leave. This
makes any accusation of untimely notification baseless.

Legal Citations:


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Federal Law:
     4.    Family and Medical Leave Act (FMLA) , 29 U.S.C. § 2615(a)

                o    This section prohibits employers from interfering with, restraining, or denying the
                     exercise of or the attempt to exercise any right provided under the FMLA.
     5.    Family and Medical Leave Act (FMLA) Regulations, 29 C.F.R. § 825.500(9)

                o    This regulation requires that employers maintain the confidentiality of FMLA records and
                     treat them as medical records, which should be maintained separately from regular
                     personnel files and disclosed only on a need-to-know basis.
     6.    Family and Medical Leave Act (FMLA) Regulations, 29 C.F.R. § 825.220(c)

                o    This regulation prohibits employers from discriminating against employees for taking
                     FMLA leave and ensures that the terms and conditions of FMLA leave are not more
                     stringent than those for other types of leave.
     7.    Family and Medical Leave Act (FMLA) Regulations, 29 C.F.R. § 825.302(d)

             This regulation specifies that employees must provide notice of the need for FMLA leave
                o
             as soon as practicable, typically within the same or next business day of learning of the
             need for leave.
Maryland Law:
     1.    Maryland Healthy Working Families Act, Md. Code, Labor and Employment § 3-1305

                o    This state law requires that employers keep health information related to employee leave
                     confidential and prohibits the dissemination of such information except under specific
                     circumstances.
     2.    Maryland Healthy Working Families Act, Md. Code, Labor and Employment § 3-1306

                o    This law stipulates that employers cannot implement policies that are more restrictive for
                     sick and safe leave than for other types of leave, ensuring equal treatment.
     3.    Maryland Fair Employment Practices Act, Md. Code, State Government § 20-606

                o    This act prohibits discrimination in employment on the basis of an individual's use of
                     leave, ensuring that leave policies are applied uniformly without bias.
By failing to maintain the confidentiality of my FMLA leave details, revealing differential treatment in the
application of FMLA policies, and making my FMLA policy more rigid than those for other types of
leave, these actions may constitute violations of both federal and state laws regarding the
confidentiality, non-discriminatory application of leave policies, and equal treatment of leave policies.


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  Ryan Wagner
  Vice Pre side nt of IT
  Ohana Grow th Partners, LLC

                             off,ce 410- 252-8058 x109

  OH ~ NA
    G r o wth Partner s
                             212 w. Paconia Rd
                             T1mon1um , MD 2 1093
                             www.planetfitness.com



  "Culture eats strategy for breakfast"


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From: Rich Hartman <Rich.Hartman@ohanagp.com>
Sent: Wednesday, June 12, 2024 1:43 PM
To: Ryan Wagner <Ryan.Wagner@ohanagp.com>; IT.Support <IT.Support@ohanagp.com>;
IT.Businesslntelligence <IT.Bl@ohanagp.com>
Cc: Glenn Norris <glenn@ohanagp.com>; Justi n Drummond <Justin.Drummond@ohanagp.com>
Subject: Re: Time off for FMLA

As mentioned in my email to you on January 25, 2024 ,

"I want to reiterate the requirement that you provide advanced notice to Glenn and to me as soon as
you become aware of the need to take leave. Our regular working hours are normally an 8 hour window
between 7 am and 6 pm. If at any point during those regular working hours you realize that you are in
need ofleave, you can send an email, copying me and Glenn, simply stating that you are going to be
taking FMLA beginning at a particular day/time and that you anticipate returning to work at a particular
day/time."

FMLA hours are tracked by HR. Email Glenn and me the date and number of hours. Thank you


  Rich Hartman
  VP of People and Culture
  Ohana Growt h Partner s, LLC

                             office 410-252-8058 xll4

  OH ~ MA
    Gr o w th Pa rtners
                             212 W. Padonia Ra
                             T1mo111um, MD 2 1093
                             www .planetfitness.com



  "Culture eats strategy for breakfast"



From: Ryan Wagner <Ryan.Wagner @ohanagp.com>
Sent: Wednesday, June 12, 2024 7:00 AM
To: IT.Support <IT.Support@ohanagp.com>; Rich Hartman <Rich.Hartma n@ohanagp.com>;
IT.Businesslntelligence <IT.Bl@ohanagp.com>
Cc: Glenn Norris <glenn@ohanagp.com>; Justin Drummond <Justin.Drummond@ohanagp.com>
Subject: Time off for FMLA

@IT.Support @IT.Bl Just so you know, I am taking FMLA time for leave. Please al low for extra time if
you need anything from me. If there is a critica l issue involving security or other imminent risk. Contact
Darren. Darren will have additional instructions that will apply if necessary.

@Rich Hartman Please let me know how you want the time tracked . I assume the hours already
worked will apply directly to this week? pay period? Please provide me with the written policy
explaining how it is used against existing hours.


This message may include text created with the help of natural language processing.




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Ryan Wagner
Vice President of IT
Chana Growth Partners, LLC

                    office 410-252 -8058 x l 09
                    212 w. Paaon1a Ra
OH ~ MA
 Grow th Partners
                    T1monium, MD 21093
                    www.planetfitness.com



"Culture eats strategy for breakfast"




                                    Intro-Summary page 1 I6 of 16 I                    EXHIBIT 100
         Case 1:24-cv-03744-BAH                      Document 16             Filed 01/03/25             Page 117 of 160
                                                                                         E-FILED; Baltimore County Circuit Court
                                                                      Docket: 6/14/202412:18 PM; Submission: 6/14/202412:18 PM
IN THE CIRCUIT COURT FOR Baltimore County                                                                 ___                 Envelope: 16844353
                                                                                     (City/County)
                              CIVIL- NON-DOMESTIC CASE INFORMATION SHEET
                                                      DIRECTIONS
Plaintiff: This Information Report must be completed and attached to the complaint filed with the Clerk of Court unless your
case is exempted from the requirement by the C hief Justice of the Supreme Court of Maryland pursuant to Rule 2-11 I (a).
    Defendant: You must file an Information Rcpott as required by Ruic 2-323(h).
                              THIS INFORMATION REPORT CANNOT BE ACCEPTED AS A PLEADING
                                                                                                               l,-U-5- l,V-L'-!--UULL ,u.
 FORM FILED BY: ~ PLAINTIFF 0 DEFENDANT                                               CASE NUMBER
                                                                                                                       (Clerk to inseriT
 CASE NAME: Ohana Growth Partners, LLC                                         vs.        !{van Dillon-C.1!J?.PL
                                                                         -                                         Ddcndant
 PA   RTY 'S N   A
                     ME                  Plaintiff
                          : Dbana Gmwth Par.tners, LLC ___            -----       ------~ - PHONE:
 PARTY'S ADDRESS:                            - -               -
 PARTY'S E-MAIL:
 If represented by an attorney:
 PARTY 'S ATTORNEY ' S NAME:               Robert 13rcnnen (AJS# 87.12.9 I 0068)                     PHONE: 4 10-385-3653           -

 PARTY ' S ATTORNEY ' S ADDRESS:                   l'yliles & Stock!)ridgs:, I00 Ljght Strc~t Baltimore, rvt_D 2 12 102 - -· -               -·
 PARTY ' S ATTORNEY'S E-MAIL:                RBrcnncn@ milcsstockbridgc.com                              -·-
 JlJRY DEMAND'! 0 Yes ~ No
 RELATED CASE PENDING? 0 Yes il5I No If yes, Case #(s), if know n: . ·- -                    . ------ ·-       -~--- -- -- · - · • -
 ANTICIPATED LENGTH OF TRIAL?:                         hours I         days
                                                      PLEADING TYPE
 New Case:         ~ Original               0 Administrative Appeal         0 Appeal
 Existing Case: 0 Post-Judgment             O Amendment
 lf fi/i112 in an existin2 case, skio Case Category/ Subcategorv section - go to Reli ef section.
                          IF NEW CASE: CASE CATEGORY/SUBCATEGORY (Check one box.)
TORTS                             0 Government                 PUBLIC LAW                         0 Constructive Trust
0 Asbestos                         0 Insurance                          0 Attorney Grievance                   0 Contempt
0 Assau It and Battery             0 Product Liability                  0 Bond Forfeiture Remission            0 Deposition Notice
0 Business and Commercial                                               0 C iv il Rights                       0 Dist Ct Mtn Appea l
0 Conspiracy                        PROPERTY                            0 County/ Mncp l Code/Ord
                                   0 Adverse Possession                                                        0 Financial
0 Conversion                                                            0 Elect ion Law                        0 Grand Jury/Petit Jury
0 Defamation                       0 Breach of Lease                    0 Eminent Domain/Condemn.              0 Miscellaneous
0 False Arrest/Imprisonment        0 Detinue                            0 Environment                          0 Perpetuate
0 Fraud                            0 Distress/Distrain                  0 Error Coram Nobis                    Testimony/Evidence
0 Lead Paint - DOB or              0 Ejectment                          0 Habeas Corpus                        0 Prod. of Documents Req.
   Youngest Pit: _ _ _             0 Forcible Entry/Detainer            0 Mandamus                             0 Receiversh ip
0 Loss of Consortium               D Foreclosure                        0 Prisoner Rights                      0 Sentence Transfer
0 Malic ious Prosecution             0 Commercial                       0 Public Info. Act Records             0 Set Aside Deed
0 Malpractice-Medical                0 Residential                      0 Quarantine/Iso lation                0 Spec ial Adm. -Atty
0 Malpractice-Professional           0 Cu1Tency or Vehicle              0 Writ of Certiorari                   0 Subpoena Issue/Quash
0 Misrepresentation                  0 Deed of Trust                    EM PLOYMENT                            0 Trust Established
0 Moto r Tort                        0 Land Installments                                                       0 Trustee Substitution/Removal
                                                                        □ ADA
0 Neg ligence                        0 Lien                             0 Consp iracy                          0 Witness Appearance-Compel
0 Nuisance                           0 Mortgage                         0 EEO/HR
0 Premises Liability                 D Right of Redemption                                                     PEACE ORDER
                                     0 Statement Condo                  0 FLSA                                 0 Peace Order
0 Product Liability                                                     □ F MLA
0 Specific Performance             0 Forfe iture of Property i          0 Worker's Compensation                EQU ITY
0 Tox ic Tort                         Personal Item                                                            0 Declaratory Judgment
                                    D Fraudulent Conveyance             0 Wrongful Termination
0 Trespass                                                                                                     0 Equitab le Rel ief
                                    0 Landlord-Tenant                   lNDEPE~DENT                            ll5I Injuncti ve Reli ef
0 Wrongful Death                                                        PROCEEDINGS
                                    0 Lis Pendens                                                              D Mandam us •
CONTRACT                            0 Mechanic's Li en                  0 Assum ption o r Jurisdicti on
0 Asbestos                          0 Ownership                         0 Authorized Sale                      OTHER
0 Breach                            0 Partition/Sale in Lieu            0 Attorney Appointment                 0 Account ing
0 Business and Commercial           0 Quiet Title                       0 Body Attachment Issuance             0 Friendly Suit
0 Co nfessed Judgment               0 Rent Escrow                       0 Comm iss ion Issuance                0 Grantor in Possession
   (Cont 'd)
                                    0 Return o f Seized Property                                               0 Maryland Insurance
0 Construction                      0 Right of Redemption                                                          Administration
0 Debt                              0 Tenant Ho lding Over                                                     0 Miscellaneous
0 Fraud                                                                                                        0 Specific Transaction
                                                                                                               0 Structured Settlements
CC-DCM-002 ( Rev. 12/2022)                                          Page 1 of3

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                                    IF NEW OR EXISTING CASE: RELIEF (Check All that Apply)
0 Abatement                                    0 Earnings Withholding                            0 Judgment-Default                                           0 Reinstatemen t of Employment
0 Administrati ve Action                       0 Enrollment                                      0 Judgment-Interest                                          0 Retu rn of Propcrty
0 Appointment of Ret:eivt:r                    0 Ex pungement                                    0 Judgment-Summary                                           0 Sale o r Property
0 Arbitration                                  0 Financial Exploitation                          ~ Liability                                                  IB1 Sperific Performance
0 Asset Determination                          0 Findings of Fact                                0 Oral Examination                                           0 Writ-Error Coram Nob is
0 Attachment h/f Judgment                      0 Foreclosure                                     0 Order                                                      0 Writ- Exec ution
0 Cease & Desist Order                         ~ Inj unction                                     0 Ownership of Prop,my                                       0 Writ-(jamish Property
0 Condemn Bldg                                 0 Judgment-Affidavit                              0 Part ition of Property                                     0 Writ-Ga rnish Wages
0 Contempt -                                   0 Judgment-Attorncy 1-'ees                        0 l'eacc Order                                               0 Writ-1 labcas Corpus
0 Court Costs/Fees                             0 Judgment-Confessed                              0 Po. session                                                0 Writ-Mandamus
                                                                                                                                                               1
                                                                                                 7 •HI I'         Ill


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             directive to grant Global Admin 1ights to Mr. Leodore. Dillon-Capps claimed that Ohana ' s efforts

             to regain control of its own systems, MS 365 Account somehow amo unts to retaliation against

             Dillon-Capps for requesting family and medical leave. Attached as Exhibit B hereto is a trne and

             correct copy of the June 13, 2024 email exchange. Dillon-Capps fa iled to comply with the directive

             by 3 p.m . As a result Dillon-Capps continues to maintain and exercise exclusive administrative

             rights to the Ohana Microsoft 365 Account and administrative control of the Ohana GoDaddy

             Account.

                        13.         As of 2: 05 p.m. on June 13, 2024 I was unable to send or receive emai ls through

             my Ohana company emai l accoun t. At 5 p.m. on June 13, 2024 I attempted to log in to the Ohana

             Microsoft Teams account and was unable to do so. Gi ven that Dillon-Capps is the only person

             ctmently possessing Global Admin rights it is clear to me that Dillons-Capps used those rights to

             lock me out of Ohana ' s computer systems and email. My inability, caused by Dillon-Capps, to

             communicate with any of Ohana 's 1,472 emp loyees orto access any ofOhana' s personnel records

             has effectively rendered it impossible for me to perform in my critical role as Vice President of

             Human Resources for the company.

                         14.        At 8:45 p.m. on June 13, 2024, at the di rection of Ohana President Justin

             Drummond, I sent an email, to Dillon-Capps, using my personal email account, to which I attached

             a letter advising Dillon-Capps of the immediate suspension of his employment with Oha na. Dillon-

             Capps responded with an email stating that he did not recogn ize my authority as Vice President of

             Human Resources to suspend Dillon-Capps ' emp loyment, and falsely claimed that Dil lon-Capps

             was acting upon the authori ty ofOhana President Justin Drummond. Attached as Exhibit C hereto

              is a true and correct copy of that email exchange and a copy of the suspension notice letter that

              was attached to my email.



                                                                      4
              1194-17\000(I02\4859-0.>'J7-l 784.v I




                                                        Intro-Summary page 120 of 16 1                         EXHIB IT   100
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                                             OH ~ NA
                                                 Gr owth P a r t n ers



              Ohana Growth Partners , LLC
              212 w. Padon i a Rd .
              Ti monium , MD 21093

              June 13 , 2024


              Dear Ryan ,
              Effective immediately , June 13 , 202 4, you are susoended from your employment
              wl Lh Ohana Growth Partners un til furt he r no t ice . This is d ue to your
              insubordination and failure to comply with directives from superiors, described
              i n part to you in the email sent to you earl i e r today , and continuing since you
              r eceived the email. The suspension i s without pay. During t he suspension, you
              will continue t o have access to your medical benefi t s.

              During t h is period of suspension , you are rel ieved of all o f your d ut ies and
              a~e n ot authorized to wo r k on behal f of the company or have any elect ronic ,
              internet, phys ica l , or other access t o or connection with any company property
              or systems , including but not l imited to company IT systems and equi pment . I n
              addition, you are not authorized to enter any company facili t y .

              You will be notifie d in writing of any further changes .




              Sincerely ,


             /!:r),c,,~
              Rich Hartman
              VP of People and Cu lture




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                                                                                            48




1    to a n y of this.

2                        The facts ,        which are establis h ed in the

3    record that ' s already before t he Court ,                         and I don ' t

 4   think there ' s any dispute of it is,                          this concept that

 5   the -- a demand was made to,                     uh ,      the defe n dant o n

 6   J une 1 3th, an hour after he ' d asked for -- for FMLA

 7   leave ,   uh ,    nnd we ' re forcing him to work ,                    ignores the

 8   fact that he's been asked to do this going to at

 9   least May 20th ,         when he terminated the only - - the

10   on ly other admin access ,               uh ,    for the - -        the

11   consultant Ryan Brooks from ,                    e rm ,     Bal timore

12   Consulting .

13                        So this was not th e first time he ' d bee n

14   asked ,   uh ,    this was multip le t imes he ' d been asked .

15   There ' s no dispute abo u t              that.

16                        So the -- the concept that -- that the

17   quest io n,      erm ,   directive from,             e rm , vario us ,     uh,

18   members of senior management at Ohana to the

19   defendant ,       uh,    is i n retaliation for h is reque st on

20   J une 13 th to take additional leave is completely ba se

21   less .

22                        MR . DILLON -C APPS :              Hmm,    I   can respond to

23   all of tho se wit h details ,                 and I ca n provide evidence

24   in - -

25                        THE COURT:           Sir,      I gave yo u your chance

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                                                                                           56




 1   you right now ,      that the Court disagrees .

 2                     The Co ur t     has jurisdiction over the

 3   Stat e court claims .          Th e case hasn ' t ,            I ' m no t    sure

 4   that th e -- i t ' s not brought under federa l                       law .

 5                     MR . DILLON - CAPPS:             Okay.

 6                     THE COURT:          So even if -- even if there

 7   were -- hold on .          Even if there were feder0l

 8   defenses,      I ' m not sure the case is removable                         ' cause

 9   it doesn ' t   -- the complaint doesn ' t,                 on its face

10   s t ate any fede r al cl aim ,        it h as n ' t     be e n removed to

11   federal co urt.

12                     The Court has jurisd ict ion over the

13   claim,    so that ' s not an argument ,                I ' m just tel l i ng

14   you right n ow .

15                     Erm ,    and I ha ven ' t heard ,             as far as any

16   family law leave issu e ,           if you contend that they're

17   violating the law ,         and I ' m n ot sure I eve n need to

18   h e ar about that,        but if t h ey d i d,         th en if yo u have a

19   federal claim , assuming th ey ' re v io l ati ng t he law ,

20   I'm making no s uch finding ,               fi ne,     you can pursu e that

21   claim either administratively or -- or by law .

22                    You can go down to f edera l                    court and

23   file a -- a ,     if th e re is such a private cause of

24   action for violat i on of the FLMA ( sic ),                      you can do

25   that ,   t hat ' s not a defense to the ,               uh ,    clai ms here ,

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ryan@Jmxt3.com

From:              Ryan Wagner <ryan@mxt3.com>
Sent:              Tuesday, June 18, 2024 5:30 PM
To:                Brennen, Robert S.
Subject:           Re: [EXTERNAL] Notification of Service for Case: C-03-CV-24-002264, Ohana Growth
                   Partners, LLC vs. Ryan Dillon-Capps for filing Writ/Summons/Pleading - Electronic
                   Service, Envelope Number: 16870699



I am writing to confirm that the share link to the encrypted envelope and file should have been received.
The password has been texted to you separately for security purposes.

In my haste, I did not request a copy of my submission from the clerk. It was signed, and today's chamber
judge was named. Due to the urgency of the situation, I was rushing, but assuming everything was
printed correctly, the attachment should be what the judge has. I apologize for any delay. Earlier in the
week, I informed Justin and Glenn that I could no longer sustain the current situation and required
assistance. Glenn mentioned what I assume to be Hartman Executive Advisors. My recent email to Mr.
Leadore reiterates my openness to support.

I should clarify that the plaintiffs are not technical experts, and their response to my concerns has
consistently been, "I disagree." Throughout this process, I have provided numerous options and
proactively suggested solutions to maintain PCI compliance while accommodating their requests. My
current state is barely functional, and my wife, a licensed therapist with extensive trauma counseling
experience, is primarily taking care of me. I have been in and out of a non-functional state for days now,
and leading up to this, I have repeatedly requested contact information from their attorney. When I asked
Holly Butler, her instruction was that I go through Ohan a, which is confusing given that you are all part of
the same law firm. They have refused to provide me with your information, and I had to obtain it from the
filing.

There have been two formal written requests for your information because I want this to end. They
persist, and when not targeting me, they go after Darren, Ann, and the help desk. Ann requested time off
for mental health reasons yesterday. When I inquired about her well-being, she disclosed that she had
experienced a panic attack but did not recognize it until she saw a doctor.

On Thursday, I sent emails about Rich's actions against Darren, spoke with Victor and Lynne, and had a
lengthy text chain with Justin. At no point did anyone say I was suspended, and I believed Rich wa s
dangerous for hours. I sent my wife away, I sent Ann home, and I reached out to two senior directors for
backup before someone responded to me. I would greatly appreciate anything you could do to help us
negotiate an end to this. The only condition that is not acceptable is that anyone is left unprotected, and
in the last 30 days alone, it has been clearly documented in writing that they are also targeting Ann,
Darren, and Cielo. There are more examples stretching back even further for all of us.

Thank you for your attention to this matter. I am doing the best I can, and technically, since I said I would
tell them when I was back, my FMLA leave is still active. If they believe something else to be true, please
inform them that as a result of the escalated hostility, I will be on FMLA leave until further notice. The

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statement about there being no other administrators is incorrect. LeeAnn continues to hold the role of
Billing Administrator, and the support team continues to hold the privileged role of User Administrator.
Since Darren was removed, there have been some gaps in Azure administration. I would like to provide
this access to Dante Martinez, who is the Help Desk Manager. The gap in understanding what the Global
Administrator role does underscores how their statements do not qualify as expert testimony.

Thank you for your attention to this matter.




with gratitude and appreciation,

RDC



On Tue, Jun 18, 2024 at 1:41 PM Ryan Wagner <ryan@mxt3.com> wrote:
 I am in my car, and I definitly can give you the letter. I do not know the proceedure for the rest of it.

 I would have sent it you soon sooner, but I have been non-functioning for most of the time since the
 suspension. I do not think you would have filed the case at all if you had been given even the full emails
 where the make coercive threats and supporting emails and texts. For example, the cease and desist
 was because I had been on FMLA leave time for less than 2 hours before the 6hour demand letter to
 work or else. I cant think of a reason to not give it to you because it was supposed to be our filing against
 multiple people at Ohana in our own TRO, preliminary injunction, and Peace Order along with other
 documents supporting what we are requesting.

 Please give me a moment to stop shaking and get to a computer

 On Tue, Jun 18, 2024, 1:30 PM Brennen, Robert S.<RBRENNEN@mj lesstockbrjdge.com> wrote:

  Are you going to send me a copy of what you presented to the Court?




    Robert Brennen Pr,nc,oo,
    Miles & Stockbridge
    direct : +1 (410) 385-3653




  From: Ryan Wagner <ryan@mxt3.com>
  Sent: Tuesday, June 18, 2024 1:26 PM
  To: Brennen, Robert S. <RBRENNEN@MilesStockbridge.com>
  Subject: Re: [EXTERNAL] Notification of Service for Case: C-03-CV-24-002264, Ohana Growth Partners, LLC vs. Ryan
  Dillon-Capps for filing Writ/Summons/Pleading - Electronic Service, Envelope Number: 16870699




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[EXTERNAL]

    -------------------- - ----------·-- · -
I just left the courthouse after providing a letter to the clerk for the chambers judge. My lawyer has
a death in the family and is at a preschedules conference next week and we are looking for another
attorney who can received to this urgency issue. The judge also received documentation showing the
suspension was illegal and the TRO is asking me to something illegal.




Please allow time for the judge to review.




On Tu e, Jun 18, 2024, 1:12 PM Brennen, Robert S.<RBRENNEN@milesstockbridge.com> wrote:

 As neither I nor Mr. Leadore have received the passwords as contemplated below we will be moving forward
 with contempt proceedings.




   Robert Brennen °- i• c,aa,
   Miles & Stockbridge
   direct: +1 (410) 385-3653




 From: Brennen, Robert S.
 Sent: Tuesday, June 18, 2024 8:39 AM
 To: Ryan Wagner <ryan@mxt3.com>
 Cc: Frenkil, Steven D.<sfren kil@MilesSt ockbridge.com>; Hoffberger, Victoria (Tory)
 <vhoffberge r@milesstockbridge.com>
 Subject: FW: [EXTERNAL] Notification of Service for Case: C-03-CV-24-002264, Ohana Growth Partners, LLC vs. Ryan
 Dillon-Capps for filing Writ/Summons/Pleading - Electronic Service, Envelope Number: 16870699
 Importance: High




 Per the attached, a hearing on Ohana Growth Partners, LLC's Motion for Preliminary Injunctio n is set for next
 Wednesday, June 26, 2024 from 9 to 11 a.m.




 While Ohan a is certain that you are abundantly familiar with the actions necessary to bring you into compliance
 with the Temporary Restraining Order entered yesterday, here are the steps that you should take:




      1. Create an account in Ohana's Microsoft 365 tena nt, pleadore@ohanag~. Add the account into the
         Global Administrators group and send the password to pleadore@hartm anadvisors.com via a secure

                                                      :, of 6


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       email. If you do not have access to send a secure email, you should send the password to me via text at
       443-956-6458.
   2 . Provide pleadore@ohanagp.com with owner level rights to all Azure subscription plans.
   3 . Provide the root level administrator account password in Go Daddy to ple..a.dill:e_@h_ar::tmana.cbli_sQ[s._cQID
       via a secure email. If you do not have access to send a secure email, you should send the password to
       me via text at 443-956-6458. You should remove all multi-factor authentication apps, phone numbers ,
       and/or email addresses associated with the root account.
   4. Once accounts have been created in Ohana's Microsoft 365 tenant and the root level password
       provided for the GoDaddy account, refrain from accessing or making configuration chan ges to their
       Microsoft 365 and GoDaddy accounts.




You should take all the above actions this morning so that you are in compliance with the Temporary
Restraining Order by 12 p.m. today. If you fail to do so Ohana will have no choice but to fi le additional papers
with the Court seeking to have you held in contempt of the Order and will ask that the Court take up the issue of
contempt during the hearing on June 26"'.




As stated in my June 14, 2024 email, Ohana is open to a negotiated resolution to the claims it has
asserted in its Complaint and any claims that you believe you may have, but will not entertain any
discussions until you are in compliance with the Temporary Restraining Order. If you bring yourself
into compliance and are interested in discussing a resolution, it is possible that the matter could be
resolved in advance of the June 26111 hearing




I look forward to receiving confirmation of your compliance.




  Robert Brennen    Pnn;:;pa•
  Miles & Stockbridge
  direct: +l (410) 385-3653




From: no-reply@efi lingmail.tylertech.cl oud <no-reply@efilingmail.t ylertech.cloud>
Sent: Monday, June 17, 2024 3:42 PM
To: Brennen, Robert S. <RBRENN EN @Mil esStockbridge.com>
Subject: [EXTERNAL] Notification of Service for Case: C-03-CV-24-002264, Ohana Growth Partners, LLC vs. Ryan
Dillon-Capps for filing Writ/Summons/Pleading - Electronic Service, Envelope Number: 16870699




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[EXTERNAL]

                                            --         --- -------


                                                                                  Notification of Service
                                                                                               Case Number: C-03-CV-24-002264
                                                                                      Case Style: Ohana Growth Partners, LLC vs.
                                                                                                              Ryan Dillon-Capps
                                                                                                    Envelope Number: 16870699

This is a notification of service for the filing listed. Please click the link below to retrieve the
submitted document.


~




Case                          C-03-CV-24-002264
~  - -Number
       - - - - - - - - - - 1 - - - - - - - - - - - - - - - - - - - - - - - - - - - ·•· - _________.....;
Case Style                    Ohana Growth Partners, LLC vs. Ryan Dillon-Capps _________ J
Date/Time Submitted          j6/17 /2024 3:41 PM EST
                                                                                                       I
                                                                                                                                                            J
Filing Type                  !Writ/Summons/Pleading - Electronic Service                       ____.)


~
 Filing Description                            !Hearing Notice                                                                            __ _J
 Filed By                                       K S1                                                               -- .. - ---       ----
                                                Ohana Growth Partners, LLC:

                                                Robert Brennen (rbrennen@milesstockbridge.com)

 Service Contacts                               Steven Frenkil (sfrenkil@milesstockbridge.com)

                                                Victoria Klein (vklein@milesstockbridge.com)

                                                Kim Edwards (kjedwards@milesstockbridge.com ) ·-                                     -- ________ _)




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ryan@rnxt3.com

From:             Ryan Wagner <ryan@mxt3.com>
Sent:             Tuesday, June 25, 2024 10:21 PM
To:               rosario.ivette@dol.gov
Subject:          Ryan Dillon -Capps - FMLA Complaint



Employer:
Ohana Growtth Partners LLC
212 W Padonia Rd
Timonium MD 21093
410-252-8058

Petitioner for Complaint:
Ryan Dillon-Capps
1334 Maple Ave.
Essex MD. 21221
703-303-1113


I apologize for the delay in responding to you. After ou r phone conversation, I experienced a panic attack
that lasted several hours. My wife and I have organized all documents containing the word "FMLA" up to
June 11th, and I have added documents from th e 12th and 13th. I am using this email t o send you the
compiled information. Please note that this is not a complete record of all relevant items; it is limited t o
emai ls containing the word "FMLA" in my mailbox.

I have been verbally and in writing informed of my approva l for FMLA, but I have not received the official
acceptance form. Additionally, Darren Koritzka, my IT Coordinator, never received his FM LA-approved
documentation from a few years prior, and there is no record of it in the HRIS system, Paycom. In 2023,
during a meeting with Rich Hartman, Karen Debus mentioned that there was no record of Darren
Koritzka's FMLA in the system. Rich attributed this to a former HR team member's failure to handle the
paperwork properly. Although I recall working with Rich Hartman and a different HR team m ember, the
one Rich referenced might have sent the paperwork to Darren, but I am unsure of their involvement in the
process. There are additional emails supporting Darren's FMLA due to health issues with his mother.

Despite operating nearly 1500 employees across 80 Planet Fitness gyms in five states (MD, TN, FL, WA,
CA) and th e District of Columbia, the HR department appears unfamiliar with FMLA regulations. In 2024,
several training sessions were held, in cluding those focused on FMLA, discrimination, retaliation, and
ADA issues. My work-from-home arrangement is an ADA accommodation, though it seem s the HR
department might be conflatin g it with FMLA.

On June 10th, I had a phone conversation with Glenn and Justin, expressing that I couldn't continue
enduring the harassment and retaliation without risking hospitalization. I requested t o speak to their
lawyer, this being the only verbal request that was in conjunction with multiple written requ ests,
emphasizing that further retaliation was unacceptable. On June 12th, I requested intermittent use of my

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FMLA, but Glenn Norris and Rich Hartman violated it by disclosing personal information internally and
externally and demanding that I work, which I had complained about previously. Despite complying on
June 12th, I was met with a six-hour work demand on June 13th after notifying them again at 7 am t hat I
needed to use my FMLA time. I responded with a cease and desist letter at noon.

A follow-up email to the owners was sent out at 2:05 pm. At 12:20 pm, Rich Hartman handed Darren
Koritzka a signed letter placing him on a leave of absence, describing it as "like a paid vacation."
Concerned for my team's safety due to Rich's erratic behavior, I reached out to Justin Drummond and
Victor and left that conversation believing Justin would resolve the issue. However, around 8:45 pm, Rich
emailed me a suspension letter, which I contested, asking Justin to intervene. Justin later emailed me,
noticing that this was now a sanctioned suspension, followed by Ohana Growt h Partners filing a civil
case with a TRO and Preliminary Injunction against me the next day. After I had notified that Justin I was
going to file a Peace order when Rich emailed me the suspension letter.

Due to fear, my wife and I stayed at hotels over the weekend. On Monday, I was served the TRO after the
trial had already occurred, and despite being told I was suspended and not to use the system, they
notified me through my work email. Complicating matters, the first three lawyers I contacted weeks in
advance had conflicts of interest. I started working with a fourth attorney earlier that week but they were
unavailable to respond quickly to the TRO and Preliminary Injunction due to bereavement and a pre-
scheduled conference, leading them to withdraw their assistance and refund my payment. On Monday
night, I contacted their attorney, requesting information and asking them to use my personal email. I
received the TRO details that evening at around 1O pm. The following morning I found an email sent at 9
with less than 90 minutes to comply before they would file a contempt charge on me.

In the next 12 hours, I plan to draft as many motions as possible, aiming t oe-file them before 9 am and
deliver them to opposing counsel. This is being done prose while my PTSD severely limits my ability to
function for extended periods. On Monday night, after the email exchange with their attorneys, my wife
found me in a confused state under a table. My FMLA is for PTSD with Agoraphobia , typically presenting
minimally, but recent events have exacerbated my condition.

Thanks to extensive therapy and my service dog, I have been able to function w ithout significant issues
since 2019, allowing me to confidently apply for the position with Ohana. However, severa l triggering
events in 2023 led me to take time off in December and file for FMLA on January 4, 2024. My experience
has been plagued with violations and retaliation , with more examples in emails not explicitly mentioning
FMLA. I can provide a copy of my emails backed up in PST format or through the eDiscovery system.

During my absence from my wedding, security systems were modified, and some were reactivated just
before my return . When I removed the vendor managing the M365 and Azure environment on May 20, I
found significant security lapses, including the removal of auditing and advanced logging, as well as level
2 security locks on backups. I believe I prevented further damage by pure luck. One eDiscovery hold was
removed from almost everyone, possibly due to a lack of awareness about other hold s th ey appear to
have not don e anything against the other legal holds I had in place. When a critical issue with our
database log drives was reported, Glenn Norris blocked scheduled maintenance to protect t he data,
which included financial information. However, he approved a different less urgent maintenance not
involving the d atabases only a few days later.

If my suspension is not related to FMLA, it may be linked to this issue, as the rescheduled m aintenance
date was June 13, 2024. Glenn has never asked what the maintenance is. Th e only thing he knows is that
                                                     2 of 3

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it is to safeguard the databases. Either way, my FMLA leave was necessary, as indicated to Glenn and
Justin on the 10th, when I told them about my current state of mental health, and their actions on June
12th and 13th prevented me from resting.

I believe their intent was to apply so much pressure that I would end up in the hospital. Rich Hartman's
response to the cease and desist at noon and the follow-up to the owners at 2:05 pm was impulsive,
leading him to retaliate against Darren within 15 minutes of reading the email. Th is was done without
proper procedure, as the supervisor typically writes and signs such letters. Justin Drummond's affidavit
supports the timeline, indicating that Rich could not access his account as of 5 pm, contradicting Rich's
affidavit, which also commits the 2:05 pm email. I believe Rich Hartman, who is the brother-in-law of the
CEO and majority owner, was sanctioned between 5 pm and the time Justin emailed me after 9 pm as an
attempt to justify Rich 's actions earlier that day. The case never mentioned Darren.

I am aware this email serves as a complaint, but not acceptance of said complaint


!ITT
0 All Emails Search FMLA.zi
                              @'

Thank you for your attention to this matter.

With gratitude and appreciation,
RDC




                                                    3 of 3


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Subject: Re: [EXTERNAL) REdwards, Kimale J. <kjedwards@MilesStockbridge.com>equest for Copy of Transcript
From: "Brennen, Robert S." <RBRENNEN@MilesStockbridge.com>
To: "ryan@mxt3.com" <ryan@mxt3.com>
Cc: "Edwards, Kimale J." <kjedwards@MilesStockbridge.com>
Date Sent: Tuesday, July 2, 2024 4:56:43 PM GMT-04:00
Date Received: Tuesday, July 2, 2024 4:56:54 PM GMT-04:00

The filings also show that you now owe Ohana $ 12,500 in fines. Have you paid any ofthat0

I think I can get authority to provide the transcript that Ohana paid for if you provide me the password for
administrative control of Ohana 's GoDaddy account, which Ohana also paid for.

Sent from my iPhone


On Jul 2, 2024, at 16: 18, Ryan Wagner <ryan@mxt3.com> wrote:



[EXTERNAL)


Thank you for the 27th. 1show in the filings that there is one for the 26th. Do you have the one from the
26th?

On Mon, Jul I , 2024 at 8:27 AM Brennen, Robert S. <RBREN NEN@milesstockbrid g ~> wrote:

  As you requesrcd.
                                                      jCourt Transcript!


                      Robert Brennen Drir1tij•a/
                      Miles & Stockbridge
                      direct : +1 (410) 385-3653




  From: Ryan Wagner <n~an@mxt3.com >
  Sent: Friday, June 28, 2024 4:17 PM
  To: Brennen, Robert S.< RBRENNEN@Mil esStockbridge.com >; Edwards, Kimale J.
  <kjedwards@Mi lesStockbridge .com>
  Subject: [EXTERNAL] Request for Copy of Transcript




  [EXTERNAL]



  .@Brennen, Robert S .@ Edwards, Kimale ,I My wife said you asked for a transcript during court
  yesterday. Do you have a transcript of any of the last two hearings? Could you email them to me0



  -RDC
                                                               I II •)-
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a form at which complies with IRS rules and may be relied upon to avoid penalties.



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                                    Case 1:24-cv-03744-BAH                                                                        Document 16                                           Filed 01/03/25                                           Page 134 of 160

Subject: Ohana Growth Partners. LLC v Ryan Dillon-Capps. Possible palh 10 ending contempl
From: "Brennen, Roberts.· <RBRENNEN@M1lesSIOCKbndge com>
To, Ryan Wagner <ryan@mxl3.com>                             , - - - - - - - - - - - - - - - - - - - - - - - - - - - - -- - - - - - - -- - - - - - - - - ,
OateSent:Monday,July8, 20247:22:49AMGMT-04:00                                                                        Daniel Levitt Affidavit was Filed on July 3rd -- The Help Desk has
Date Received: Monday. July 8. 2024 7:23:02 AM GMT-04:00
                                                                                                                     access and everyone knows this on July 8
Good morning.
                                                                                                                                                                                                                                       111
A$ of :! p.m. )'l!Stcrdny you have accrued $25.000 in fines as a rcsull nf your continuing contempt of the Court·!> June 27                                                                                                                  Prelim inary Inj unctio n.

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viola1ion of the Cour1 ·, orders.

Ro bert Brennen

100 Light St1eel ~1tin1ore. MO 21202
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  They will repeat multiple times in the filings that Microsoft provided access, and every one is perjury.

Subject: Ohana Growth Partners. LLC v. Ryan Dillon-Capps
From: "Brennen, Roberts.· <RBRENNEN@MilesStockbndge_com>
To Ryan Wagner <ryan@mxt3 com>
Cc: "Hoffberger. Victoria (Tory)" <vhoffberger@m1lesstockbndge com>. "Frenk,I, Sleven D " <sfrenkil@M1lesStockbndge com>
Date Sent: Monday, July 15, 2024 9:10:33 AM GMT-04:00
Date Received: Monday, July 15, 2024 9· 10-53 AM GMT-04 ·OO

Notwithstanding your continued contempt ofCuurt and failure to com ply with the Court's Prclimin,H)' lnjunctiun, Ohana has succ~>eded in regaining Global Aclmin rights
in its Microsoft 365 tenant and has disabled acccss~ ia you~ ount. the l\ull account and the Breakglass account.

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control of that account and thus subject to daily lines nf $2_500 I\\'hich. a, o t yc stcrday afternoon. ,1111uunt to S42.500_00)- II' y,1t1 transfer that contwl today. Ohana "ill
agree that your contempt of Court ha!\ ~11ded. ~t11.:h that 110 fun h~r line~ will accruc. :ind Oh:111a \\ill witht.lrnw it:-. pl!nJing motion 10 ha\'c you placed in jail until you
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Robert Brennen
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Subject: Ohana v Dillon-Capps
From: "Brennen, Roberts: <RBRENNEN@M1lesS1ocKbridge com>
To "ryan@mxl3.com· <ryan@mxl3 com>
Date Sent: Wednesday, July 17, 2024 6.32:48 AM GMT-04·00
Date Received· Wednesday, July 17. 2024 6 32·58 AM GMT-04 00


Between 8 and 8:30 thi s morning you will receive a text message from GoDaddy in connection w ith ano ther attempt to reset the password on the Ohana GoDadcly account. The text w ill c
Sent from my iPhone




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                                 We

         Glenn Norris
         Ryan, I am texting you right now to get a code to get
         our GoDaddy account activated. Can you send me that
         code?

         Thank you, Glenn
                                                                       12:47 PM




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Case 1:24-cv-03744-BAH       Document 16           Filed 01/03/25        Page 138 of 160

                       -    1uesday, Jur 18. 20::'4


             Ryan Dillon-Capps
             Follow up to the email. I gave the circuit court clerk a
             letter for the Judge. My former attorney is unavailable
             to respond this quickly and we need to find a new
             one. The judge also received documents showing the
             suspension was illegal and the TRO asks me to do
             something illegal.

             Please allow time for the Judge to respond.
                                                                           1 :29 PM

                                                                                      ll
             Ryan Dillon-Capps                                                         .I
             Mr Leadore has been unresponsive to all of my emails
             starting before thursday
                                                                           1 :30 PM

                                                                                      1'
                                                            Ryan Dillon-Capps              \
                                                            C-03-CV-24-002264
                                                                           4:41 PM


                             i\Jlonddy, Jun 24, 7024



0      Robert S. Brennan
       You should have received an email to ryan@mxt3 .com
       with a limited time proposal regarding the motion for
       contempt.
                                                                     1 :42 PM


                           Wednesday, Jun 26. 2024


                                                Ryan Dillon-Capps
                                                Where am I supposed to be?
                                                                            9:01 AM




 0     Robert S. Brennan
       Court Room 8 on the 3rd floor of the Courthouse
                                                             9:02AM



                   G· '18'811',~ h, G1IA.pps sr-.,s t3c J cl, et ::i I
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                                                                   Ryan Dillon-Capps             j
                                                                   Thank you, brt
                                                                                9:02 AM




                                                                                          Motion to

0     Robert S. Brennan
      It was unfortunate that you chose not to cooperate
                                                                                          Reconsider the
                                                                                          continuation is
                                                                                          filed twice on
      with Glenn Norris' effort today to restore Ghana's
                                                                                          July 1 and two
      access to the Ohana GoDaddy account. As your email                                  more times on
      inbox will reflect your continued willful contempt of                               July 2. and
      the Court's orders has compelled Ohana to pursue                                    again on the
      additional measures to encourage your compliance.                                   5th.
                                                                         3:32 PM
                                                                                          Denied before
                                                                                          the evidence is
                   - - - Mon·::ia                ul                                       accepted .
                                                                                          Entered on the


0
                                                                                          12th.
      Robert S. Brennan
      Good morning.                                                                       The Defendants
                                                                                          Plan was to
      As oJ 2 p.m. yester,c.!ay. y.ou nave accruea $25,000 in                             strategically
      fines as a result of your continuing contempt of the                                remove material
      Court's June 27th Preliminary Injunction.                                           evidence, and
                                                                                          create a
      Ohana believes that it may be able to achieve the                                   communication
      establishment of Global Admin rights in its Microsoft                               record to
      365 Tenant and administrative rights in its GoDaddy                                 support their lie
                                                                                          while furthering
      account if you provided photographs (7) of you holding
                                                                                          their fraud ,
      your Maryland drivers license next to your face; (2) the
                                                                                          perjury, and
      front of your driver's license; and (3) the back of your                            defamation .
      driver's license. If you provide the photographs and
      Ohana is successful in regaining administrative rights                              Evidence,
      over its accounts Ohana will consider you contempt as                               Immunity, and
      ended and will advise the Court. If you refuse Ohana                                Judgment are
      will present that fact to the Court at your upcoming                                once again not
      second contempt hearing as evidence of your                                         in their favor.
      continued bad faith and willful violation of the Court's
      orders.
                                                                         7:25AM




                    l   ne, c1(•··. I'' Gil '\1 ,Jc; S~,1S )   '      'I I '
                               Intro-Summary page 140 of 16 1                                  EXHIBIT 100
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                                        1 :J1 ion-Ccipps     R 01/03/25      Page 140 of 160

                 Robert S. Brennan
                   Between 8 and 8:30 this morning you will receive a text
                   message from GoDaddy in connection with another
                   attempt to reset the password on the Ohana GoDaddy
                   account. The text will communicate a numerical code
                                                                                 Jailed where access
                  needed to authenticate the reset request. You should           to resources to
                  immediately send the code to me and Glenn Norris via           defend themselves
                  text so that Ohana can complete the reset and acquire          is forcibly removed
                  administrative control over the account as required by         from them.
                  the injunction. If you comply we will file a notice with       The case was never
                  the Court confirming that your contempt has ended              real. The motive
                  and that the August 7th hearing, for the purposes              was never real.
                . of determining whether you should be incarcerated
                  in the Baltimore County Detention Center, should be            The same way they
                  canceled. If you fail to comply, this text, and my earlier     were going to "win"
                 texts providing you easy opportunities to end your              this lawsuit is what
                                                                                 they were going to
                 contempt, will be presented to the Court on August
                                                                                 try and repeat as
                 7th and you will have an opportunity to explain to
                                                                                 Defendants.
                 Judge Barranco why you refused this easy solution
                 and why you should not be jailed without access to
                 your cellphone and other devices until you are ready to
                 comply.
                                                                      6:26AM



         0       Robert S. Brennan
                 You should have just received the text from GoDaddy
                                                                   8:12 AM



         0       Robert S. Brennan
                 Please send the verification code
                                             8:13 AM


                                                                 Ryan Dillon-Capps
                                                                 633059
                                                                             8:13 AM


                        Ryan Dillon-Capps                                                  }:..
                        you are lucky i just checked my phone. you need to
                        give more notice
                                                                             8:13 AM
 Brennen did NOT expect a response and this is
 why they kept giving no notice. Just like the
1TRO.

                             G ·18 H _ 1 L'} G1lApps SMS t3 H ku, ~ 'm •
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       Robert S. Brennan
       You should have just received a second code
                                                      8:15 AM


                                                              Ryan Dillon-Capps
                                                              804930
                                                                          8: 15 AM



0      Robert S. Brennan
      Thank you for your cooperation .
                                    8:21 AM




                  G ,_ 1erch-C b J GtlApps st~ ,s bdCKL, f '-" P~11 ,.
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Via Email to ryan@ mxt3.com and Federal Express
Ryan Dillon-Capps
1334 Maple A venue
Essex, MD 21221


July 30, 2024


Dear Ry an:

This letter is to notify yo u that yo ur employment w ith Ohana Growth Partners (the "Company")
is being terminated effective immediately.

Attached is a copy of the Employment and Non-Disclosure Agreement that you s igned on
Janua,y 8, 2020 (the " Agreement" ). Please be certain that you carefully re view and full y comply
w ith each and every obligation set forth in the Agreement, including but not limited to the
provisions regarding:

   •   Non-solicitation (Section 4)
   •   Agreement to Not Disclose Confidential Information and Trade Secrets (Section 5)
   •   Work Product (Section 6)
   •   Non-Disparagement (Section 7)

You have property belonging to ( I) the Company or any affiliate, entity, or person associated
with the Company, or (2) investors in the Company, or (3) Brick Bodies Fitness Services, Jnc.
("BBFSI") or any affiliate, entity, or person associated with BBSFl (collectively, the
"Companies."). This letter demands that you immediate ly return of a ll prope11y belonging to the
Compani es. This includes, but is not limited to the fol lowing:

   • All electronic and hard copies of any documents or information.
   • A ll email or other electronic records downloaded, trans ferred, or otherwise obtained
   directl y or indirectly from the Companies .
   • All devices belonging to or provided by, on behalf of, or through the Companies, directly
   or indirectly:

                o   Dell Latitude 3520                                This looks like a list from
                        Device Name : 2023- BRN9 l B3                 intune. These are the
                        Device Serial Numbe r: BRN9 l B3              devices that were setup
                o   Dell Latitude 3520                                by the Plaintiff.
                    • Device Name: DESKTOP-F2 FLT9M
                    • Device Serial Number: DLZ9S93                  This isn't a reliable
                o   Dell Latitude 7730                               resource for determining
                        Device Name: 2023-FBTY I Z2                  who was assigned the
                        Device Serial Number: FBTY I Z2              asset.
                o   Microsoft Surface Pro




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                   • Device Name: PFMD-SURFACE-04
                   • Device Serial Number: 005300684253
               o   Microsoft Surface Laptop 5
                   • Device Name: 2023-FK I 0MIU
                   • Device Serial Number: 0F00WRJ23263FB
               o   Mobile Device
                      Phone number: + I 703-303-1 I 13

Please contact me immediately to arrange for the return of all of these items.

The Company expects strict compliance with these and all other pe11inent provisions of the
Agreement. The Company will seek injunctive relief and full attorneys ' fees, costs, and
expenses, including but not limited to those expressly provided in Sections 9 and IO of the
Agreement if you fail to strictly comply with your obligations under the Agreement.

Sincerely,




Rich Hartman
Vice President of People and Culture




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ryan@mxt3 .com


From:                                                      Da rren Koritzka <darren.koritzka@grna il.com >
Sent:                                                      Friday, Augu st 9, 2024 9:43 AM
To:                                                        ryan@rnxt 3.com
Subject:                                                   Fwd: Severance
Attachments:                                               ohanagrowthpartnersfina llogo_
                                                           7fa8dba2-2909-40ee-839a-1 2ba06da3de6.png



Got a response back.

---------- Forwarde d m essage ---------
From : Rich Hartman <Ric h.H artman @oh anagp.com>
Dat e: Fri, Aug 9, 2024 at 9:20 AM
Subject : Re: Severa nce
To: Da rre n Ko ritzka <darren.koritzka@gmai l. com>
Cc: Karen Debus <karen.debus@ohanag~>                                                             Contradicts the
                                                                                                  language in the
                                                                                                  contract.
Hi Darren,
I was out of the office all d ay yesterday and am just see ing your letter. The short answer is no, w e won't modify the
term s of t he severance package. Feel free to call me if you like but I want to make sure you rece ived your re spo nse
before t he end of day so that you can make your decision. Take care.




  Ric h Har tman
  VP of P eople an d Culture
  Cha na Growt h Partners, LLC

                                       office 410 -2 52-8058 x l l4
                                       212 1N. Padonia Rd
  OH ~ NA
   I._J   J   ••   I.,   P.) r Inc.~
                                       T1monium, MD 21093


                                       www.planetfitness.com


  "Cult ure ea t s strategy fo r b re akfast"




From: Darren Ko ritzka <darren.koritzka@gm ail.com>
Sent: Thursday, August 8, 2024 6:02 PM
To: Rich Hartm an <Rich.Hartman@ohanagp.com >


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Cc: Karen Debus <ka ren.debus@ohanagp.com >
Subject: Re: Severance


   CAUTION: This email originated from outside the organization. Do not click links or open attachments
   unless you recognize the sender and know the content is safe.
Att ention all,
Attached are questions and concerns I have w ith all of this.

This PDF w ill be sent to m orrow Via USPS.

O n Wed , Aug 7, 2024 at 8:52 AM Ric h Hartman <Rich.Hartman@oha nagp.com > wrot e:
 Hi Darren,
 Just a friendly reminder, as I mentioned when we spoke last week, your severance agreement will expire this
 Friday. Feel free to reach out if you have any questions.




   Rich Har tman
   VP of People and Cu lture
   Ohana Growth Partners, LLC

                       office 410-252-8058 xl 14
                       212 W. Padonia Rd
  OH ~ NA              T1mon1um, MD 21093


                       www.planetfitness.com


  "C u lture eats strategy for b r ea kfast"




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August 2, 2024
                       !Days After RDC

Darren Koritzka
1737 Eastern Boulevard
Essex, Maryland 21221

I regret to inform you that your position as IT Coordinator is being eliminated, effective toda y, Augu st 2,
2024. The elimination of your position is the result of a depa rtment review and subsequent
restructuring.

We understand that this news is difficult, and we are committed to providing some support. To assist
you, we are offering the following:

   1. Severance Package: You will receive a severance package that includes three weeks of
      severance pay according to your tenure with the com pany (one week for every year). We
      request that you carefully review the severance agreement and consider its terms. You
      have seven (7) days from the date of this letter (August 9, 2024) to decide whether you
      accept the terms and sign the agreement and return it to us. We encourage you to seek
      legal advice before making your decision.

    2. Benefits Continuation: Your health insurance and other benefits w ill continue through
       August 31, 2024, and you will have the option to extend coverage under COBRA.

    3. Unemployment Assistance: You may be eligible for unemployment benefits. We encou rage
       you to contact your local unemployment office for more information.

Attached is a copy of the Employment and Non-Disclosure Agreement that you signed on July 21,
2021 (the "Agreement"). Please be certain that you carefully review and fully comply with each and
every obligation set forth in the Agreement, including but not limited to the provisions regarding:


        •        Non-solicitation {Section 4)
        •        Agreement to Not Disclose Confidential Information and Trade Secrets (Section 5)
        •        Work Product (Section 6)
        •        Non-Disparagement (Sect ion 7)

As part of the termination process, you are required to return all company property in your possession
by August 9, 2024. This includes, but is not limited to, your company laptop, access fobs, keys, files
(both physical and electronic), and any ot her equipment or materials issued to you du ring yo ur
employment.

Please co ntact me if you have any questions about you r severance package and/or to add ress any
questions or concerns you may have. You can reach me by phone at 410-252-8058 x114 or by email at
ri ch.hartman @ohanagp.com.




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On behalf of Ohana Growth Partners, I want to thank you for your service during your time with us.
We w ish you the very best in your future endeavors.




s1tA(fib
Rich Hartman
Vice President of People & Culture




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 This contract exist to coarse Koritzka into believing they waived their rights if they signed this. The last
rRDC 2i nd Koritzka discussed this agreement as part of labor negotiations Koritzka indicated they were
!not going to sign it. However, there was a text message wl1ere Ohana withheld compensation and that
1
 duress may have changed their decision.
                        Confidential Severance Agreement, General Release, and Waiver

             This Confidential Severance Agreement, General Release, and Waiver (the ''Agreement" ) is
      entered into by and between Darren Koritzka (the "Employee") and Ohana Growth Partners, LLC
      ("Ohana" or the "Company") (collectively the " Parti es"), who agree as follows:

              1.      Effective Date. This Agreement shall become effective on the calendar date on which
       both Parties have signed the Agreement (the "Effective Date").

              2.     Separation from Employment.

                       (a)     Separation Date. Ohana notified Employee that Employee's position with Ohan a
       is being eliminated and Employee is being tem1inated from employment with Ohana (the " Separation")
       effective August 2, 2024 (the " Separation Date"). Employee will perfonn no services for Ohana after
       the date Employee is notified of the Separation and Employee wi ll thereafter have no duties or
       responsibilities for Ohana. Compensation earned by Employee up to and including the Separation Date,
       if any, will be paid on Ohana ' s normal pay dates for employees.

               3.      Severance Pav and Other Matters. In considerati on of the general release and waiver
       set fo11h in Section 4 herein and the undertakings contained in this Agreement, the Parties agree to the
       following:

                      (a)    Severance Pay. Ohana will provide severance pay to Employee (the ''Severance
       Pay") as follows:

                             ( 1)     The Severance Pay shall be in for three (3) weeks ' pay in the total gross
       amount of Three Thousand One Hundred and Fifty dollars ($3, 150) reduced only by taxes and any
       other withholdings as required by law and withho ldings requested in writing by Employee and agreed to
       by Ohana. It is agreed that the Severance Pay is provided as post-tennination severance pay as a former
       Ohana employee and not as salary or wages as a current Ohana employee. Ohana w ill issue a fede ra l W-
       2 form for the Severance Pay.

                             (2)     The Severance Pay will be paid out in one payment (the "Severance
       Period") on dates reasonably corresponding to Ohana's norma l payroll schedule, commencing no later
       than the second pay period following the Effective Date.

                             (3)   The payment of Severance Pay is not conditioned upon effons of
       Employee to seek or obtain other employment. There shall not be any offset or reduction of the
       Severance Pay fo r any amount subsequently earned by Employee, except for earnings that violate the
       tenns of this Agreement.

                      (b)     Consequences of Breach or Other Non-Compliance by Employee. Employee
       expressly agrees that the payment of the Severance Pay is conditioned upon Employee comply ing with
       the provisions of Sections 4, 5, 6, and 7 of this Agreement and all other provisions of this Agreement. Jf
       Employee does not fulfill Employee' s commitments in Sections 4, 5, 6, or 7 or any other provision in
       this Agreement, whether due to Employee ' s breach or otherwise, Ohana shall be entitled to (i) s uspend
                                                             1




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    payment of the Severance Pay; (ii) recover the Severance Pay already paid under this Section 3; and
    (iii) seek injunctive and monetary relief and its reasonable attorneys ' fees relating to or arising from the
    breach.

                   (c)     No Benefit Accrual. Employee will not be eligible for and will not accrue
    vacation pay, sick leave, 40 I (k) contributions, or any other benefit credit after the Separation Date set
    fonh in Section 2 herein or by virtue of the Severance Pay. Employer will nor make any 40l(k)
    contributions for Employee for 2024 or thereafter and Employee waives such contributions.

                   (d)    No Other Payments. Other than the Severance Pay described above and
    compensation that Employee earned on or prior to the Separation Date, Ohana shall not pay or cause to
    be paid, and Employee waives any entitlement to, any other monetary amount or compensation to or for
    the benefit of Employee. Employee will not be entitled to receive any other benefits from or through
    Employer, including but not limited to auto allowance, discretionary allowance, or other discretionary
    or non-discretionary benefits. Nothing in this Agreement affects the right, if any, that Employee may
    have to apply for and obtain at Employee' s own expense the continuation of a benefit to the extent
    pem1itted by law and by the applicable benefit plan.

                     (e)    References. Requests for references received by the Department of Human
    Resources of Ohana will be responded to in the manner that Ohana normally responds to such requests,
    i.e. , Ohana w ill provide a " neutral" reference confirming Employee's dates of employment, job title,
    and, if Employee' s specific written authorization is provided, confirmation of salary.

            4.      General Release and Waiver and Covenant Not to Sue.

                   (a)     In consideration for Ohana 's execution of this Agreement and the unde11akings of
    Ohana set fo11h in this Agreement (including but not limited to Ohana 's agreement to provide the
    Severance Pay described in Section 3 herein), Darren Koritzka to the maximum extent pem1itted by
    applicable law, forever waives, releases and discharges Ohana Growth Partners, LLC, and Brick
    Bodies Fitness Services, Inc, and The John W. Brick Mental Health , and Alaris Equity Partners
    USA Inc. , and Down Under Growth Partners, LLC (collectively, the " Releasees") from all claims,
    complaints, lawsuits, causes of action, administrative charges, grievances, compensation, agreements,
    damages, judgments, attorney's fees, and liabilities (collectively, "Claims") that Darren had, now has
    or may have in the future against any or all of the Re leasees which arose or occurred from the beginning
    of time through the date that Employee signs this Agreement. Darren Koritzka agrees that this is a general
    release and waiver.

                    (b)    Employee agrees that the Claims re leased and waived in this Agreement shall
    include, but are not limited to, those enforceable under Title Vil of the Civil Rights Act of I 964, 42
    U.S.C. § 2000(e) et seq. ; the Civil Rights Acts of 1866 and 1991 ; the Rehabilitation Act of 1973 ; the
    Americans With Disabilities Act, 42 U.S.C. § 12101 et, seq.; the Rehabilitation Act of 1973 , 29 U.S.C.
    § 794: the Employee Retirement Income Security Act of 1974, 29 U.S.C. § I 00 I et seq.; the Equal Pay
    Act, 29 U.S.C. § 206(4) et seq.: the Family and Medical Leave Act of 1993. 29 U.S.C. § 2601 et seq.:
    the Genetic Information Non-Discrimination Act: the Uniformed Services Employment and
    Reemployment Rights Act. 38 U.S.C. § 43 : the Occupational Safety and Health Act of I 970; all
    Maryland, Baltimore County and other Maiy land local government laws against discrimination, as well
    as all tort and contract claims, and any claim under any federal , state, local, or foreign law, statute,
                                                        2




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regulation, ordinance, or order, or under the common law of the United States, or any of the states,
territories or possessions thereof, including but not limited to the state of Maryland, and all claims arising
out of Ohana policy or practice. Darren Koritzka agrees that this general release and waiver expressly
includes Employee's termination from employment.

                (c)     With respect to any claim that is not subject to the foregoing release, Employee
funher waives and gives up any right to become, and promises not to consent to become, a member of any
class or collective action, or othe1wise participate in any putative or ce11ified class, collective or multi-
party action or proceeding, in a case in which claims are assened against Ohana or any of the Releasees
that are related in any way to Employee's employment, wages or compensation, or the termination of
Employee 's employment. If, without Employee 's prior knowledge and consent, Employee is made a
member of a class in any proceeding, Employee agrees to opt out of the class at the first opponunity.

                (d)     By signing this Agreement, Employee also expressly acknowledges and represents
that Employee (i) has suffered no injuries or occupational diseases arising out of or in connection with
Employee's employment with Ohana: (ii) has received all wages to which Employee was entitled as an
employee of Ohana; (iii) has received all leave to which Employee was entitled under the Family and
Medical Leave Act of 1993 ("FMLA" ): and (iv) is not cuITently aware of any facts or circumstances
constituting a violation of the FMLA or the Fair Labor Standards Act ("FLSA").

               (e)     Except as provided in Paragraph 4(f-) below, Employee agrees not to file, join in,
or prosecute any lawsuits against Ohana or any of the other Releasees, concerning any matter, act_
occurrence, or transaction which arose on or before the date Employee signs this Agreement. Employee
expressly represents that as of the date that Employee signs this Agreement, Employee has not filed any
claims, complaints, lawsuits, causes of action , administrative charges, or grievances against Employer
or any of the other Releasees.

                 (f)    The Panies expressly acknowledge and agree that the General Release and Wai ver
set forth in this Agreement shall exclude: ( 1) the rights and obligations contained in or provided under
this Agreement: (2) any right or entitlement that a party is not allowed by applicable law to waive or
release; (3)) any claim that may arise only after the Effective Date of this Agreement: (4) Employee 's
right to challenge the validity and enforceability of the Agreement's release of claims under the Age
Discrimination in Employment Act of I 967, as amended; and (5) any right a party has to report, file,
cooperate in or pa11icipate in a charge, investigation or proceeding with the Equal Employment
Opponunity Commission, the U.S. Depa11ment of Labor, the National Labor Relations Board, or other
federal_ stare or local government agencies ("Government Agencies"), including by providing, without
advance notice to Ohana, documents or other information about Ohana that Employee has lawfully
obtained, lawfully possesses, and is not otherwise prohibited by law from disclosing and that are relevant
to the duties of those Government Agencies. Employee acknowledges that should any Government
Agencies or third party pursue any claims on Employee's behalf, Employee to the fullest extent permitted
by law waives the right to any individual monetary recovery in connection with any such claims covered
by the release and waiver herein .

                (g)    Employee acknowledges that the Severance Pay that Employee will receive are
in addition to the benefits Employee would otherwise be entitled to receive and that Employee accepts
such payments in full satisfaction of any claims that Employee has waived in this Agreement.

                                                       3




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       5.      Confidentialitv. Non-Disparagement, and Non-Disclosure.

               (a)     Confidentiality of Agreement. To the full est extent permitted by law, Employee
agrees to keep confidential and not to di sclose, directly or indirectly, to anyone this Agreement or its
terms or any pri or versions or their tem1s, or negotiations in connection with thi s Agreement, except that
Employee may reveal the terms of this Agreement as necessary to: indi viduals engaged by Employee to
prepare and fil e tax returns, Employee's attorney, and Employee' s spouse or domestic pa11ner, provided
none of the foregoing further disclose the terms of the Agreement and provided all of the foregoing agree
to keep the terms of the Agreement confidential: and Employee may reveal th is Agreement and its terms
as necessary in order to enforce Employee's rights under the terms of this Agreement.

                (b)      Non-Disparagement. Employee agrees that Employee wil l not make any
adverse, derogato1y, libelous, slanderous, defamatory. or disparaging remarks, statements, or
communications about Ohana or any of the Releasees or any of their principals, officers, directors,
trustees, managers, employees, partners, fiduciaries, administrators, stockholders, or constituent parts,
or their reputati ons, practices, products, services, operations, or vendors, or make or publish or cause to
be made or published any communication that reflects adversely upon any of the foregoing, including
but not limited to communications on social media ·websites such as (but not limited to) Facebook,
Twitter, TikTok, Linkedln, Glassdoor, or biogs, by text, email, or other electronic or other means.

                (c)     Non-Disclosure of Confidential Information and Trade Secrets. Employee
affinns that has complied with and not violated, and that Employee will abide by any and all obligations
Employee heretofore has undertaken or incurred by contract, statute, or common law, including but not
limited those set fo11h in : (i) the Employment and Non-Disclosure Agreement that Employee signed
on July 21, 2021 (appended hereto as Attachm ent A), to safeguard the confidentiality of confidential
and/or proprieta1y information and trade secrets of Ohana, including without limitation its trade secrets.
In supplementation of any of those existing obli gations, Employee hereby separately undertakes through
thi s Agreement, whether already bound or not, to protect Ohana 's confidential information consistent
with the fo llowing tem1s:

                       ( I)    Confidential Info rmation and Trade Secrets. Employee acknow ledges
that that during Employee·s employment, Ohana has provided Employee with confidential and
proprietary info m1ation and trade secrets ("Confidential Information") and that in Employee ' s position
as IT Coordinator, Employee has created and otherw·ise obtained Confidential Information on Ohana' s
behalf. Confidential Information as used in this Section is as defined in Section S(a) and (b) of
Attachment A.

                      (2) Emplovee Commitments. Employee acknowledge that Ohana' s
Confidential Information is a valuable, special and unique asset, and the disclosure or misuse of such
informati on may be materially and irreparably damaging to Ohana. Employee shall treat it as the
exclusive propeny of Ohana, take all reasonable steps to preserve its secrecy, and further agrees to the
following:

                               (a)    Non-Disclosure or Use. At all times both during any remaining
time of Employee's employment with Ohana, and at any and all time thereafter, Employee \Viii not use.
disclose, sell, transfer or otherwise exploit any Confidential Information, other than as expressly
authori zed by Ohana and for the benefit of Ohana. Employee will not remove any Confidential
                                                       4




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Infom1ati on from Ohana 's premi ses, computers, information technology systems or eq uipment, or any
other location, or make copies, download, delete without permission, or transfer materials.

                              (b)      Return . Employee will return promptly to Ohana all Confidenti al
Infonnation and copies thereof immediately. Employee will also return all property and equipment
belonging to Ohana, such as laptop computers, access codes Employee has created or received to Ohana
information and facilities , de111onstration equipment, catalogs, 111obile devices, credit cards,
identification badges, and Ohana keys, prior to or at the end of Empl oyee ' s employ111ent. Upon ceasing
such employment, Employee will not take with Employee or reta in any recorded information, data ,
documents , saved emails, or materials or copies thereof containing any Confidential Information or other
Ohana property, including all Ohana electroni c infonnation storage devices on which any such
Confidential Information resides. Employee will also allow Ohana all necessary access to any other
electronic storage devices that Employee owns or controls, or electronic storage account Employee
maintains in such services as Dropbox or cloud-based storage sites, on which Employee has ever
maintained Confidential Information, to pern1it Ohana to inspect for and remove any such Confidential
Infonnation.

                        (3)    Exceptions. Employee understands that Confidential Information does
not include information that comes into the public domain through no fault of Employee or others or
consi sts merely of Employee's knowledge of Employee's general job skills. In addition, pursuant to
Section 7 of the Defend Trade Secrets Act of20 \6 (which added 18 U.S.C. § 1833(b)), Emp loyee
understands that Employee shall not be criminally or civilly liable under any federa l or state trade secret
law for, and nothing in thi s Agreement prohibits, the disc losure of a trade sec ret or Confidential
Infornrntion that (A) is made (i) in confidence to a federa l, state, or local government official, either
directly or indirectly, or to an attorney and (ii ) solely for the purpose of reporting or investigating a
suspected violation of law; or (B) is made in a complaint or other document filed in a lawsuit or other
proceeding, if such filing is made under seal.

                (d)     Notice. Notwithstanding the prov1s1ons in Sections S(a) through 5(c) above
Employee understands that: (I) Employee is not prohibited under this Agreement from making honest
and accurate disclosures of information (a) in compelled response to a valid cou11 order or a validly
issued subpoena upon ten days advance written notice to Ohana, or (b) as otherwise specifically required
by applicable law, or (c) pursuant to specific statutory rights expressly authorizing disclosures of
information that othe1wise would be prohibited by these subsections. (2) Nothing in this Agreement
shall be construed to limit any right Employee has under Section 7 of the National Labor Relations Act
to engage in lawful concerted acti vity. (3) Employee is not prohibited from reporting, filing, cooperating
in or participating in a charge, investigation or proceeding with any "Government Agencies," including
by providing, without advance notice to Ohana, documents or other infonnation about Ohana that
Employee has lawfully obtained, lawfully possesses, and is not otherwise prohibited by law from
disclosing and that are relevant to the duties of those Government Agencies. Nothing in this Agreement,
however, authorizes the disclosure of information obtained through a communication that was subject
to the attorney-client or other applicable privilege of Ohana, unless disclosure of the information would
still be pennitted by an applicable law or rule. Employee acknowledges that should any Government
Agencies or third party pursue any claims on Employee' s behalf, Employee to the fullest extent permitted
by law waives the right to any individual monetary recovery in connection with any such claims covered
by the release and waiver herein.

                                                     5




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       6.      Cooperation and Transition.

                (a)      Transition. During the longer of two (2) month period fo llowing the Separation
Date or the Severance Period. Employee wi ll provide infonnation to Ohana as reasonably requested in
order to assist with transition of Employee' s responsibilities. Employee agrees to take or cause to be
taken such fwther action as may be necessary or as may be reasonably requested in order to transition
Employee's duties and to effectuate the purposes, terms, and conditions of this Agreement. This includes,
but is not limited to, Employee being avai lable after the tennination of Employee's employment to
respond in a timely fashion to requests for information from Ohana. Employee agrees to perfonn all acts
and execute and deliver any documents that may be reasonably necessary to cany out the provisions of
this transition process.
                                                                                              -
                (b)     Cooperation. During the longer of two (2) month period fo llowing the Separation
Date or the Severance Period, Employee agrees to cooperate fully and completely with Ohana and its
legal counsel and respond to questions tnithfully with respect to any internal inquiry or investigation, any
federal, state, or local agency investigation, and/or any legal proceeding involving Ohana. Such
cooperation shall include Employee making themself available at reasonable times and places for
interviews and testimony, providing infonnation to Ohana to assist it in the response to or defense of any
pending or potential claims against Ohana, or providing other assistance needed by Ohana. Ohana agrees
to reimburse Employee for all reasonable out-of-pocket expenses incuITed in connection with rendering
such cooperation services that are approved in advance by Ohana. If Employee is compelled by legal
process to appear or participate in any non-criminal proceeding that involves or is brought against Ohana,
Employee shall promptly disc lose to Ohana the substance of Employee 's planned testimony and
production.

               (c)    Facilities. Employee will not enter the premises of any Ohana or Brick Bodies
fitness club or other facility during the three month period fo llowing the Effective Date of this
Agreement. Thereafter, Employee may request that the President of Ohana and the President of Brick
Bodies authorize his presence at one or more locations, and Employee will comply with 1he decision.

        7.      Return of Ohana Propertv. Employee shall return to Ohana by the Effective Date of
this Agreement any and all of the property of any kind, which is in Employee 's possession, care, custody
or control, whether belonging or relating to Ohana or its affi liates or any other person or entity, entrusted
to, given to, acquired by, used. or created by Employee during the course of Employee's employment
with Ohana, including but not limited to electronic access cards, computers, laptops, phones. books,
hardware, software, keys, materials, equipment, notes, repons, files, data, documents, records, and
electronically stored information, and copies of any such item. Employee agrees that the propeny to be
returned expressly includes as well , all lists, records and information on customers, applicants,
employees and all others. Employee is not entitl ed to the Severance Pay if Employee has not full y
complied with the requirements of this Section.

         8.    Complete Agreement. This Agreement constitutes the full and complete understandi ng
and agreement between the Parties with respect to the subject matter hereof, except as expressly provided
herein, and supersedes all prior understandings and agreements, whether oral, in writing, or otherwise.
between them, except that the Pa1ties reaffirm that Sections 4-1 2 and 14-1 8 of the Employment
Agreement (Attachment A) survive the Separation and continue in effect. No modifications to this
Agreement shall be binding or of any effect unless they are in writing and signed by both Parties.
                                                      6




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Employee has not relied and is not relying on any representation by or on behalf of Ohana except as
expressly set fo1th in this Agreement.

         9.      Non-Admission. Neither this Agreement nor the undertaking, negotiating, execution nor
consideration of this Agreement shall constitute or operate or be asserted as an acknowledgement or
admission of any kind that Employee or Ohana violated or failed to comply with any provision of the
laws, regulations, contracts, and statutes referred to or listed in this Agreement, or any other laws.
regulations, contracts, or statutes not so listed or referred to. Ohana expressly denies that it has any
liability to the Employee for any matter.

        10.     Severabilitv. Should any tenn or provision of this Agreement be determined by any
cou1t to be illegal, in valid, or incapable of being enforced, such term shall be excluded to the extent of
such invalidity or unenforceability; the remainder of the Agreement (including such term to the extent
not invalid or unenforceable) shall remain in full force and effect. To the extent possible, the inval id or
unenforceable tem1 shall be deemed replaced by a term that is valid and enforceable and that comes
closest to expressing the intention of such invalid or unenforceab le term.

        11.    Governing Law. Jurisdiction, and Venue. The validity and construction of this
Agreement and its provisions shall be determined under the internal laws of the State of Maiyland,
without giving effect to its conflicts oflaws provisions. The Parties irrevocably consent and agree to the
exclusive jurisdiction and venue of a cou1t of competent jurisdiction in Ma1yland for purposes of any
such action, lawsuit or proceeding, except that Ohana may also enforce the provisions of Sections 4, 5,
6, and 7 against Employee in any jurisdiction in which Employee can be found.

     12.   Jurv Trial Waiver. EMPLOYEE A>JD OHANA EACH WAIVES ALL RIGHTS TO A
TRIAL BY JURY IN ANY LEGAL ACTION, LAWSUIT, OR PROCEEDING WITH RESPECT TO
OR ARISING OUT OF THIS AGREEMENT.

        13.     Co unterparts and Facsimile. This Agreement may be executed in multiple
counterparts, all of which together shall constitute one and the same instrument. Deli ve1y of a PDF of
an executed counterpart of this Agreement via email or facsim ile shall have the force and effect as
delivery of an original executed counterpart.

        14.     Acknowledgement. Employee and Ohana each acknowledge and affirm that they fully
understand and accept the terms of this Agreement, that they have been given amp le time to consider
whether to enter into this Agreement and to consult with an attorney concerning the Agreement if they
chose to do so, that they enter into this Agreement knowingly, voluntarily and of their own free will , and
that no promise or inducement for this Agreement has been made except as set forth in chis Agreement.

         15.    Consideration Period. Employee understands and agrees that Employee has a period of
seven (7) calendar days from the date of receipt of this Agreement to consider Employee ' s decision to
sign it, and that Employee may unilaterally waive all or part of this period if Employee elects to do so.
If Employee signs this Agreement before the 7-day period expires, Employee' s signature constitutes a
waiver of this period. The Pa1ties agree that subsequent to the Agreement initially being provided to
Employee, any revisions or modifications to this Agreement_ whether material or immaterial, do not
restan the 7-day time period that Employee has to consider the Agreement. Employee must sign, date,
and return this Agreement to Rich Hartman, Vice President of People and Culture, Ohana Growth
                                                     7




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Pa1tners, LLC , 212 W. Padonia Rd., Timonium. MD 21093, or via email to rich.hartman@ohanaup.com.
no later than seven (7) days after receipt of the final version of this Agreement.

         16.    Section 409A. The parties intend for this Agreement to be exempt from or to comply wi th
Section 409A of the Internal Revenue Code, and this Agreement is to be interpreted accordingly.
Regardless of intent, neither party is req uired to prevent, minimize, or offset any negative consequences
to the other party because a payment or benefit due under this Agreement is subject to Section 409A. To
the extent that any payment or benefit is subject to Section 409A, the following terms apply: The panies
designate that any right to a series of insta Ilment payments be treated as the right to a series of separate
payments. If payment is due upon tennination of employment, "termination of employment"' (however
referred to) means a "separation from service" (as defined under Section 409A).

        17.     Successors and Assigns. Employee may not assign Employee' s rights or obligations
hereunder without the prior written consent of Ohana. The rights and obligations of Ohana hereunder
shall inure to the benefit of and shall be binding upon and may be assigned to Ohana 's successors and
assigns.

        18.    Validity.       This Agreement wi ll be valid only if this Agreement is:

               (a)   Signed by Employee and dated no earlier than the day following Employee's
Separation Date, and

               (b)      Returned no later than seven (7) days after receipt of this Agreement. Employee
must return this Agreement to Rich Hartman, Vice President of People and Culture, Ohana Growth
Partners, LLC, 2 I 2 W. Padonia Rd., Timonium, MD 2 1093, or via email to rich.hanman@ohanav;p.com.

                                      [Signatures on Following Page]




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EMPLOYEE ACKNOWLEDGES THAT EMPLOYEE HAS COMPLETELY READ THIS
AGREEMENT AND UNDERSTANDS IT.

EMPLOYEE HAS BEEN GIVEN SEVEN (7) DAYS TO CONS IDER TH1S AGREEM ENT BEFORE
EMPLOYEE SIG NS IT.

THE EMPLOYEE IS ADVISED TO CONSULT WITH AN ATTOR EV BEFORE SIGi\l NG
THIS AGREEME~T.

Employee and Ohana are signing this Agreement on the dates written next to their respective signatures
below.



DARRE~ KORITZKA                                        Date (Must be signed and dated no earlier
                                                       than the day fo llowing the Separation Date)


OHANA GROWTH PARTNERS, LLC


                                                       Date
By:

Title
        ------------




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 .,.




            directive to grant Global Adm in rights to M r. Leodore. Dillon-Capps claimed that Ohana 's efforts

            to regain control of its own systems, MS 365 Account somehow amounts to retaliation against

            Dillon-Capps for requesting family and medical leave. Attached as Exhibit B hereto is a true and

            correct copy of the June 13, 2024 email exchange. Dillon-Capps failed to comply with the directi ve

            by 3 p.m. As a result Dillon-Capps continues to maintain and exercise exclusive administrative

            rights to the Ohana Microsoft 365 Account and administrative control of the Ohana GoDaddy

            Account.

                      I 3.      As of 2:05 p.m. on June 13, 2024 I was unable to send or receive emails through

            my Ohan a company email account. At 5 p.m. on June 13, 2024 I attempted to log into the O hana

            Microsoft Teams account and was unable to do so. Given that Dillon-Capps is the only person

            currently possessing Global Admin rights it is clear to me that Dillons-Capps used those rights to

            lock me out of O hana's computer systems and email. My inability, caused by Dillon-Capps, to

            communicate with any of Ohana 's 1,472 employees or to access any of Ohana 's personnel records

            has effectively rendered it impossible for me to perform in my critical role as Vice President of

            Human Reso urces for the company.

                      14.        At 8 :45 p.m. on June 13, 2024, at the direction of O hana Preside nt Justin

            Drummond, I sent an email, to Dillon-Capps, using my personal email account, to w hich I attached

            a letter advising Dillon-Capps of the immediate suspension of hi s employment with Ohana. Dillon-

            Capps responded with an email stating that he did not recognize my authority as Vice President of

            Human Reso urces to suspend Dillon-Capps' employment, and fa lsely cla imed that Dillon-Capps

            was acting upon the authority of Ohana President Justin Drummond. Attached as Exhibit C hereto

            is a true and correct copy of that email exchange and a copy of the suspension notice letter that

            was attached to my emai l.



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                                                 OH ~ NA
                                                      Growth Part n e r s



               Ohana Growth Farcners , LLC
               212 w. Padonia Rd .
               Timo nium , MD 2 1093

               Ju ne 13 , 2024



               Dear Ryan ,
               Effective immediately, June 13 , 2024 , you arc s us p e nded fro m your employme nt
               wllh Ohana Growth Partners unt i l further notice . This is due to your
               insubordinatio n and failure to c omply wi t h d irectives fro m supe rio rs, described
               in part to you in the email sent to you earlier today, and continuing since you
               rece ived the email. The suspension is without pay . During the suspension, you
               will contin ue to have access to your medical benefits .

               During this period of suspension, you are relieved of all of your duties and
               a =e n o t authorize d to work o n behalf of the company or have any electronic ,
               internet , physical, o= other access t o or connection with any c ompany property
               o= systems , including but not limited to company IT syste~s and equipmen t . I n
               addi t ion, yo u ar e not a u thoriz e d to ente r any company facili t y .

               You wi l l be notified in writing o f any further c hanges.




               Sinc e r el y,


              t2:cJ-a b
               Rich Hartman
               VP of People and Culture




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...                                                                                                    48




       1   to any of this .

       2                       The f acts ,         which are established in the

       3   record that ' s already before the Court,                              and I don't

       4   think there ' s any dispute of it is ,                            this concept that

       5   t he - -   a demand was made to ,                  uh ,     the defendant on

       6   June 13 th , an hour after he ' d asked for -- for FMLA

       7   leave ,    uh , and we ' re forcing him to work ,                          ignores the

       8   fact t hat he ' s been asked to do this g oing to at

       9   least May 20t h ,         when he te rminated the only - -                          the

      10   only other admi n a ccess ,                uh ,    for the - -          t he

      11   co n su l tant Ryan Br ooks from ,                 e rm ,   Baltimore

      12   Consu lt ing .

      13                       So this wa s not the first time he ' d been

      14   asked,     uh ,   this was multiple times he ' d been asked .

      15   Th e re ' s no dispute about that .

      16                       So the - - the concept that - -                            that the

      17   question , e rm , directive from,                     erm,        va r ious ,    uh ,

      18   me mbers of senior manag eme nt at Ohana to the

      19   defendant ,       uh,   is in r eta li at ion for his request o n

      20   June 13th to take additional leave is comple t ely base

      21   less .

      22                       MR.    DILLON-CAPPS :                 Hmm ,    I   can respond to

      23   all of those with details ,                   and I can provide evidence

      21   in - -

      25                       THE COURT :            Sir ,     I gave you your chance


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 1   you right now,         that the Co u rt disagrees .

 2                        The Court has jurisd i ct io n o ver the

 3   S t ate court claims .           Th e case hasn ' t ,            I ' m no t    sure

 4   that the -- it ' s not bro u ght under federa l                          l aw .

 5                        MR . DILLON - CA P PS :         Okay .

 6                        THE COURT :        So ev e n if -- ev e n i f th ere

 7   were -- ho l d on .         Even if there were federu l

 8   d e fenses ,    I ' m not sure th e ca se i s remo v ab l e                   ' ca us e

 9   it doesn ' t      -- the comp l aint doesn ' t,               on i ts f ac e

10   s t a t e an y f edera l    cl aim ,    it h a sn ' t b e en r e mo ved to

11   federal court .

12                        Th e Co u rt h as jur i sdiction over the

13   cl ai m,    so t h at ' s not a n a r gument ,           I ' m just telling

14   you right now .

15                        Erm , an d I h a ve n ' t       he ard ,     as f a r as a ny

16   fa mi ly l a w leave issu e ,          if you contend that they ' re

17   violating the law,           and I ' m not su r e I e v en nee d t o

18   hear about tha t , b u t         if t he y did ,         then i f y ou h ave a

19   federal cla i m, ass u ming they ' r e v i o l ating the l aw,

20   I ' m making no su c h f indi ng,             f ine ,    you can ' p ursu e that

21   claim either administratively or -- or by 1 law .

22                        Yo u can go down to f ederal co ur t                      and

23   file a - -      a,   if t here is such a private ca u se of
                                                                          I

24   a c tio n for violatio n of t h e FLMA (s ic ) ,                    y o u can do

25   t h at ,   t h at ' s n ot a d e f e n se to the ,        uh ,    c l a i ms he r e ,

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